 1        CDCR Mental Health System Report

 2   Some key issues detailed in the report

 3   The Resetting-The-Clock Strategy


4    Every time a mental health patient is transferred from one institution to another, CDCR
 5   resets the clock to the maximum Program Guide interval between psychiatry
6    appointments. They use this Resetting The Clock strategy to deem as compliant
 7   appointments occurring later than the maximum interval the Program Guide permits
8    (such as 170 days rather than 90 days at the CCC level of care). They reset the clock every
9    time a patient is transferred, irrespective of when the patient last saw a psychiatrist. A
10   CCC patient transferred more than once might not have another psychiatry appointment
11   for eight months.



12   Effect On CDCR’s Reports To The Court

13   The 2017 and 2018 staffing reports to the court significantly overstate percent timeliness
14   of psychiatric appointments.



15   Effect On The Office Of The Special Master’s Analysis

16   The Resetting The Clock strategy may have led the Office of the Special Master to
17   conclude that psychiatry appointments are occurring in a more timely manner than is in
18   fact the case. This is likely to have led to mistaken conclusions about psychiatry staffing
19   needs.


20   See pages 4 13 of this CDCR Mental Health System Report for details.
                                                                                                   i
 1   The Stretching-The-EOP-Maximum-Interval Strategy


 2   In their calculation of “timeliness” (percent patient weeks compliance), CDCR increased
 3   the EOP interval between psychiatry appointments from 30 days to 45 days. With
4    rounding, the result was that in some cases CDCR deemed EOP psychiatry appointments
 5   occurring nearly two months later to be compliant.



6    Effect On CDCR’s Reports To The Court

 7   The 2017 staffing report to the court significantly overstates percent patient weeks
8    timeliness.



9    Effect On The Office Of The Special Master’s Analysis

10   The Stretching The EOP Maximum Interval strategy may have led the Office of the
11   Special Master to conclude that psychiatry appointments are occurring in a more timely
12   manner than is in fact the case. This is likely to have led mistaken conclusions about
13   psychiatry staffing needs.


14   See pages 13 16 of this CDCR Mental Health System Report for details.



15   The Counting-On-Time-Appointments-As-Early Strategy


16   In the 2018 staffing report to the court, to arrive at their figure of CCC appointments
17   being on average 2.6 days overdue, CDCR took an average of what they deemed late
18   appointments with what they deemed early appointments. If a psychiatrist ordered that a
19   CCC patient be seen a week later, and that patient was indeed seen a week later, instead
20   of counting that appointment as having been on time, CDCR counted that appointment
21   as having been 83 days early. If a psychiatrist ordered that a patient be seen a month later,
                                                                                                ii
 1   but the patient did not see a psychiatrist for two months, CDCR counted that
 2   appointment as one month early rather than a month late as was actually the case. The on
 3   average 2.6 days overdue figure significantly understates how late on average
4    appointments were occurring.


 5   Effect On CDCR’s Reports To The Court

6    The on average 2.6 days overdue figure CDCR gave in the 2018 staffing report significantly
 7   understates how late on average appointments were occurring.


8    Effect On The Office Of The Special Master’s Analysis

9    The Counting On Time Appointments As Early strategy may have given the Office of the
10   Special Master a mistaken impression of the degree to which patients are being seen on
11   time, and of psychiatric staffing needs.


12   See pages 38 40 of this CDCR Mental Health System Report for details.



13   The Biasing-The-Sample Strategy (MAPIP)


14   In a caveat in small print in the 2017 staffing report to the court, CDCR stated that they
15   had eliminated three of the four mandatory MAPIP blood draws (baseline, three months,
16   and dose change related measurements) thus leaving only the annual measurement.


17   An “annual blood test” could mean (i) a blood test done a year after starting a medication
18   and then at yearly intervals thereafter, or it could mean (ii) one done within the first year
19   after starting a given medication and then at yearly intervals thereafter. But what it can’t
20   reasonably be taken to mean is (iii) a blood test done within the first year after starting a


                                                                                                  iii
 1   medication (as in (ii)) but only if the patient continued to be on the medication for a full
 2   year.


 3   In its calculation of compliance with mandatory annual blood draws, CDCR included the
4    data from some but not all patients who had blood tests done within a year of starting the
 5   medication. It included the data from patients who remained on the medication for a full
6    year. It perversely excluded from the calculation data from those patients least likely to
 7   have had the mandatory blood draw       those who had been taken off the medication
8    within a year after starting it. Such patients are less likely to have had the mandatory
9    blood draw because there was less time in which to get the blood draw done. By using a
10   biased sample, CDCR biased its measurement of whether needed measurements were
11   done or not. Thus, in its 2017 staffing report, CDCR significantly overstated the mental
12   health MAPIP compliance figure.


13   Effect On CDCR’s Reports To The Court

14   In its 2017 staffing report, CDCR significantly overstated mental health MAPIP
15   compliance.


16   Effect On The Office Of The Special Master’s Analysis

17   The Mental Health Dashboard (CDCR’s self monitoring tool) and CDCR’s report to the
18   court may have given the false impression that medication usage was being appropriately
19   monitored.


20   See pages 20 26 of this CDCR Mental Health System Report for details.




                                                                                                  iv
 1   The Pretend-It’s-All-Done-By-The-Line-Staff Strategy


 2   The staffing ratios CDCR reported to the court in the 2018 staffing report are incorrect.
 3   Sixty percent of psychiatric supervisors were seeing patients like line staff at least part
4    time, and in some cases full time. The work was being done by a larger ratio of
 5   psychiatrists to patients than was reported, suggesting that fewer psychiatrists are needed
6    per patient than is in fact the case. We need our psychiatric supervisors to be organizing
 7   care like they are supposed to be, not serving as line staff psychiatrists.


8    Effect On CDCR’s Reports To The Court

9    CDCR’s reported staffing ratios in the 2018 staffing report are misleading. The ratio of
10   psychiatrists doing the work to patients receiving the psychiatric care is higher than was
11   reported to the court.



12   Effect On The Office Of The Special Master’s Analysis

13   More than the number of line staff reported would be needed to accomplish the results
14   achieved. The Pretend It’s All Done By The Line Staff strategy may have led the Office of
15   the Special Master to conclude that there are fewer staff shortages than is actually the
16   case.


17   See pages 47 48 of this CDCR Mental Health System Report for details.



18   The Count-Every-Encounter-As-An-Appointment Strategy


19   The average number of EOP appointments per 30 days was lower than CDCR reported to
20   the court in the 2018 staffing report. CDCR counted as compliant appointments “wellness
21   checks” including brief encounters with patients in the prison yard surrounded by other
                                                                                                   v
 1   inmates, three minute non confidential cell side visits, and telepsychiatry “wellness
 2   checks” in which an MA holds a laptop for a telepsychiatrist to try to talk to the patient
 3   who is behind the solid metal cell door. In misleadingly counting all these wellness
4    checks as compliant appointments, CDCR thereby overstated its timeliness figures,
 5   because without all these wellness check “appointments”, intervals between
6    appointments would be greater. No reports about EOP timeliness were given to the court
 7   in the 2018 staffing report. The average number of EOP appointments per 30 days gives no
8    measure of timeliness, including whether appointments occurred on time when
9    scheduled. And in any case the number of EOP appointments per 30 days was overstated
10   in the 2018 staffing report, meaning that actual appointment timeliness is even lower than
11   timeliness figures appearing on the Dashboard.


12   Effect On CDCR’s Reports To The Court

13   The average number of EOP appointments per 30 days was lower than CDCR reported to
14   the court in the 2018 staffing report. That wellness checks were counted as proper
15   appointments means that the actual timeliness figures are even lower (less timely) than
16   reported.



17   Effect On The Office Of The Special Master’s Analysis

18   The Count Every Encounter as an Appointment strategy may have led the Office of the
19   Special Master to draw false conclusions about whether EOP patients are being seen by
20   psychiatrists when they need to be seen.


21   See pages 45 46 of this CDCR Mental Health System Report for details.




                                                                                                  vi
 1   The Pretending-“All”-Means-“Fewer-Than-All” Strategy


 2   One of the best measurements of when a doctor thinks a patient should be seen is when
 3   the doctor has scheduled the patient to be seen. According to the CDCR Mental Health
4    Dashboard, at the CCC level of care, statewide, an average of 95% of “all scheduled
 5   appointments” were “seen as scheduled”. But the word “all” did not mean all. Instead,
6    CDCR deemed fewer than all to be “all”. CDCR excluded appointments not seen as
 7   scheduled due to patient refusal, patient no showed, scheduling error, etc. The actual
8    percentage of appointments that occurred as scheduled was far lower than 95%. Were
9    those groups of patients not excluded from “all”, the average percentage of mental health
10   appointments occurring as scheduled would have been about 46%. But the true figure is
11   actually even lower than that because scheduled appointments that don’t happen are in
12   many cases simply moved to a later date as though they were never scheduled to occur
13   before that later date.


14   In a system that is failing to get more than 50% of patients to their appointments, many
15   more psychiatrists are needed than would be otherwise, because of the wasted time, the
16   enormous work needed to try to find patients who did not come to their appointment,
17   the excessive rescheduling and juggling needed, the need to try to see patients at odd
18   hours, etc.



19   Effect On CDCR’s Reports To The Court

20   In failing to mention that fewer than 50% of patients are being seen when psychiatrists
21   schedule them to be seen, the CDCR staffing reports significantly understate how many
22   psychiatrists are needed given how grossly inefficient the system is.




                                                                                                vii
 1   Effect On The Office Of The Special Master’s Analysis

 2   The Pretending “All” Means “Fewer Than All” strategy may have led the Office of the
 3   Special Master to the erroneous conclusion that patients were being seen when the
4    psychiatrist thought they needed to be seen. In addition, the Office of the Special Master
 5   may not have taken into account the greater number of psychiatrists needed in a system
6    as grossly inefficient as the CDCR one (which is failing to get more than 50% of patients
 7   to their appointments).


8    See pages 26 37 of this CDCR Mental Health System Report for details.



9    The Crazy-Algorithm Strategy


10   The CDCR mental health computer algorithm generating compliance figures for
11   medication non compliant patients seen perversely creates the semblance of greater
12   compliance when fewer patients needing to be seen for medication non compliance are
13   scheduled to be seen. It counts appointments not scheduled as not being needed, it
14   counts refused appointments as completed appointments, and it double counts
15   appointments that occurred. In the CHCF report for August 2018, for example, the
16   Dashboard reported 100% compliance when in reality the compliance was only 3.6%.


17   Appointments for medication non compliance are one of a number of different types of
18   consultation appointments. Were the compliance figures for that kind of consultation
19   appointment accurately recorded, the compliance figures for “timely mental health
20   referrals” would be significantly lower. The Dashboard has significantly overstated
21   compliance with respect to timely mental health referrals.




                                                                                             viii
 1   Effect On CDCR’s Reports To The Court

 2   The number of psychiatrists CDCR suggests are needed fails to take into account that
 3   CDCR’s actual compliance with respect to needed psychiatric consultations occurring is
4    much lower than the Dashboard figures suggest.



 5   Effect On The Office Of The Special Master’s Analysis

6    Given that the algorithm creates such grossly false compliance figures, the Office of the
 7   Special Master might decide that independent analysis is needed to check all Dashboard
8    data. The Crazy Algorithm strategy may have led the Office of the Special Master to
9    conclude that fewer psychiatrists are needed than is in fact the case.


10   See pages 48 52 of this CDCR Mental Health System Report for details.


11   The Psychologists-Are-Physicians-Too Strategy


12   Regardless of platitudes about the importance of including psychiatric physicians in
13   decision making, CDCR’s actions are not consistent with such platitudes. CDCR
14   perversely deems the non medically trained psychologist rather than the psychiatrist (i.e.,
15   the medical doctor) to be the “primary clinician”. There is not a single psychiatry
16   executive in CDCR. Psychologists wear name badges saying “Dr.” and not specifying that
17   their doctorate is as a psychologist rather than a medical doctor. Indeed, a psychologist
18   has been listed as the “physician to call” in at least one CDCR mental health nursing
19   station. Psychologists in CDCR very often override psychiatrists’ judgement and/or
20   medical orders, and the CDCR system effectively supports them in doing that rather than
21   discouraging it.




                                                                                                 ix
 1                    signed a memo that gave psychologists the authority to overrule
 2   psychiatric physicians' medical decisions about the medical safety of discharging
 3   medically complicated patients from licensed hospitals. The memo said that the decision
4    to discharge is made by “the primary clinician or treatment team”. The psychiatrist and
 5   the psychologist are both members of the treatment team. The psychologist is the
6    “primary clinician”. It logically follows that the memo is saying that in cases where the
 7   psychiatrist and the psychologist disagree (and thus the treatment team can’t reach a
8    decision), the psychologist rather than the psychiatrist makes the decision.


9    Giving psychologists the authority to overrule medical doctors’ decisions with respect to
10   potentially medically complicated patients must be one of the most radical policy
11   decisions ever. Having no medical training, psychologists have no ability to evaluate
12   medical issues such as whether a patient’s diabetes or high blood pressure is stable, or
13   whether there is toxicity from a psychiatric medication, or indeed whether psychiatric
14   medications are increasing or decreasing suicidal risk. Psychologists overruling medical
15   doctors even in emergency situations and about discharging medically complex patients
16   from hospitals has had a steep cost in terms of bad outcomes.



17   Effect On The Office Of The Special Master’s Analysis

18   The Office of the Special Master may be unaware of the degree to which poor outcomes
19   and have occurred because psychologists in CDCR overrule psychiatric medical doctors
20   even during emergency situations and discharges.


21   See pages 88 107 of this CDCR Mental Health System Report for details.




                                                                                                 x
 1        CDCR Mental Health System Report

 2   Suppose that in the California Department of Corrections, only 45% of Mental Health
 3   patients were seen by psychiatrists as scheduled. Suppose that 80% of those 45% were
4    seen in a confidential office space. That would imply that just over a third of the total
 5   were seen appropriately confidentially and as scheduled. That is, they would have been
6    being seen appropriately if, between appointments, consultation occurred in the event
 7   that they had stopped taking their medicines (which would have been unlikely in reality
8    in the CDCR system) and if those patients who were seen as scheduled and confidentially
9    were also seen on time. In the existing CDCR system that happens for some patients but
10   not others.


11   A system in which a large majority of patients are not getting psychiatric care when
12   scheduled or otherwise when they need it, and which is not set up in such a way that
13   patients are brought to psychiatry appointments in confidential offices, but in which
14   instead, the psychiatrist is expected to search the prison yard looking for patients or
15   trying to communicate through a crack in the cell door and unable to look at the patient
16   while speaking loudly to be heard through the crack in the door, is by no means
17   conducive to good patient care. It might not be surprising to find high rates of
18   hospitalization and suicide in such a poorly designed and run system.


19   In systems in which there is a focus on actively identifying and correcting problems, even
20   serious problems can be fixed. Such systems can find ways of getting patients to
21   confidential psychiatric medical appointments and other needed mental health
22   appointments.


23   Making mistakes even very serious mistakes is part of the human condition. The
24   question is whether the system is designed and managed in such a way that mistakes can
                                                                                                 11
 1   be learned from and issues corrected, or not. What is required for a system to be error
 2   correcting is that information be accessible to those who could make a difference, rather
 3   than restricting or denying access to the information needed to identify and correct
4    problems. Systems that deny access to vital information to those who need it thereby
 5   actively prevent problems being solved. Those who may make mistakes should not be the
6    only ones to judge whether there has been an error.


 7   The tragic picture painted above is not just a hypothetical. In fact, it is the reality in the
8    California Department of Corrections Mental Health system. Vital information has been
9    monopolized and its access restricted to a select group of mainly psychologists at
10   headquarters. This group has created a biased and inaccurately positive picture of what is
11   actually a troubled system of care. The                      of Mental Health of the
12   California Department of Corrections have enforced this restriction of access to the
13   needed information. Those who most need to have access to this medical information are
14   the medical leaders in mental health the psychiatric physicians and those who review
15   our system of care. Yet the headquarters psychiatry leadership team and the Coleman
16   monitors and court have been denied access to this medical information. This has actively
17   prevented the normal medical error correction that would have prevented the very
18   serious problems we see in the field in CDCR.i


19   I, Michael Golding, M.D., CDCR Statewide Chief Psychiatrist, will document how the
20   attitude that information must be hidden away, controlled and interpreted by just a few
21   has cost the CDCR system dearly by preventing adequate care for a large majority of
22   CDCR mental health patients. The needed error correction has not happened, because
23   those few running the system are the only ones allowed to judge how things are going in
24   the system.


25   Patients need psychiatric medical care, yet in CDCR the provision of psychiatric medical
26   care is severely hindered by executive level decisions at headquarters and in the field. In
                                                                                                      12
 1   CDCR, psychologists and social workers are deemed to be the “primary clinicians”, and
 2   despite their lack of medical training they very often ignore psychiatrists’ medical
 3   judgement and sometimes override psychiatric physicians’ medical orders.


4    Moreover, as a matter of policy at CDCR, non medically trained psychologists are
 5   deemed to have independent medical privileges including admitting, discharging and
6    ordering restraints. Pro forma, there was (until very recently see page 105) supposed to
 7   be consultation and agreement from the treatment team including the psychiatric
8    physician, but frequently not only is there no consultation, non medically trained
9    personnel make medical decisions that override psychiatric medical doctors’ orders. This
10   is so ingrained and pervasive in the culture and policy of CDCR that few but the
11   psychiatrists and other medical doctors appear to find it problematic.


12   In most CDCR institutions, psychiatrists are supervised by non medically trained
13   psychologists. Ostensibly, this supervision is administrative. However, in fact it is clinical
14   too. Psychologists and their administrative supervisors control medical information and
15   prevent it from getting to psychiatric physicians who need it to make medical decisions.
16   They also make determinations about what is or is not a medical issue, and sometimes
17   just boldly overrule physicians’ orders, typically behaving as the clinical supervisors of
18   psychiatrists in most CDCR institutions. Our attempts to have psychiatrists report
19   clinically through a psychiatry chain have been stymied. In these circumstances, non
20   medically trained personnel decide what is a medical issue and consult physicians only if
21   in their own judgement a medical decision needs to be made.


22   There are perhaps about 30 executive level psychologists in CDCR, a half dozen dental
23   executives, dozens of general medical executives, regional medical executives, and dozens
24   of nursing executives, and corresponding numbers of administrative executives. Although
25   there are nearly 250 civil servant and contract psychiatric physicians statewide in the
26   system (more than the number of dentists and only 60 fewer than the approximately 310
                                                                                                  13
 1   general physicians and contractors), there is not a single psychiatry executive in all of the
 2   California Department of Corrections (CDCR).


 3   Those making the executive level decisions about mental health issues in the California
4    Department of Corrections Mental Health Program         psychologists and non medical
 5   administrators have no knowledge of psychiatric medicine, and they appear often
6    unwilling to take into account the medical knowledge of those of us who work in the
 7   department. Their decisions have adversely affected patient care.


8    Whether in terms of seeming to lengthen court mandated compliance timeframes for
9    patients, not accurately reporting about measurements of court ordered psychiatric drug
10   monitoring, or not accurately reporting about whether scheduling, confidentiality of
11   appointments and medication consultation is occurring, there appears to be significant
12   bias in how the results are reported. The psychiatric leadership team is being denied
13   access to this information we need to create good patient care. On the other hand, the
14   leadership of the psychologists, mental health administrators, general medical physicians,
15   dentists, nurses, and medical administrators all have access to this information. Denying
16   our psychiatric physicians access to this medical information about our patients is itself a
17   medical decision, and it is being made by those with no qualification to make such
18   decisions and by those with an apparent propensity to report biased interpretations of the
19   data to the court, the Coleman Special Master, and our psychologists and psychiatrists.


20   Lengthening EOP and CCC Timelines Beyond Court-Mandated Timelines


21   If a psychiatric medical doctor writes a medical order that a given patient should have a
22   follow up appointment with a psychiatrist in a certain number of days, the CDCR medical
23   system should follow the doctor’s order that the patient be seen again in that number of
24   days. Should, but doesn’t. When a patient is transferred from one institution to another
25   within the CDCR system, any order for a follow up appointment with a psychiatric
                                                                                                 14
 1   medical doctor in a given number of days is automatically overridden without any
 2   consultation with any medical doctor. That is how the system is designed.


 3   Imagine a patient at what is called the CCC level of care, our lowest level of intensity of
4    mental health care. Assume the doctor has scheduled a follow up appointment with the
 5   patient for, say, seven days later, because the patient needs to get blood drawn and the
6    doctor needs to review the lab test results. Suppose that the patient is then transferred to
 7   a different location five days later. Were the doctor’s order being followed, the patient
8    would be being seen by a psychiatrist two days after arrival at the new institution.
9    Nonetheless it is typical in the CDCR system for the admitting non medically trained
10   psychologist to override such a doctor’s order and instead schedule the patient to see a
11   psychiatrist 90 days later, the court ordered maximum interval between appointments for
12   patients at this level of care.


13   When a psychologist overrides a physician’s order, he or she is, in effect, determining
14   from his or her own assessment, whether a patient needs medical consultation or not, for
15   a given set of lab values and a given physical and psychological presentation. But that is
16   precisely beyond the scope of psychologists, since knowing what is a relevant medical
17   issue is something determined by physicians.ii


18   A given lab value in the normal range (yet rising) might be nothing to worry about, or in
19   some cases it can indicate very significant danger. For example, liver function studies
20   could go up after starting valproic acid, and while still being in the normal range when
21   rechecked, they might nevertheless be headed rapidly higher, indicating pending hepatic
22   failure from valproic acid toxicity. Just looking at whether a lab value is in the normal
23   range or not is insufficient. When the lab test numbers go up a bit at first, it could be a
24   lab error, or not clinically significant, or it could be dangerous. Because the medication is
25   needed the psychiatrist will not stop the medication without more information and so
26   orders a new blood level test and schedules a follow up appointment for seven days later.
                                                                                             15
 1   But when the transferred from one institution to another the patient will typically be
 2   scheduled to be seen around 90 days later by the psychologist at the CCC level of care,
 3   effectively causing the patient to be evaluated 95 days later with such a rising lab value,
4    rather than the seven days later that the physician had ordered.


 5   Note that the lab itself would not necessarily notify anyone either, because a dangerously
6    increasing lab value can be still within the normal range when checked.


 7   In fact, this practice (psychologists rescheduling patients to be seen by a psychiatrist later
8    than the previous doctor who saw the patient had ordered) has been the norm for years,
9    and appears not to have been reported to the court. When patients switch institutions
10   within CDCR, a psychologist makes the determination of when a patient should be next
11   seen by a psychiatric physician, not the psychiatric physician who last assessed the
12   patient and made an independent medical determination of when the next
13   medical/psychiatric assessment should occur.


14   Suppose a psychiatrist in the CDCR system writes a medical order that a patient be seen
15   next 90 days later, the maximum interval allowed by the court for a patient at the CCC
16   level of care. Suppose that on day 80 the patient is transferred to a different CDCR
17   institution. The CDCR system again typically overrides the doctor’s medical order that
18   the patient be seen on day 90.


19   The doctor ordered the patient to be seen back in 90 days, which would be ten days after
20   the patient has been transferred to the different CDCR institution. Instead of the patient
21   being seen ten days after transfer in accordance with the doctor’s medical order, what
22   typically happens in CDCR is that a psychologist at the new institution creates a new
23   order, overriding the medical order of the doctor at the previous institution. Just like as
24   discussed with the rising lab value, the patient will typically be seen by a psychiatric


                                                                                                   16
 1   physician approximately 90 days after arrival at the new institution, irrespective of what
 2   the psychiatric medical doctor who last saw the patient has ordered.


 3   This is about 80 days later than the psychiatrist’s medical order had said the patient
4    should be seen (about six months after the patient was seen last), and it is also about 80
 5   days later than the court ordered maximum time between visits, a total of 170 days later.iii
6    This lengthening of intervals between psychiatric appointments allows patients to be seen
 7   by a psychiatrist up to 100% later than the maximum court ordered Program Guide
8    intervals, though the quality managers consider such appointments to be compliant with
9    the intervals allowed by the court (e.g., 90 days at the CCC level of care).


10   This same assumption allows patients at the more intensely monitored EOP level of care
11   to be seen up to nearly 60 days after an appointment if the patient is transferred from one
12   institution to another, rather than just 30 days after an appointment, the court ordered
13   maximum for this level of care.


14   Actually, it can be more than 100% later. If a CCC patient is transferred multiple times,
15   there might well be an interval of nine months between one psychiatrist appointment and
16   another, yet despite that being six months more than the court mandated maximum
17   interval, CDCR counts that appointment as being compliant. They reset the clock each
18   and every time a patient is transferred from one institution to another.


19   During a recent quality management meeting that reaffirmed this stance, the
20   psychologists present plus the                              (a psychologist administrator) iv
21   and the                             (an additional administrator) plus several other
22   administrators and all the psychologists present and on the phone in that committee
23   meeting voted that it is fine to violate such medical orders, and indeed that it is fine to
24   violate the court order in that way, too. There are approximately 26 members of the
25   Quality Management Committee and approximately 17 of whom are psychologists who
                                                                                                   17
 1   report in a hierarchical relationship to each other. There are only two psychiatrists on the
 2   committee and both voted that physicians’ medical orders should not be overridden. I
 3   asked the committee whether they thought the court monitor, Dr. Jeff Metzner, would
4    agree with countermanding physicians’ medical orders and the court order in that way.
 5   They laughed and said, “No”.


6    I will show that this is part of a regular pattern in which executive administrators and
 7   executive psychologists and quality management psychologists in CDCR appear to
8    discount expert medical opinion and make decisions allowing, and even mandating, non
9    medically trained individuals to override doctors’ medical orders.


10   Please see the two email exchanges for patient            (see 2018 07 27 1634hrs). In this
11   case, a patient was transferred to another institution and if the psychiatrist’s order had
12   been followed rather than the psychologist’s order overriding the psychiatrist’s order, a
13   psychiatrist would have seen the patient before the incident in which the inmate patient
14   attacked another inmate and seriously injured his eye.


15   Although this patient apparently had a psychotic illness, he was refusing the medication
16   he needed all along at the initial intake institution. It is possible that after transfer to the
17   new institution, a psychiatrist might well have been able to convince the patient to take
18   the medicine, or perhaps would have noticed enough paranoia or other psychosis to get
19   the patient to a crisis bed.


20   Patients who have been taking medication outside prison, as this patient apparently was,
21   sometimes have been doing so because of family or community support, or because they
22   have been getting injections of long acting medications at a mental health center in their
23   community.



                                                                                                    18
 1   In the case mentioned here (see 2018 07 27 1634hrs) the                      at SATF,
 2   unaware of many of our executive leadership’s views and our two                         ’ views
 3   that psychologists should typically override physicians’ medical orders with respect to
4    when patients should be seen after patients transfer institutions, wrote:


 5   “Hello Everyone,


6    This patient has not been seen since his arrival in May (2018) by one of our psychiatrists?
 7   He has had a major incident that could be related to psychosis he is currently not on an
8    antipsychotic. Why was the patient not seen?”


9    I had to explain to him that, “As I suspected, this patient according to the interpretation
10   of a quality management (QM) committee vote, did not need to be seen sooner.” (see
11   2018 07 27 1634hrs)


12   The psychologist ordered a psychiatric appointment for the patient nearly three months
13   after his arrival in May, which would be some time in August, which had not yet passed. I
14   had to explain to this                   that our psychiatrists want every patient who is
15   transferred from one institution to another to be assessed by a psychiatrist within 14 days
16   of transfer (and ideally it should be within a week), but that during the quality
17   management meeting our                                 had said in front of the quality
18   management committee that that would negatively impact the workload of the
19   psychiatrists and so would be an issue to be reported to labor (i.e., the union). She
20   subsequently voted that CDCR should not follow physicians’ orders for when patients
21   should be seen next.




                                                                                                  20
 1   Had the last physician’s order been followed, patient          would have been seen long
 2   before the dangerous event (see 2018 07 30 0925hrs). But instead, a psychologist’s order
 3   was followed, overriding the doctor’s order.


4    As Dr.                    says, “if the psychiatrist’s order had been followed to see the
 5   psychotic patient, who was relatively recently off medications, the patient would have
6    required an appointment by 6/24/18, about a month after transferring to SATF” [emphasis
 7   mine, MG] (and well before the incident on July 26, 2018) which itself was before the
8    August meeting in which our non medical psychologists and executive voted that this
9    type of patient be seen later than the psychiatrist (i.e., medical doctor) may have ordered.


10   Patient        arrived at SATF on 5/29/18. Had this patient been seen within 14 days, that
11   would have been before the middle of June. Had this patient been seen when the
12   psychiatrist had ordered, that would have been in late June. Instead, the psychologist
13   ordered that the patient be seen in August. This August appointment violated both the
14   psychiatrist’s medical order, and also the maximum interval between appointments
15   allowed by the court ordered mandate.


16   Dr.           says, “His history…. suggest[s] a patient who requires more frequent
17   psychiatric intervention. Also concerning is the discontinuation of Zyprexa without
18   regular follow ups to evaluate for decompensation. He was seen by psychiatry on 3/29/18,
19   4/25/18, and 7/27/18.” Only after the incident in which the patient injured another
20   patient’s eye was a psychiatrist called to see the patient on 7/27/18. (see 2018 07 30
21   1002hrs)


22   The records made available to the Coleman court appear to me and my team to
23   consistently overestimate our compliance with court ordered timelines for just about
24   every mental health patient who transfers institutions. One hundred and seventy days is
25   not 90 days. Therefore, the so called “timeliness” measure of psychiatric appointments
                                                                                                 21
 1   overall has overstated our compliance. Furthermore, our leadership knows about this, as
 2   the HQ psychiatry team has informed them.


 3   This overstating of our compliance has not only occurred on the Dashboard (CDCR’s self
4    monitoring tool). Compliance figures given to the Special Master, and apparently directly
 5   to the court, appear to have overstated CDCR compliance in the 2018 staffing plan figures
6    (see 2018 08 23) and in the 2017 figures (see 2017 03 30).


 7   The 2018 data (see 2018 08 23) says that routine CCCMS mainline patients are seen in a
8    94% “timely” way. “Timely” is not defined in this court report. If we use the percent
9    patient weeks compliant meaning of the word that our Quality Managers routinely use,
10   then “94%” refers to “94% patient weeks compliant” with routine CCCMS appointments.
11   For the 2017 (not 2018) report (case 2:90 cv 00520 KJM DB Document 5591, beginning on
12   line 4 of page 14 of 18) it says (see 2017 03 30 5591 14): “Over the past year, inmates were
13   seen timely by their primary clinician ninety percent of the time, by their psychiatrist
14   ninety percent of the time…”


15   Two of the                     voted for continuing this practice of resetting the
16   appointment due date clock every time a patient is transferred from one CDCR institution
17   to another, and the other                    knows about the vote and allowed it to stand (I
18   myself told her about it).


19   Our quality managers reset the clock for both of these levels of care when patients
20   transfer institutions. The 2017 staffing report combines CCC appointments and EOP
21   appointments. Thus, a patient who has been transferred from one institution to another
22   and only once, might well not have an appointment with a psychiatric medical doctor for
23   six months at the CCC level of care, and yet CDCR would report that as being a compliant
24   appointment having occurred within ninety days. Similarly, again for a patient who is
25   transferred just once at the EOP level of care, CDCR resets the clock and thus reports an
                                                                                              22
 1   appointment happening up to two months after the patient saw a psychiatrist at the first
 2   institution as being compliant with the one month court ordered maximum interval.


 3   This resetting of the clock every time a patient is transferred thus misleadingly inflates
4    the compliance figures, such that it is not true that 94% of CCC appointments were
 5   timely in 2018 as stated in the 2018 report (see 2018 08 23) and neither is it true that 90%
6    of CCC and EOP appointments were timely in 2017 as stated in the 2017 report (see 2017
 7   03 30) to the court.


8    But CDCR does not only reset the clock every time a patient is transferred to a different
9    institution and report as compliant appointment intervals beyond the court ordered
10   maximum intervals, they also have in the recent past lengthened the maximum interval
11   they allow between appointments for patients remaining in one institution.


12   Lengthening EOP Timelines by 50% More than Court-Ordered Maximums (even
13   with no transfer of institutions).


14   The EOP level of care for mentally ill patients in our prisons is a more intense outpatient
15   level of care for those with more severe mental illness. For example, many patients with
16   schizophrenia are at the EOP level of care, not the CCC level, as are those who are more
17   frequently suicidal. As stated, the court mandates that EOP patients be seen at least every
18   month by a psychiatrist.


19   Around March and April of 2017, our headquarters psychiatry team noticed that all the
20   psychiatrists across the institutions seemed to be doing better in terms of seeing EOP
21   patients in a more timely way. (The difference between seeing patients “on time” and
22   “timely” is itself a fascinating story which I describe below.)



                                                                                                  23
 1   she says, “No we don’t tell them about every change. Since they use our numbers I do let
 2   them know when we make a major change that has significant impact.” (see 2017 03 22 x)


 3   Apparently, our head of QM genuinely thought that changing an EOP time frame from
4    one month to 45 days would not have a significant impact; that is, she must have thought
 5   that increasing allowable appointment intervals to 50% more than the maximum interval
6    permitted by the court, across a system with thousands of patients, would have no
 7   significant impact on data reported to our physician psychiatrists and the courts.


8    This practice of unilaterally deciding that 45 days is the same as the court’s mandated one
9    month went on from December 2016 until at least April 2017, when we discovered it and
10   demanded that they change it back. I told our senior executive about it. Finally, I wrote a
11   private message to her, letting her know that this was truly problematic. In fact it was
12   changed back because of this insistence.


13   Note again from CDCR’s 2017 staffing report (see 2017 03 30) the column called “Timely
14   Psychiatry Contacts: (Access to Care Banner) 8/1/2016 1/31/2017”. As discussed previously,
15   these figures are very likely mistaken because they allow appointments to occur at greater
16   intervals than Program Guide timeframes when patients transfer institutions. (Note also
17   that the figures lump together CCC and EOP. EOP timelines were included in these
18   figures. I will explain why this is relevant later.)


19   Given that the EOP calculation strategy was changed in December 2016 to allow
20   appointment frequencies beyond the court ordered maximum one month interval (to 45
21   60 days), it is very likely that the EOP appointments for December and January were
22   measured as compliant at from 45 days to 60 days, rather than the court mandated one
23   month, and that they were reported as compliant to the court. The compliance timeframe
24   was increased even if the patient was not transferred from one institution to another.


                                                                                                25
 1   It is quite possible that the change made in December was retroactive for many months,
 2   as many of these changes are, so it is entirely possible that all the EOP timeframes
 3   (8/1/2016 1/31/2017) had been increased (not just 12/1/2016 01/31/2017) from the court
4    ordered maximum of one month, up to 1½ to two months. Thus, the numbers reported to
 5   the court in 2017 are apparently mistaken for this reason as well. Someone should
6    carefully ask whether EOP timeframes were increased even for patients not being
 7   transferred between institutions.


8    Summary So Far


9    I have now mentioned that in CDCR’s reports to the court the percent patient weeks
10   compliance numbers appear better than the reality

11   1. Because our quality management colleagues reset the clock when patients transfer
12       institutions, so the allowable time increased up to 100% over the court ordered
13       maximum intervals between psychiatry appointments.
14   2. And for the EOP calculation strategy, even for patients remaining in a single
15       institution, CDCR Mental Health QM allowed a 50% (in certain cases up to 100%)
16       increase in timeframes they reported as being compliant for EOP patients, until the
17       psychiatry team managed to get this change reversed later in the year.


18   Combining CCC And EOP Compliance Figures To Mask Poor EOP Compliance


19   Note something else about the compliance timeframes (see 2017 03 30). Those reporting
20   to the court combined CCC and EOP patients. That is relevant because usually EOP
21   patients are much more difficult to see in a timely way, and CCC patients are far more
22   numerous, so the relative success with the CCC patients masks the relative lack of success
23   with the EOP patients when they are numerically combined. (See for example 2018 09 04
24   1830hrs.) Overall, for CDCR in June 2018, EOP “percent patient weeks compliance” with

                                                                                               26
 1   timely appointments was reported to be only 83% (vs. 95% for CCC), while at CHCF, EOP
 2   compliance was reported to be only 78% (vs. 85% for CCC). Combining the two thus
 3   serves to obscure the poor EOP compliance.


4    Please also note both pages of document 2018 07 26 1053hrs. Notice that CDCR Quality
 5   Managers eliminated a simple filter option which allowed one to distinguish for
6    institutions between “Timely Psychiatry Contacts” between CCC and EOP. It used to be
 7   there, but sometime around May or June of 2018 (we are not sure when), this option was
8    eliminated. So when evaluating institutional timeliness at the CCC and EOP levels of care,
9    the report returns one timely indicator for CCC and EOP combined, the usually lower
10   EOP numbers masked by the higher CCC numbers.


11   Someone without computer skills looking for information about timeliness of EOP and
12   CCC psychiatry appointments and consults in individual institutions in 2018 would have
13   difficulty finding such information, because CDCR did not report individual timeliness
14   figures. Someone should ask why that filter disambiguating the timeliness of EOP and
15   CCC at institutions was removed. The question is especially relevant given that 2018 EOP
16   timeliness figures are for unknown reasons just not reported in the CDCR staffing report,
17   at all. Coleman monitors might have wished to directly check the Dashboard numbers to
18   see which institutions were reporting timely EOP contacts, but would have been thwarted
19   because the filter was removed. Someone should ask why that useful filter was hidden.


20   If one takes into account the biases already discussed, the EOP figures (2017 03 30),
21   would likely be significantly lower.




                                                                                              27
 1   More Medically-Urgent Appointments Not Counted As Being Late


 2   Finally, there is a third biasing error: CDCR won’t count any appointments as being late,
 3   if they are

4         1. more medically urgent,

 5   so

6         2. scheduled more frequently than existing Program Guide timeframes to provide
 7           adequate care.


8    When such an appointment is missed, as long the next appointment occurs within the
9    maximum Program Guide interval, the missed appointment isn’t counted as missed or
10   late (see discussion of this later in this document).


11   Misleadingly Good Numbers


12   Utilizing

13    the reset the clock bias when transferring patients between institutions, plus

14    the increase the EOP time frame to 45 days bias (in 2017), plus

15    the more frequent than program guide appointment can’t be late bias, plus

16    the counting appointments that were not appointments bias (discussed later), and plus

17    the combining more compliant and more numerous CCC patients with EOP
18   appointments bias (in 2018), while

19    eliminating altogether the EOP’s measurement of lateness in the 2018 staffing report,


20   made the data appear reasonably good in 2017 (see 2017 03 30), and in the 2018 staffing
21   report (see 2018 08 23). But the figures as reported are simply incorrect.
                                                                                               28
 1   The psychiatric leadership team could calculate precisely what the accurate figures would
2    be if we had access to the database, but our requests for access have been denied.v


3    As mentioned, there is no report of EOP timeliness in the 2018 staffing report to the
4    court, while we know that EOP “timeliness”, as reported on the Dashboard but not to the
5    court, is both lower than the CCC value and itself biased for the reasons given above.


6    The Implications For Psychiatry Staffing


7    Whether patients are seen on time at the EOP level of care is relevant to determine
8    whether there is adequacy of psychiatric staffing. Alternatively, getting patients
9    successfully moved from their cell to the offices of psychiatrists to be seen, would also
10   enable timely contacts, even with no increase in staffing numbers.


11   If one examines the current Dashboard to try to understand the EOP timeliness, and if
12   the biases mentioned above were eliminatedvi, the 83% EOP Dashboard report (not
13   staffing report) for 2018 psychiatric appointment timeliness would be far lower than the
14   83% reported. For example, in June 2018 (see 2018 09 04 1830hrs), EOP timeliness was
15   reported as being 83%. The real figure would be far lower were the biases listed above
16   eliminated.


17   Low compliance figures would demonstrate either inadequate staffing or inadequate
18   organization such that patients are not being brought to their psychiatry appointments as
19   scheduled, on time and in confidential offices.




                                                                                                 29
 1   Medication Monitoring Biases (also reported to court)


 2   Appropriate psychiatric care includes monitoring psychiatric medications, including
 3   checking patients’ medication blood levels as appropriate, and measuring the potentially
4    adverse effects of medications on organ function. The court has mandated a MAPIP
 5   protocol that includes keeping track of these measurements in a particular way.


6    My HQ psychiatry team and I have concerns about how CDCR was reporting our
 7   compliance with the MAPIP lab reporting metrics. We have raised these concerns with
8    our HQ administrators (see 2018 01 16 1409hrs). These metrics report whether
9    appropriate labs have been drawn and whether various physiological parameters (e.g.,
10   weight and blood pressure) are being obtained, so as to safely utilize medication. Before
11   July 2018, the patients appeared to be doing better than we might have expected. If CDCR
12   were reporting accurately the measuring of lab values for patients on psychotropic
13   medications, we would expect the reported compliance to be lower than it was.


14   Ultimately, we found that only those patients who had been on the same class of
15   medication for the last year were considered for inclusion in the compliance measure.
16   And then, even if only one measurement was made in the year, as opposed to the
17   multiple measurements actually required, CDCR Mental Health deemed that to be
18   compliant with MAPIP requirements.


19   Patients who had switched medication classes (and thus required multiple
20   measurements) were excluded from the analysis before June 2018. Those switching
21   medication classes are precisely those most at risk of having problems with medications
22   they are taking and so are precisely those patients who need the monitoring more.




                                                                                             30
 1   Those patients who switch medications are more at risk because the explanation for the
 2   switch is often that the medication was causing a side effect (so might not be at the right
 3   level) or possibly the patient was not taking it or not taking it appropriately. In addition,
4    more medication switching may create more risk of toxicity because each drug class has
 5   its own set of risks.


6    I have no doubt that programming at least one of the MAPIP recordings was difficult. For
 7   example, measuring whether physicians checked a blood level when medication doses
8    were changed. Indeed, we are not measuring that at present because of that genuine
9    difficulty.


10   I also have no doubt that it can be very reasonable to start with something easy, so that
11   compliance can be easily achieved before moving on to something more difficult. For
12   example, as I show below, in effect, the original MAPIP measurements were considered to
13   be compliant if the physician had drawn only a single measurement in the year after the
14   medication was started.


15   For the patient to be included in the analysis, CDCR deemed that the physician needed to
16   have a full 12 months to obtain a single blood draw for analysis. (see 2018 07 03 m) If there
17   was not a full year in which to get the one blood draw done, because the medication was
18   changed to another one during in the year, then that patient’s data was excluded in the
19   calculation of whether there was lab test compliance was with respect to either drug. So
20   those who needed the measurement most, and who were least likely to have the
21   measurement done, were not included in the MAPIP calculations.


22   By excluding all of these somewhat more difficult to make measurements because there
23   had been less than a full year in which to do the blood test, very high compliance rates
24   could be recorded, as reported to the court [case 2:90 cv 00520 KJM DB Document 5591
25   page 14 of 18, beginning line 7]. (see 2017 03 30 5591 14)
                                                                                                     31
 1   We appear to have been failing to report straightforwardly to the court for years that we
 2   were not measuring compliance with any of the laboratory drug monitoring MAPIP
 3   criteria in the case of patients statistically most likely to need it.


4    Note that from the Defendants’ Response to the Special Master’s Report on the Status of
 5   Mental Health Staffing and the implementation of Defendants’ staffing plan, from March
6    30, 2017, [case 2:90 cv 00520 KJM DB Document 5591 pg 14 of 18, beginning line 7], the
 7   following:


8           To ensure medication monitoring for its patients, CDCR uses a detailed
9           monitoring tool titled “Medication Administration Process Improvement Process.”
10          This tool facilitates necessary and appropriate systemic monitoring of medication
11          management, including blood levels, for the following types of medications: (1)
12          Antipsychotics; (2) Clozapine, (3) Mood Stabilizers, including Carbamazepine,
13          Depakote, and Lithium; and (4) Antidepressants. CDCR clinicians generally
14          maintain high levels of compliance, with most institutions achieving compliance
15          above the ninety fifth percentile. (Tebrock Decl. 11, Exh. 1.) CDCR’s systemic,
16          statewide compliance with its medication administration measures totals ninety
17          six percent over the past twelve months.


18   In terms of using a “detailed monitoring tool” that facilitates “necessary and appropriate
19   monitoring” of medications and that “compliance with its medication administration
20   measures totals ninety six percent”, it seems that this “detailed” analysis included only
21   one of the four court required blood draws, as specified earlier.


22   For many of the medications, CDCR already utilizes a lenient standard, requiring just four
23   blood draws due to difficulties in the prison population in getting compliant blood draws.
24   For example, the National Health Service of Britain suggests weekly monitoring of lithium
25   blood levels (see 2018 08 28) when a patient is being started on the medication. For
                                                                                                 32
 1   lithium and many other drugs, CDCR and MAPIP just require a baseline blood
 2   measurement, a measurement at three months, a measurement when the dose is
 3   changed, and an annual measurement (“annual” in CDCR means between three months
4    and 12 months).


 5   There is a caveat about MAPIP in small print on the exhibit provided by CDCR (see 2017
6    03 30) which says: “Percentages in this column represent the average compliance for
 7   MAPIP Measures 1A 1G. These measures do not capture MAPIP Measure 1A 1G that are
8    baseline, 3 months or triggered by medication dose change.”


9    For “1A 1G”, each letter refers to different drugs. This statement in smaller print at the
10   bottom of the page seems to be saying that for the drugs for which the measurements
11   were recorded, of the four required MAPIP blood draw measurements when a medication
12   is started, three of the four are not included in the compliance reports. They did not
13   include the “baseline requirement”, the “3 month” requirement, or the requirement for
14   checking blood draws when “triggered by medication dose change”.


15   But even with these caveats it’s still not right.


16   The annual measurement is the fourth measurement. It is defined in the MAPIP protocols
17   as a measurement that occurs 91 days to 365 days after the start date (for example see
18   2018 09 04 1700hrs). Actually, before 2018, it was defined as anytime in the year after
19   starting the medication. (see 2018 07 03 m) After reading the above caveat, it is the only
20   measurement left to enable any of the compliance calculations to be made in the table
21   presented, because the caveat eliminates the other three mandatory blood draws in this
22   “detailed monitoring tool”. But actually, that measurement wasn’t being followed either,
23   as explained below.



                                                                                                  33
 1   Does the fact that CDCR is not doing and reporting most of the required measurements
 2   explain how CDCR overall reports such high compliance numbers in the table? Does that
 3   explain the reported, “high levels of compliance, with most institutions achieving
4    compliance above the ninety fifth percentile”?


 5   Not fully.


6    What is not even hinted at in the report to the court is that in addition to skipping
 7   measurements of three of the four required blood draws in all of the patients, some of the
8    patient data was eliminated entirely from the reported analysis, namely, that of patients
9    who were not on a given medication for an entire year. Those who were not on a
10   medication for an entire year are precisely those who are less likely to have had even one
11   measurement done, because there was less time in which to get the blood drawn.


12   By screening out eligible patients who did not have the very highest likelihood of having
13   just a single correct measurement done (out of multiple needed), and thus only in fact
14   including in the analysis a small proportion of the population that should have been
15   included, CDCR reported “detailed monitoring” and “high levels of compliance, with most
16   institutions achieving compliance above the ninety fifth percentile”.


17   The MAPIP calculations have subsequently been updated and released this July 2018 to
18   somewhat more accurately reflect the actual court ordered MAPIP rules, although the
19   rules CDCR is following are still more lenient than the court rules.


20   This change in reporting has made a dramatic difference. Since the change, virtually all
21   the court ordered blood measures (including drug monitoring for antipsychotics, valproic
22   acid, lithium, and carbamazepine) have turned “non compliant” (all red, most below 75%)



                                                                                                34
 1   statewide. Though we were utterly non compliant, the reports to the court in previous
 2   years were that we were virtually completely green (above 90%).


 3   Moreover, the court needs to still be aware that we are not actually measuring
4    compliance in accordance with important parts of the MAPIP criteria. For example, when
 5   we change the dose of a given drug, new drug levels and new blood measurements to
6    check for organ toxicity need to be made.


 7   The MAPIP blood measurements are still not being made in one important way. We
8    encourage our psychiatrists to do what is right and good. But we are not yet measuring
9    whether psychiatrists are getting blood drawn when doses of medications are being
10   changed that require a blood draw, even now, though that is a critical part of MAPIP. So
11   whatever low level of compliance we are reporting now, our actual compliance with court
12   mandated MAPIP measurements is even lower.


13   Unfortunately, errors in reporting whether appointments are timely and whether drug
14   monitoring has occurred are not the only errors CDCR has made which seem to create
15   bias in terms of over reporting compliance. There are significant problems with the
16   Dashboard as well.


17   Missed Scheduled Appointments


18   Our quality management psychology team has provided an easy way of discerning
19   whether appointments at given levels of care, across levels of care, at a given institution,
20   or across institutions, are on average being seen as scheduled.


21   Please see the Appointments Seen as Scheduled report about CHCF (see CHCF 2018 07
22   ASAS). This report describes mainline CCC patients scheduled to be seen in the mental

                                                                                                35
 1   health program by psychologists, psychiatrists, and other mental health providers. The
 2   claim, as written in the report, can be seen below (CHCF 2018 07 ASAS)

 3   Denominator = All scheduled appointments [emphasis mine, MG]

4    Numerator = All appointments from the denominator that were completed as seen.


 5   The quality management psychology team (or those who direct them) would seem to be
6    claiming, based on what they are reporting and saying, that their report is calculating the
 7   percentage of “all scheduled appointments” that are seen at the entered level of care and
8    location. In the case illustrated (CHCF 2018 07 ASAS) it would appear that 98% of all
9    scheduled mainline (“ML”) CCC appointments were seen as scheduled at CHCF in
10   February. That sounds pretty good.


11   Indeed, this is what our colleagues think when I have asked them to look at the report.
12   What should they think? That is what the report and all similar ones about different
13   institutions and contexts say is being measured.


14   The report from SAC about February 2018 says that 91% of patients came to their
15   appointments as scheduled. (see 2018 07 30 2057hrs).


16   There is a different way of getting the information, from which one can try to calculate
17   the same statistic. However, it requires exporting into an Excel spreadsheet the
18   information about each and every individual patient appointment that occurred that
19   matches the search criteria, then checking whether the appointment is marked as having
20   occurred as scheduled or not, grouping all those appointments (conceptually) together in
21   terms of which are alike and different, and then calculating what percentage of the total
22   number of appointments the grouped appointments comprise.




                                                                                                36
 1   Dr.           writes: “There is a report called “Appointments” that allows for searching a
 2   specific institution (or all of CDCR), program, date range, and appointment type, and
 3   getting a list of all appointments that meet the search criteria. For example, I searched
4    CDCR, ML CCCMS, psychiatrist contacts on 7/10/18 with all outcome types, and received
 5   a table with 955 rows (954 patient appointments). I then changed the outcome type to
6    “cancelled”, “refused”, or “pending” (all of the outcome types except “completed”), and
 7   received a table with 461 patient appointments. So on 7/10/18 in all of CDCR, the
8    percentage of scheduled psychiatry appointments that were missed was 48%, or to put it
9    in performance report terms, the percentage of Appointments seen as scheduled was 52%.
10   This doesn’t include the appointments that were just rescheduled by schedulers without
11   marking them as cancelled, but there’s no way to track that. However, this is definitely
12   not a quick or easy way to obtain appointment data.” (see 2018 08 13 1450hrs)


13   Dr.           is describing how she got a report about the percentage of psychiatry
14   appointments that had occurred (not including other mental health providers) for all
15   CCC appointments in CDCR on 7/10/18, by importing each individual appointment that
16   had occurred into an Excel spreadsheet and then making a calculation.


17   Unlike using the Appointments Seen as Scheduled Report (that is easy to use), it is
18   unlikely that Coleman monitors, Chief Psychiatrists, CEOs, etc. will be checking too
19   frequently (or at all) for whether appointments were seen as scheduled in their institution
20   using the methodology that involves exporting appointments into several thousand page
21   Excel spreadsheets, as Dr.           describes.


22   But our team did. Using this complex non “quick or easy way to obtain appointment
23   data” for SAC for mainline CCC for all providers (for example psychiatrists, psychologists,
24   etc.) in February 2018, we found that only 22% of appointments were seen as scheduled.
25   For the first page of hundreds of pages of Excel Spread Sheet printed out, see page 3 of
26   2018 08 22 0900hrs. But the Dashboard report (see page 2 of 2018 08 22 0900hrs) claim
                                                                                                 37
 1   was that 87% of “All Scheduled Appointments” were seen as scheduled in February of
 2   2018 at SAC mainline CCC.


 3   Clearly, 87% is not 22% at SAC (for all mental health providers at the CCC mainline level
4    of care in February). The psychiatry team suspects that the 22% figure is the more
 5   accurate one, though the 87% figure is presented on the Dashboard, because the 22%
6    figure was calculated from a table with hundreds of rows, actually listing all of the
 7   scheduled appointments, which we could count one by one, to see which scheduled
8    appointment were marked as completed or not.


9    One can do the same type of calculation for all of CDCR Mental Health CCC mainline
10   appointments statewide, not just for SAC. The CDCR Dashboard report claims that 95%
11   of all scheduled mental health appointments at the CCC mainline level of care, for all
12   provider types, were seen as scheduled in February (see page 1 of 2018 08 22 0900hrs).
13   But we looked at each appointment that occurred individually as well. The full analysis
14   for this would be too large to physically attach to this document, as it would require an
15   attachment of many hundreds of pages to list all 84,120 appointments. But this list could
16   be provided if there were an interest. Our team could downloade this list into an Excel
17   Spreadsheet to make the calculations. (For the first page of our Excel download, see page
18   4 of 2018 08 22 0900hrs.)


19   Whereas at SAC, 22% of patients were coming to appointments for social workers,
20   psychologists, psychiatrists, etc., statewide it appears CDCR (for all institutions) was
21   doing better, with 42% of appointments being seen as scheduled for all mental health
22   providers at the CCC level of care (35,642 appointments seen out of 84,120 total
23   appointments). But the Dashboard calculation is that 95% of patients are being seen as
24   scheduled statewide at the CCC level of care.




                                                                                                 38
 1   Ninety five percent is very different from 42% for all providers statewide at the CCC level
 2   of care. Furthermore, the 42% seems to be more accurate, though the 95% figure is the
 3   one published on the Dashboard.


4    These reports of scheduled appointments that are completed seem to report greater
 5   compliance than is in fact the case. These inaccurate reports are easily accessible to the
6    Coleman monitors, our psychologists, our Chiefs of Mental Health and our psychiatrists,
 7   to enable them to judge our scheduling system, and they appear to be grossly inaccurate.


8    Concerning the whole process, Dr.             says:


9    “It is odd, and I don’t understand why Appointments seen as scheduled is so high [using
10   the Appointments Seen as Scheduled report, MG]. When I drill down on Appointments
11   seen as scheduled, the only options it shows are Seen, ProviderUnavailable,
12   ModifiedProgram, and TechnicalDifficulties [I have attached a screenshot (see 2018 07
13   30 2057hrs)]. There are several other options to choose from when cancelling an
14   appointment [when one uses the EHRS system, MG], including IP (inmate patient) No
15   Showed, IP Refused, Scheduling Error, etc., so it appears they do not include any
16   appointments with those outcomes in the denominator. But that is so illogical I am
17   doubting myself.” (see 2018 07 31 1346hrs)


18   So the overwhelming bulk of patients who do not come to appointments as scheduled
19   somehow don’t count in a measure of patients who do not come to appointments seen as
20   scheduled. Those patients who would make the appointments seen as scheduled
21   percentage lower are not included in the measure, though the reports say “All Scheduled
22   Appointments”. Those inmates who, for example, “refuse” or “no show” and in which
23   there are “scheduling errors”, are somehow just eliminated in measurements of whether
24   scheduled appointments occur.


                                                                                                  39
 1   And even whether patients actually “refuse” or not to come to appointments is a very
 2   complicated question, since we know that different prisons are considerably better or
 3   worse at getting patients to appointments. Some patients undoubtedly do refuse, but
4    many don’t, which is a separate but also a very interesting question worthy of exploration.
 5   The report of the psychiatrist Dr.        , whom I followed at SAC, is instructive (see
6    2018 07 18 R). He documents what we heard as we spoke to patients and it certainly
 7   appears that at least several did not refuse, though they were documented as having
8    refused or moved to a different day (discussed below). So the data very likely over
9    estimates patient refusals as well, even if included in this measure.


10   But there are even more oddities in how the individual appointments are tabulated, even
11   when we evaluated each and every appointment in a tabulated form.


12   Dr.           says (see 2018 08 14 1340hrs): “Per Dr.          write up that you attached,
13   he had 11 patients scheduled to be seen on 7/9/18 4 came and were seen, 6 did not come
14   and were not seen, and 1 was out to court and was not seen. I have attached a screen shot
15   of the Appointments report for Dr.          on 7/9/18, which shows he only had 5
16   scheduled appointments, 4 of which were seen.


17   It appears that the schedulervii moved the appointments that were not seen on 7/9/18 to
18   the schedule for 7/10/18, instead of marking them as refused on 7/9/18 and rescheduling
19   them. This is a huge problem for two reasons: 1) Those 6 appointments were NOT seen as
20   scheduled, so the Appointments seen as scheduled percentage should be 36% (4/11), but
21   by erasing any record of them from the 7/9/18 schedule, the Appointments seen as
22   scheduled reported percentage is, erroneously, 80% (4/5); and 2) Those 6 appointments
23   should have been marked as No Shows/Refusals, making the appointment refusal rate
24   55%, but since there were just moved to a different day, the reported refusal rate is 0%.”




                                                                                                  40
 1   Schedulers should be labelling such appointments as “cancelled”, “refused” or “no show”,
 2   but are instead simply moving the appointments to a later date in such a way that there is
 3   no indication that there ever was an appointment on the original date. Thus, the
4    appointments occurring as scheduled figures even in our own calculation are
 5   inaccurately high, because we have no way to identify cases in which appointments have
6    been moved to later dates without leaving a record of the original appointment dates.


 7   Indeed, when I recently visited SAC in July 2018, Dr.       and I listened (and I was in
8    disbelief) when the psychiatrists told us about this process and indeed explained those
9    who make appointments for them had recently been retrained to move appointments
10   exactly as described above. Obviously, this type of thing also creates questionable reports
11   to the Coleman monitors and our leadership.


12   Dr.          continues (see 2018 08 15 1004hrs): “The only reasonable argument for
13   excluding some of the appointments from the denominator is that the system auto
14   cancels appointments when a patient has been moved to a different institution after their
15   appointment was scheduled but before their appointment occurred. If auto cancellations
16   are removed from the denominator, then the percentage of appointments seen as
17   scheduled becomes 46% [a 4% difference from 42%, for all mainline CCC in CDCR, MG].
18   However, as we previously discussed this figure does not account for all of the
19   appointments that should have been marked cancelled/refused/ no show but are simply
20   rescheduled to a different date [discussed above, MG]. If we were able to include those
21   cases, the appointments seen as scheduled would be even lower [than 46%, MG].”


22   So it would appear that removing auto cancellations when a patient has been moved to a
23   different institution can in no way explain differences like 95% vs. 46% of CCC patients
24   seen as scheduled and 87% vs. 22% of CCC patients seen as scheduled at SAC. Likely the
25   figure is less than 46% because some of these appointments (vs. many of them?) are not
26   being recorded when they don’t occur and are just being moved, as documented above.
                                                                                                41
 1   So perhaps at the CCC level of care, conservatively, 40 45% of patients are being seen as
 2   scheduled.


 3   Dr.             analysis of scheduled appointments that are seen vs. not seen, suggests
4    significant problems with the data portrayed on the Quality Management Dashboard as
 5   well as highly significant and relevant clinical issues in getting care to patients. For
6    example, 22% of scheduled appointments were completed as scheduled at SAC in
 7   February 2018. There are significant problems, even if one doesn’t take into account the
8    appointments that did not occur as scheduled but of which we have no record, because
9    they were simply moved.


10   Moving patients to be seen at later time of the day, let alone another day (without
11   recording that this occurred) is itself problematic. For example, at SAC, when the patient
12   wasn’t seen for a scheduled appointment in the morning, during my recent visit there, it
13   meant that the patient was not going to be seen in an office that morning.


14   Instead, in the afternoon, the psychiatrist would be roaming the yard looking for the
15   patient. The earlier appointment in the office did not occur as scheduled, or should be
16   recorded in some way as having not occurred, even if not recorded as “not seen as
17   scheduled”. Yet it isn’t recorded. This is a problem because failing to see the patient in the
18   morning is adding to the inefficiency of the system, because psychiatrists have to
19   reschedule patients to later in the day and then search to physically find them.


20   This is so even if the psychiatrist is ultimately able to find the patient somewhere on the
21   yard or in his cell and sees the patient on the day that he or she was originally scheduled.
22   In the case of seeing patients after a second attempt on the same day, it is true that the
23   appointment that occurs is still timely relative to when it was scheduled to occur; but the
24   appointment is nonetheless time wasting for the psychiatrist, at the least.


                                                                                                  42
 1   Taking into account that appointments are being moved and not counted as being
 2   rescheduled, optimistically, then, less than 46% perhaps 40 45% of patients were seen
 3   as scheduled, although this itself could be a major overstatement. The degree of error
4    depends on how widespread the practice is of training schedulers to move appointments
 5   to a different day without recording a problem, let alone moving patients to be seen on
6    the same day without recording that any problem occurred. The latter is very common.


 7   Imagine a CEO, Court officer, Special Master, Chief of Mental Health, Chief Psychiatrist
8    or anyone else who is working within our system trying to evaluate the health of our
9    system in terms of its ability to get patients seen as scheduled. Overall for CDCR,
10   according to the Dashboard, 95% of mainline scheduled CCC patient appointments are
11   said to occur as scheduled. Let’s imagine an average institution that itself has the same
12   Dashboard average as the statewide average, i.e., 95% of mainline CCC patient
13   appointments are said to be occurring as scheduled.


14   Most leaders and line staff in our Department of Corrections, would guess that all is well
15   at that institution for those patients. There certainly could be improvements. But 95% is
16   pretty good.


17   In general, with a Dashboard that looks like that, people would think (and no doubt in
18   reality do think because that is the figure the Dashboard gives) that mental health
19   patients are getting seen, assuming they are being scheduled correctly. If mentally ill
20   patients are being seen as long as they are scheduled to be seen, there appears to be
21   nothing much to fix, so that leads to a lack of action to solve the problem that actually
22   does exist, of patients not actually being seen when they need to be seen. If this goes on
23   for years, with appointments appearing to be happening appropriately in the vast
24   majority of cases despite the fact that in reality, patients are not being seen when they
25   need to be seen, nothing gets fixed for years in terms of trying to get patients to
26   scheduled appointments.
                                                                                                  43
 1   Suppose, however, that we now tell the CEO, Court, Special Master, Chiefs of Mental
 2   Health, Deputy Directors, Coleman psychiatrists and psychologists, CDCR Chief
 3   Psychiatrists, and others interested in improving our system, that the actual percentage of
4    appointments occurring when scheduled is 40 45% not 95%, at the CCC level of care at
 5   this institution and statewide.


6    The 40% 45% figure does appear to be a lot closer to the truth than the 95% figure
 7   reported by QM, given the reports we ourselves have run. Indeed, our QM psychologists
8    are claiming a figure that is about 100% higher than what appears to be the case. viii


9    Surely about 40% 45% of all of our patients being brought to their psychologists’ and
10   psychiatrists’ CCC appointments is very different from 95% of appointments occurring as
11   scheduled. With a figure of 40% 45%, large numbers of patients are not being evaluated
12   when the psychiatrists and psychologists think they should be, enormous work has to be
13   done trying to find the patient cell side, fewer patients can be seen in the future because
14   the patients who have not been seen need to be rescheduled, extra work is needed,
15   patients are not getting treated when they are supposed to be and thus get worse, etc.


16   For a psychiatric physician or psychologist to be seeing patients at a given frequency
17   means that the patient has to be scheduled to be seen at least at that frequency. If only
18   40% 45% of scheduled appointments are occurring as scheduled, that means that the
19   clinician has to waste enormous amounts of time blocking off time in his or her schedule
20   for appointments not occurring as scheduled, and this destroys his or her efficiency.
21   Alternatively, if he or she schedules far more than the number that will be brought to try
22   to fill his or her schedule, in addition to the waste in resources planning for eventualities
23   that don’t occur as others try to get these patients ready, when patients happen to be
24   brought as scheduled, then custody learns that mental health patient appointments will
25   not be occurring as scheduled, because of the unpredictability in psychologists’ and
26   physicians’ schedules. Officers then become less willing to bring patients in the future,
                                                                                                 44
 1   because they end up having to wait because patients are not being seen when their
 2   appointments were scheduled to occur.


 3   As they adapt to the fact that only 40% 45% of appointments occur as scheduled, less
4    than 50% of the resources are provided to bring patients. Furthermore, since custody
 5   never knows which patient will not be available, for example because they have
6    conflicting appointments, then custody may well bring the patients in batches, since they
 7   can’t count on any given individual patient being seen as scheduled. Indeed, bringing
8    patients in batches happens, for example at SAC, though there is a Receiver’s memo
9    saying that it shouldn’t, because it discourages patients from coming.


10   And when patients are brought in batches, a far higher percentage of them don’t want to
11   come, because they have to wait around to go to their appointments and to return from
12   their appointments. So the refusal rates from patients then goes up. Thus, a vicious circle
13   of inefficient patient care is created.


14   Indeed, we will see that in many environments, for example in the SAC EOP program
15   described later, the whole system has adapted to appointments not occurring as
16   scheduled, ensuring that it won’t change without major effort. CDCR reports that 95% of
17   appointments are occurring as scheduled, when in fact half of that is occurring; and in
18   some environments (like SAC), less than a quarter (22%) of appointments appear to be
19   occurring as scheduled.


20   A straightforward presentation of the actual data with no over reporting of compliance
21   would enable important attention to be brought to one of the most critical psychiatric
22   issues: How do we get patients in a timely way in front of psychiatrists (and other mental
23   health professionals) in offices, so they can get treatment? How do we create psychiatric
24   and mental health clinics?


                                                                                               45
 1   So instead of presenting biased reports of patients seen, timely or as scheduled, CDCR
 2   could have been focused on knowing where the scheduled appointments were not
 3   occurring, and devoting executive and other resources to solving the problem. There
4    could, for example, be a regional team of psychiatrists (reporting to psychiatrists so they
 5   would be allowed to focus on precisely that problem) who could tour each institution to
6    try to identify and remove obstacles to creating appropriate clinics for psychiatric patients
 7   to get care.


8    If the State does not want to hire more psychiatrists because they are expensive, or if the
9    State would have to raise psychiatric salaries to attract more psychiatrists, then surely
10   there should be a focus on using psychiatry resources efficiently, not least by utilizing a
11   clinic model allowing each psychiatrist to see many more patients per day, and by getting
12   patients to their psychiatry appointments.


13   The Statewide Dashboard combines results for Medical, Dental, and Mental Health. On
14   the Statewide Dashboard, but not on the Mental Health Dashboard, it explicitly says (see
15   2018 09 05 1700hrs) that the “Seen As Scheduled” measure “Excludes appointments not
16   seen as scheduled due to patient refusal or similar patient controlled factors, scheduling
17   error; patient transfer; lay in; out to court/medical; pending or “to be scheduled”
18   appointments; walk ins; and appointments scheduled to be seen during the reporting
19   period but not yet closed.”


20   This seems similar to the caveat in MAPIP where virtually all of the needed
21   measurements were excluded. (see 2017 03 30)


22   But in addition, the Mental Health Dashboard does not even say the above. The mental
23   health Dashboard says that the denominator is “All Scheduled Appointments” which of
24   course includes scheduled appointments in which patients refused services. So people


                                                                                                   46
 1   looking at the mental health Dashboard would have no idea at all that they are in effect
 2   being misled.


 3   The purpose of measurement is to clarify and not obscure. Legitimate measurements of
4    whether patients are seen as scheduled are incredibly useful, because they would reveal
 5   that in some of our institutions only 22% of patients are getting to mental health
6    appointments and that in most only about 40% 45% are at the CCC level of care. That
 7   matters clinically and is significantly problematic (as examples later will show), but those
8    low figures have not been reported. Instead we see these rosy reports of compliance that
9    doctors and our leaders think mean that 95% of patients came to appointments and were
10   seen. But the measurements mean nothing like that at all.


11   This problem of over reporting compliance cannot help but raise concerns. Failing to
12   address the scheduling, and therefore the timing of appointments, prevents adequate
13   psychiatric care.


14   Appointment Timeliness Revisited


15   According to the Program Guide, at the EOP level of care, “A psychiatrist shall evaluate
16   each inmate patient at least monthly”.


17   It does not say “shall evaluate each patient monthly”, as it would have if monthly
18   appointments were all that were required. It says “shall evaluate” (are required to be
19   evaluated) “at least monthly”, which implies that some patients are required to be
20   evaluated more frequently than monthly      those patients who need that care.


21   Yet in its percent patient weeks compliant timeliness figures, CDCR doesn’t count a
22   psychiatry appointment as having been late (non compliant) unless it has occurred after

                                                                                                47
 1   the maximum interval, i.e., one month at the EOP level of care. This is the case even
 2   when a doctor has ordered that a patient be seen for a follow up seven days later but in
 3   fact the patient has not been seen until 30 days later if an EOP patient, or 90 days later if
4    a CCC patient.


 5   Therefore, all the percent patient weeks compliant numbers reported on the Dashboard
6    to our Coleman experts and CDCR leaders and clinicians and the court about timely
 7   appointments appear to be inaccurate in the 2017 staffing report (see 2017 03 30 “Timely
8    Psychiatry Contacts” column) and in the 2018 staffing report (see 2018 08 23
9    “Compliance”).


10   Suppose a patient is seen at the CCC level of care by a psychiatrist, and that the
11   psychiatrist orders a return visit in 30 days. Suppose that the patient is in fact seen 90
12   days after the initial appointment rather than in the 30 days ordered. That follow up
13   appointment is actually 60 days late. In its calculation of the average days overdue
14   figures, does CDCR count such an appointment as having occurred 60 days late, or does it
15   deem it not to be overdue at all? And overdue relative to what?


16   In its 2018 staffing report, CDCR claimed that appointments are an average of 2.6 days
17   overdue at the CCC level of care (see 2018 08 23). This figure is so much lower than I
18   would expect given my experience of CDCR, that it seems highly likely that CDCR is not
19   counting as overdue, appointments of the above sort, in which a CCC patient is seen even
20   60 days later than needed per the doctor’s order. CDCR has never allowed psychiatric
21   physicians to analyze the data to be sure, but I am confident that this is the case. ix


22   When CDCR calculates its timely measure, “percent patient weeks compliant”, it does
23   not take into account when the physician ordered the patient to be seen in determining
24   whether the appointment was late, as long as the patient was seen within the maximum
25   Program Guide interval. Given that CDCR ignored what the doctors ordered in
                                                                                                  48
 1   calculating their percent patient weeks compliant figure, it seems very likely that in their
 2   calculation of how many days overdue appointments were, they were ignoring doctors’
 3   orders with respect to when patients needed to be seen. The 2.6 days figure reported by
4    CDCR to the court is thus very likely falsely low. (see 2018 08 23)


 5   Suppose a psychiatrist orders that a CCC patient be seen for a follow up appointment 30
6    days later, and that that patient is indeed seen 30 days later as ordered by the doctor. Is
 7   such a follow up appointment occurring as scheduled on time, as any medical doctor
8    would argue, or can it be considered to have occurred early?


9    To arrive at such a low figure as 2.6 days overdue, CDCR must be counting as early,
10   appointments occurring earlier than at the court ordered maximum interval, including
11   those that occur sooner than the maximum interval because the doctor has ordered that
12   the follow up appointment occur earlier, i.e., because the patient needs to be seen sooner.
13   CDCR is probably also counting as early, appointments that actually occur late relative to
14   the doctor’s medical order, if the follow up appointment occurs sooner than the court
15   ordered maximum interval.


16   This 2.6 days figure was presumably obtained by counting as late only appointments
17   occurring after the maximum court ordered interval, and counting as early all
18   appointments occurring before the maximum interval irrespective of when the doctor
19   ordered a follow up appointment to occur, and averaging out the figures. In reality, many
20   appointments are late, and many are very late indeed, and this 2.6 days figure seems to be
21   hiding that fact.


22   CDCR has argued that since psychiatrists are seeing their patients in a “timely” way, this
23   demonstrates that the number of psychiatrists is sufficient given CDCR’s organizational
24   capacity to use a given number of psychiatrists. But in its calculations of late
25   appointments CDCR has not been counting as late many appointments occurring later
                                                                                                   49
 1   than the doctor had ordered, and nor has it been counting as late appointments occurring
 2   after what is in some cases a very long time indeed, in cases in which the patient has been
 3   transferred from one institution to another multiple times. So in fact there may be too
4    few psychiatrists given CDCR’s current often inefficient use of the psychiatrists they have.


 5   One can see in a simple calculation how CDCR could be counting late appointments as
6    late, even if using the exact CDCR “percent patient weeks compliant” model that our
 7   psychology quality managers claim we should use. So even though the psychiatry team
8    thinks that we should (at least also) know the percentage of appointments that are seen
9    on time (though we will never be permitted to have that information unless outside
10   forces demand it), it is possible to use the CDCR method (which makes things appear
11   better) to get some information.


12   Suppose that a patient is seen at the CCC level of care and the psychiatrist orders the
13   patient to be seen four weeks later, but the patient is instead seen 11 weeks later. If CDCR
14   used the percent patient weeks compliant measure straightforwardly, they would report
15   such a patient appointment as being 4/11 weeks compliant or 36% weeks compliant,
16   because there were 11 weeks, and the first four weeks are compliant because the doctor
17   hasn’t ordered the patient to be seen until 4 weeks later. So it is completely
18   mathematically possible, even using CDCR’s percent patient weeks compliant
19   methodology, to take some of these lateness issues into account. It can be
20   straightforwardly done, as shown in this paragraph. But CDCR does not report such cases
21   as being late at all. The only appointments CDCR deems non compliant are those
22   occurring after the court ordered maximum intervals.


23   The failure to report this is therefore not due to CDCR’s different way of calculating
24   lateness: they are just not applying the formula when patients are in fact seen late, in a
25   calculation of whether patients are seen late.


                                                                                                  50
 1   Even though the measure can be used to measure lateness, as demonstrated above, one
 2   has to be careful with its use. This CDCR methodology is biased, and it is very easy for the
 3   reader to misinterpret what is being reported.


4    To see why the CDCR measure of “percent patient weeks compliant” can give the
 5   uninformed reader the wrong idea, consider Dr.                analysis of the differences
6    between percent on time appointments (which most people understand and the
 7   psychiatry team wants) and “percent patient weeks compliant” appointments (the CDCR
8    measure). Note also that percent on time appointments will always give an equal or
9    lesser value than “percent patient weeks compliant”. Dr.            writes:


10   “An Enhanced Outpatient Program (EOP) patient had a psychiatry appointment on
11   Monday 8/13/18, and their next appointment wasn’t until Friday 9/21/18. They were due to
12   be seen by 9/12/18 (per Program Guide rules) so are 9 days late, but due to compliance
13   being measured by weeks, there are four weeks of compliance and one week of non
14   compliance, which is then reported as 80% compliant. If you have 100 patients, 50 of
15   whom are seen on time, and 50 of whom are seen late by one week, the reported Timely
16   Psychiatry Contacts compliance rate will be 90%. It would be very easy to think that the
17   90% compliance rate meant that 90% of the patients were seen on time, when in actuality
18   only 50% were.” (see Appendix 1)


19   Given the example above, one can see why the mental health leadership (without external
20   pressure) will never allow calculations so we can see whether or when are patients are
21   being seen on time. The number could just be too low. Although our psychiatry team has
22   written a program elsewhere that would allow this analysis of our data, the
23            has not allowed us to use it. If it were known that in many places 25% of our
24   patients were being seen on time, that would get executive level attention to fix the
25   problem (like SAC in which 22% of patients were seen as scheduled).


                                                                                                 51
 1   So whether one is seeing a patient on time or not has little to nothing to do with CDCR’s
 2   lateness measure called “percent patient weeks compliant”.


 3   Taking Dr.             example even further, CDCR could report that psychiatrists are
4    being 90% “timely” with respect to psychiatric appointments (actually 90 percent patient
 5   weeks compliant) and virtually never see a single patient on time. In fact, it is
6    mathematically possible for the report to say that appointments were “90% timely”
 7   despite not a single appointment having occurred on time. And given that we are
8    reporting considerably lower than 90% “timely”, in EOP patients being seen “timely”, and
9    particularly given the biases in those very reports that I have previously mentioned, the
10   percentage of patients seen on time (rather than CDCR’s “timely”) could be very low
11   indeed.


12   Doctors will slowly increase medications in a particular time dependent way, while
13   monitoring results during pre determined time intervals. One can see, for example, that if
14   a psychiatrist sees patients to monitor medication titration on a prison ward in a “90%
15   weeks compliant” way, but only sees patients on time 15% of the time, that could, on
16   average, expose those patients to far more risk than if the patients are seen in a “90%
17   weeks compliant” way, and are seen on time 85% of the time.


18   Both of these are completely possible in our system. And our psychology quality
19   management team and the                        won’t let the psychiatry leadership team
20   (and apparently won’t calculate themselves) which (if either) scenario applies in our
21   system. Our                    disparaged our desire to check whether patients are being
22   seen late as “trying to parse the data”. (see page 3 of 2018 05 23 2115hrs) The problem is
23   that this refusal to determine actual lateness and this refusal to allow us to look at this
24   issue adversely affects our ability to solve problems and improve patient care.




                                                                                                   52
 1   In the 2018 staffing report, it appears that CDCR didn’t even attempt to report on whether
 2   EOP appointments were seen using CDCR’s “timely” measure. Instead, there is just a
 3   report of frequency of appointments, which might appear to give a sense that CDCR is
4    reporting about EOP timeliness, but (see below) they are not (see 2018 09 01 0900hrs).
 5   The report implicitly appears to be claiming that only 6915 EOP appointments per month
6    were needed in order for CDCR to be compliant with the Program Guide. And the claim
 7   seems to be that 6501 contacts were occurring per 30 days (of the 6915 EOP appointments
8    that are alleged to have been needed? It is not defined). Using these figures CDCR reports
9    a ratio of (6510/6915) and a .94 “rate”. I assume this means a “rate of compliance” with
10   (needed?) appointments, rather than a rate of time, but this is not defined.


11   Imagine for a moment that these figures are true. Indeed, imagine that CDCR is doing
12   even better than that. So perhaps 6915 EOP psychiatry appointments per month actually
13   occurred (an average of one every 30 days) out of 6915 appointments that were supposed
14   to have occurred.


15   According to the figure CDCR reported, 6915 appointments were needed. Hypothetically
16   assume that 6915 appointments occurred, rather than the reported 6501 appointments.
17   CDCR would then have reported a “rate” of 100%. But note that such a seemingly perfect
18   figure would also be perfectly consistent, mathematically, with 50% of the patients having
19   been seen within the 30 day maximum EOP interval and 50% of patients being seen after
20   the 30 day maximum EOP interval, since there is no obvious reason why the distribution
21   around a 30 day average period between actual appointments would not be about even.
22   And CDCR does not report whether patients are seen on time or late, and nor do they
23   even report patient percent weeks compliant in EOP, so one can’t check. So a seemingly
24   perfect figure would also be perfectly consistent with 50% of patients being seen late.


25   If the distribution is not even, more than 50% of patients could have been seen late for
26   appointments or fewer than 50% could be. So how does that demonstrate adequacy of the
                                                                                        53
 1   frequency of psychiatric appointments? It doesn’t. The point is that the report says
 2   nothing about that.


 3   Now consider the number of EOP appointments that actually happened. According to the
4    report, that was 6501 appointments. The number of appointments CDCR claimed were
 5   needed per month was 6915. But according to their report only 6501 appointments
6    actually occurred. If there are fewer appointments happening, then other things being
 7   equal it follows that more appointments are occurring later than needed. So if CDCR were
8    reporting that 6915/6915 appointments had occurred, and 50% were late, then given the
9    smaller ratio CDCR reported, of 6501/6915, an even larger percentage than 50% of
10   appointments could have been late.


11   The numerator in the EOP report is that 6501 patients were seen on average per month by
12   psychiatrists. The denominator (6915) is defined as the EOP mainline population, but
13   then CDCR makes the inference (without specifying that they do) that each of those EOP
14   patients need to be seen just once a month. That would give a required number of
15   appointments per month as 6915. But in reality, many patients need to be seen earlier
16   than one month later, as the Program Guide clearly suggests, given the “at least” wording.
17   So that 6915 figure is too low. And in fact psychiatrists have often scheduled EOP patients
18   to be seen sooner than one month later.


19   Moreover, the 6501 figure is too high. CDCR was counting as fully compliant
20   appointments that we now are calling mere wellness checks. A wellness check could be,
21   for example, a three minute encounter in the prison yard surrounded by other inmates.
22   Or it could be a telepsychiatrist’s MA using a laptop camera and microphone, and
23   attempting to communicate with a patient who is in the cell behind the solid metal cell
24   door, to ask a patient to come to the next appointment. And there are worse cell side
25   “appointments” in which it is just about impossible to communicate with the patient.
26   Those are not proper psychiatric medical appointments either. (see 2018 07 12 1442hrs)
                                                                                               54
 1   If 6501 is too high, and 6915 is too low, the ratio (6501/6915 = 0.94), which is supposed to
 2   be the rate of required compliance with appointments, is too high.


 3   Suppose 20% of appointments were non confidential or otherwise inappropriate and
4    should be counted as “wellness checks”, not psychiatric medical appointments. Then only
 5   5201 compliant appointments occurred (0.8x6501). (see 2018 07 12 1442hrs)


6    The Program Guide says that EOP patients should be seen at least once per month.
 7   Suppose that on average, EOP patients actually need to be seen by a psychiatrist five
8    times in four months, rather than just once a month (5/4=1.25). Then there should have
9    been 1.25 x6915 appointments, which is 8644 appointments.x The maximum possible ratio
10   given these generous assumptions, is 5201/8644, which is 60%. That is to say, even using
11   these generous assumptions, only 60% of required EOP appointments in fact occurred (as
12   opposed to the reported 94%). And that says nothing about whether or not any of those
13   appointments were on time.


14   Whether, as I generously assumed above, only 20% of the appointments were in fact cell
15   side “wellness checks”, or 30%, or some other figure, that figure is not accurately recorded
16   or reported, as I will show later.


17   In the 2018 report to the court, no EOP timeliness figures were recorded. We know that
18   there are significant problems in terms of appointments occurring (or not) as scheduled.
19   We know that there are significant problems in terms of appointments occurring as
20   frequently as needed, and we know that many appointments are not happening in
21   confidential offices. We also know that the “timely” percent patient weeks compliant
22   figures are biased and inaccurate. Thus, CDCR has failed to provide to the court the
23   requisite information and the accurate figures needed for the court to be making an
24   assessment of the adequacy of psychiatric staffing.


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 1   Rates of suicide and 30 day readmission rates are reportedly high in CDCR. If patients are
 2   not being seen when they need to be seen, that might well be a good explanation for
 3   these elevated rates.


4    Note that the official Dashboard definition of “Timely Psychiatry Contacts” is “Number of
 5   patient weeks included in denominator during which the patient was up to date on their
6    required Psychiatry contact. Contact requirements delineated in the Compliance Rules
 7   grid.” (see 2018 07 27 0926hrs)


8    But what is the meaning of required? As our quality management psychologists define it, a
9    required appointment has nothing to do with when the physician orders an appointment
10   to occur. Our psychologists are measuring business requirements, not clinical or Program
11   Guide requirements. So in its reports to psychiatrists and the court, CDCR’s quality
12   management psychologists are not even measuring “percent patient weeks compliant”
13   with required psychiatry appointments, let alone whether these appointments are on
14   time. Instead our psychologists are actually measuring percent weeks compliance with
15   maximum court defined intervals, regardless of when physicians order patients to be
16   seen. (see 2018 07 27 0926hrs)


17   Finally, whatever “timeliness” is said to have been created by the line staff psychiatrists in
18   seeing patients, it was actually created by the line staff psychiatrists plus the psychiatrist
19   supervisors. Due to staffing shortages and/or inefficient organization and utilization of
20   psychiatry resources, 60% of supervisors in our system often see patients alongside line
21   staff. So to maintain the current timeliness of psychiatric appointments, everything else
22   being equal, a higher number of line staff psychiatrists would be required than has been
23   reported to the court as being needed.


24   Were CDCR to use psychiatrists efficiently by using a clinic model in which each
25   psychiatrist stays seated in an office and patients are brought to their appointments one
                                                                                              56
 1   by one and on time, fewer psychiatrists would be needed than is the case in the current
 2   very inefficient system in which many psychiatrists have to waste a lot of time trying to
 3   find their patients.


4    A relative lack of patient access to care due to structural barriers to getting patients to
 5   appointments (patients not seen as scheduled) creates a need for more physicians to try
6    to see the same patients, because they must try at odd hours, on multiple occasions, and
 7   see patients in unusual and inefficient clinical situations. Given the scheduling numbers
8    seen so far, there is no reason to think that any of this is well organized in CDCR.


9    In addition to the biases previously mentioned, including:


10      1. resetting the clock when patients transfer institutions to allow up to doubling of
11          Program Guide timeframes,
12      2. arbitrarily increasing EOP timeframes from one month to 1.5 months in 2017 (even
13          with no patient transfers),
14      3. not counting appointments scheduled more frequently than minimum Program
15          Guide Timelines (as appointments that could and frequently were missed and
16          late),
17      4. counting what were actually mere wellness checks (e.g., cell side appointments
18          and cell side telepsychiatry appointments) as full appointments,


19   here are two additional sources of bias:


20      1. Calling some mere wellness checks compliant appointments causes appointments
21          following those wellness checks to be mistakenly deemed to have been on time.
22      2. Were the psychiatric work not being done by supervisors as well as line staff, more
23          of the appointments would be late.

                                                                                                   57
 1   Medications Not Taken and Follow-up Appointments


 2   If a patient misses three days in a row of medication or if in a week the patient is 50%
 3   non compliant with medications, or misses one dose of a critical medication, the
4    psychiatrist is supposed to schedule the patient to be seen for an appointment to review
 5   medication or there needs to be some type of triage system in place to make sure those
6    who need an appointment have one, and at least some documentation of why those who
 7   don’t need an appointment don’t need one. Patients who are medication non compliant
8    (not taking medications as prescribed) are flagged in “Huddle Reports”.


9    Suppose there are 100 patients in a month who have missed their medications as defined
10   above. Now suppose that the psychiatrists schedule just ten of those 100 patients to be
11   seen, and further, that they only see nine of the ten appointments scheduled in that
12   month. One of the scheduled appointments does not occur for some reason.


13   What percentage of the patients who needed to be seen in consultation for medication
14   compliance were seen?


15   The straightforward answer is that 9/100 patients were seen and the organization is 9%
16   compliant with getting patients seen who missed their medications, unless there was
17   some reasonable explanation for why the other 91 patients did not need to be seen despite
18   being medication non compliant. But would the CDCR Dashboard have reported that 9%
19   of medication non compliant patients were seen? No. In this situation, it would have
20   reported that psychiatrists were a remarkable 90% (not 9%) compliant with seeing
21   patients who needed to be seen for medication non compliance.


22   In CDCR reports, only those mental health patients who are scheduled to be seen are
23   counted as needing to be seen. In this hypothetical example, ten patients were scheduled

                                                                                                58
 1   to be seen and nine were seen. When we queried this issue, the QM leaders said that the
 2   problem is with psychiatrists failing to schedule appointments for all the patients who
 3   need to be seen for medication non compliance, and that were they doing so, all would
4    be well.


 5   CDCR’s logic is something like: if a medication non compliant patient isn’t scheduled,
6    that patient isn’t medication non compliant, or something like that. Actually, it’s a bit
 7   worse than that. Please see 2018 08 31 0242hrs for a precise recounting of how CDCR
8    reported 100% compliance with seeing patients at CHCF who needed to be seen given
9    medication refusals, when in reality the compliance was 3.6%. (see page 6 of 2018 08 31
10   0242hrs).


11   Basically, the computer algorithm that does this calculation

12      1. counts appointments not scheduled as not being needed
13      2. counts refused appointments as completed appointments
14      3. double counts appointments that occurred


15   Apparently, there were 17 scheduled appointments, yet hundreds of patients needed some
16   type of appointment or there needed to be documentation of why the patient did not
17   need an appointment. So even assuming, totally unrealistically, that patients who were
18   not scheduled to see a psychiatrist were not medication non compliant, there still should
19   have been 17 appointments occurring as scheduled. Only 8 of those 17 occurred, so CDCR
20   should have reported that 8/17 (less than 50%) had compliant appointments, even if you
21   eliminate the hundreds of other appointments actually needed for medication non
22   compliance. But that didn’t happen either.


23   They reduced the 17 scheduled appointments (using a computer algorithm) down to 12,
24   and increased the eight appointments that were actually seen, up to 12. One patient was

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 1   listed as needing to be seen but wasn’t seen. His appointment was cancelled and there
 2   was no note. So that leaves 16. Six more were cancelled, which somehow also made it so
 3   they were no longer considered medication non compliant, so that reduced the reported
4    number of medication non compliant patients to ten.


 5   One of the cancelled appointments was added back as a patient who needed to be seen,
6    so that made it 11. One appointment was counted twice, so now there were 12
 7   appointments, while eight occurred.


8    Of those 12 appointments, two patients refused. They were counted as having been seen.
9    So instead of 8/12 patients having been seen, 10/12 patients were counted as having been
10   seen. Then one of the eight completed appointments was counted twice, so 11/12 patients
11   were counted as having been seen. Then one was counted as completed but was cancelled
12   and never seen. That added up to 12/12 patients having been seen.


13   So finally, though there were hundreds and hundreds of medication non compliant
14   patients, eight were seen, 12 were counted as having been seen, 12 were counted as having
15   needed to be seen, and the psychiatrists were then said to have been 100% compliant,
16   though actually they were less than 4% compliant. (see 2018 08 31 0242hrs)


17   An accurate report about this would give one real information. One might then conclude
18   that a complex triage system is needed to get the patients who need to be seen most,
19   seen. I don’t think it is reasonable for our psychiatrists to be seeing hundreds of extra
20   appointments per month given their staffing. The problem is that psychiatrists don’t have
21   enough hours in the day to get all the non compliant patients evaluated. How many of
22   these patients ended up in crisis beds, or suicidal, or violent, we will never know. No
23   doubt many of the patients could not have been seen given the psychiatric staffing that
24   we have. But that does not justify reporting less than 4% compliance as 100% compliance.


                                                                                                 60
 1   That argues for better triage systems, perhaps utilizing nursing staff and other
 2   professional assistance.


 3   Apropos of this type of situation, our Statewide                       , Dr.              ,
4    quipped, “Why are we treating the scheduling rather than the patients?”


 5   What’s particularly odd about the way these calculations are done is that the more errors
6    that are made, the higher the compliance appears. The lower the proportion of patients
 7   needing to be seen who are scheduled to be seen, the more compliant CDCR appears to
8    be per the reports, because it’s easier to see fewer patients, and only those who are
9    scheduled count as needing to be seen. So the more the errors made by not scheduling
10   appointments, the easier it is to be “compliant”, with less work needed. In addition,
11   Quality Management appear to deem refusals not to be a problem either: indeed, a refusal
12   not only eliminates the patient as needing to be seen, but credits the institution with
13   getting the patient seen. Compliance falsely appears higher if the institution manages to
14   have the patients refuse.


15   Dr.           wrote:


16   “These appointments are only measured if the physician puts in a scheduling order for a
17   medication non compliance appointment. The appointments that are ordered are far
18   more likely to be completed. To accurately capture the percentage of medication non
19   compliant appointments that are occurring when they should, the denominator needs to
20   be the number of patients who are flagged as medication non compliant, and the
21   numerator needs to be the number of medication non compliant patients who are seen
22   within the specified Program Guide timeframe.” (see 2018 09 19 report)




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 1   Critically, note from the CHCF report, that whether patients are seen when medication
 2   non compliant, is part of the overall measure of whether all needed psychiatry
 3   consultations are occurring. CDCR reported that 96% of all consultations occurred as
4    needed at CHCF. But because medication non compliance is part of that report and was
 5   reported as being 100% compliant rather than 3.6% compliant, the overall figure of 96% is
6    too high. Indeed, Dr.           calculated that a more accurate (if still too optimistic)
 7   statement would be that 55% of psychiatric referral appointments occurred as needed.
8    (see page 6 of 2018 08 31 0242hrs)


9    Refused and Cancelled Appointments


10   Treatment Cancelled


11   Dr.           says, “Instead of giving a straightforward percentage of the treatment that is
12   cancelled (e.g. if there are 100 appointments and 30 were cancelled, this indicator would
13   show 30%). The numerator is defined as “Number of patient weeks included in
14   denominator during which the following number of hours of treatment were cancelled:
15   More than 3 for ASU EOP Hub, PSU EOP, and ML EOP; More than 1.5 for RC EOP and
16   ASU EOP non Hub; More than 1.0 for SRH/LRH CCCMS.” (see page 3 of 2018 08 15
17   1352hrs)


18   The reader could give us any number he or she wanted between say 1% and 50% and we
19   could subtly change numbers like “3”, “1.5”, and “1” to get that precise number as the
20   percentage of cancellations recorded. Therefore, as an absolute value, the reported
21   number 19% in this context is meaningless. Arbitrary numbers like “3”, “1.5”, and “1”, with
22   arbitrary assignments to levels of care, could be changed to cause the “number of patient
23   weeks included in [the] denominator” to cause any overall percentage desired.



                                                                                                 62
 1   Measurements that are arbitrary are not useful because the definition can be changed to
 2   create any value at all. We know from the scheduled appointments calculations that an
 3   extremely high percentage of appointments are cancelled and refused. What CDCR
4    should report is what proportion of 100 appointments were cancelled or refused or both.


 5   Treatment Refused


6    If there are 100 appointments and 40 are refused, then 40% are refused. Instead, CDCR
 7   created a whole new definition (see below) that seems entirely unrelated to the (also
8    arbitrary) definition of percent treatment cancelled report above, to get the value
9    recorded to be 24%. (see page 3 of 2018 08 15 1352hrs)


10   The numerator is defined as:


11   “Number of patient weeks included in denominator during which over 50% of all offered
12   treatment was refused AND less than the following hours of treatment were attended:
13   less than 5 for ASU EOP Hub, PSU EOP, and ML EOP; less than 2.5 for RC EOP and ASU
14   EOP non hub; less than 1.0 for STRH CCCMS and LTRH CCCMS.”


15   Why 50%? Why less than 5? Why less than 2.5? Why less than 1.0? Those are arbitrary
16   numbers chosen to get a particular result in terms of figures. Mathematically, if we varied
17   those numbers, the reported percentage of appointments refused would be totally
18   different. We know that huge percentages of the patients are said to refuse. It would be
19   useful to know that, and it would be useful to know where it happens, etc. But this
20   information is obscured using these arbitrary definitions and formulas.




                                                                                                63
 1   Expert Psychiatrists


 2   When CDCR hired outside expert psychiatrists to take a view about CDCR staffing levels,
 3   the CDCR mental health leadership did not schedule the outside expert psychiatrists to
4    speak with the psychiatric leadership of CDCR about staffing. Had the outside expert
 5   psychiatrists spoken to us, we could have told them some of the information in this
6    report, and their conclusions and recommendations would have presumably been very
 7   different.


8    Confidential Spaces


9    Patient care is highly unlikely to be good in a given system without certain absolutely
10   basic necessities. One of those is, as we’ve seen, whether appointments are occurring
11   when the patients need to be seen, which can be measured by looking at whether
12   appointments are occurring on time relative to doctors’ orders with respect to when
13   patients should be seen next.


14   Another basic necessity for good patient care is whether psychiatry appointments are
15   occurring in appropriate, confidential spaces, i.e., in a private room. That too would be
16   easy to measure. Did a given appointment occur in an office, confidentially, or not?


17   There are other critical issues for patient care that are less easy to measure, but those two
18   absolutely basic things could easily be measured accurately, and yet CDCR hasn’t
19   provided even its psychiatry leadership with this vital information.


20   If we were accurately measuring whether psychiatry appointments are occurring in
21   confidential settings, like a clinic office, and particularly if we could see what was



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 1   happening ward by ward in the whole system, this would immediately highlight one of
 2   the major barriers to good patient care there is in CDCR.


 3   Not only should we be measuring and reporting each of those two things independently,
4    we should also be measuring and reporting, ward by ward, the proportion of
 5   appointments occurring both on time as above AND in a confidential office. That
6    information is critical for improving patient care in the CDCR system.


 7   This information would also enable CDCR to see where expensive psychiatry resources
8    are not being used efficiently in the system. In a system like CDCR, psychiatric
9    productivity is lower than it would be were the psychiatrists staying seated in clinic
10   offices seeing patients one after another rather than having to waste time trying to find
11   their patients. So in CDCR, more psychiatrists are needed per population than would be
12   needed were the system less inefficiently organized.


13   In many CDCR institutions, patients having an appointment with their psychiatrist are
14   often not brought to see their psychiatrist. The psychiatrist then has to go looking for the
15   patient, and usually ends up seeing the patient cell side or having a two minute
16   conversation on the yard. (See 2018 07 12 1442hrs, middle of the page starting, “My visit at
17   SAC was interesting.” Also see previous report about SAC: 2017 12 06 1748hrs.)


18   Cell side visits often mean talking to patients through a slit in a pretty much solid metal
19   cell door that usually has a tiny window (which really can’t be used when speaking to the
20   patient because of the location of the doctor’s head when speaking through the slit). And
21   sometimes the doctor has to speak very loudly to be heard, due to extremely noisy
22   conditions. Several other patients and custodial officers can then hear what is supposed
23   to be a confidential conversation. And the cellmate who is usually also in the cell can
24   completely hear the conversation. In the SAC EOP “segregation” unit the air conditioner
25   and TV blare, so the psychiatrist sometimes needs to yell to be heard. This prevents
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 1   honest and open communication about patients’ psychological states, prevents
 2   neurological exams, and prevents building effective relationships with patients.


 3   The CDCR electronic health record system has a number of significant design flaws that
4    could be corrected were there the will to do so. One of those flaws is that the system
 5   defaults to categorizing the appointment type as being “confidential”. It takes extra time
6    and several extra keystrokes to record that a given appointment did not in fact occur in a
 7   confidential space, and many psychiatrists don’t even know how to record that an
8    appointment did not occur in a confidential space.


9    For example, at the CCWF crisis bed facility, 100% of psychiatric appointments in May
10   2018 were recorded in the EHRS as having occurred in confidential spaces, yet according
11   to the psychiatrists on the ground, actually not a single one (except when Coleman
12   monitors were present) occurred in a confidential space. (see page 5 of 2018 08 01)


13   When I visited CCWF, the physicians and the nurse practitioner were unaware that it is
14   even possible to report the appointment type as “non confidential”. Indeed, in my recent
15   tour to SAC, CHCF, Mule Creek, Valley State Prison, and CCWF, there was at least one
16   psychiatrist (and sometimes many) at each institution who didn’t know how to record the
17   appointment as having been non confidential. (When I visited SATF and Corcoran, all the
18   psychiatrists I asked did seem to know how to record visits as having occurred in non
19   confidential spaces.)


20   Designing a system in such a way that lack of knowledge and random errors (such as
21   failing to take the extra time and keystrokes needed to record a visit as non confidential)
22   create a biased, inaccurate picture of what is actually happening, is clearly a mistake. It
23   would be very easy to remove this bias by having the system not default to one or the
24   other type but instead have the doctor simply specify which type it was as an
25   electronically required step in the recording of an appointment.
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 1   This is similar to the situation described in the scheduling section, in which the error of
 2   failing to schedule consults creates the semblance of greater compliance with respect to
 3   patients needing to be seen. The bigger the error in not scheduling patients for
4    medication non compliance or the bigger the error in forgetting to record visits as non
 5   confidential, the greater the reported but not actual     compliance. And it is not even
6    really psychiatrists simply forgetting: when people are in a rush, the need for extra
 7   keystrokes makes accurate recording less likely. If you make it harder to record a bad
8    thing that actually happens, but easy to report a good thing, more good things will be
9    reported. It may be tempting to call this biased measuring and reporting of compliance a
10   mere training issue. But it is actually an EHRS QM system design issue.


11   It is difficult to get access to the information about whether the EHRS is recording visits
12   as occurring non confidentially. Our HQ psychiatry team recently figured out how to
13   obtain this information, but virtually no psychiatrists in the field or Chief Psychiatrists
14   knew how to when we asked them. To figure out whether the visits were confidential in a
15   given prison’s segregation unit, for example, we had to painstakingly find and download
16   data for the institution to an Excel Spreadsheet and then perform a calculation on the
17   correct columns.


18   A simple Dashboard measurement in the quality management portal could
19   straightforwardly be programmed to report this EHRS measure.


20   In the CCWF crisis bed facility, women are double celled in four of the beds, but single
21   celled in four other beds. The psychiatrists and clinicians told us that when the Coleman
22   monitors come, the women who are double celled are individually escorted out into a
23   private space to make sure that their reviewers know that the patient would be seen in a
24   confidential space were the resources available. They also said that if they knew how to
25   record that they were not seeing the patient confidentially most of the time, they would
26   do so truthfully and honestly.
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 1   Nowhere in the institution, even in less critical patient care areas, were they recording
 2   any patient visits as having been non confidential, including in the segregation unit in
 3   which they told us that only 20% of the visits were confidential.


4    They said that they cannot normally pull the women from even the double cells, as they
 5   lack the custodial resources and offices to do this. They said these women who are
6    double celled are never seen confidentially unless Coleman reviewers are there.


 7   In the CHCF crisis bed unit (see report 2018 07 17 1722hrs), it is even worse than in the
8    CCWF crisis bed unit. Essentially not a single follow up appointment is in a confidential
9    space. At CCWF during morning rounds, the cell door is opened so the patient can be
10   seen and examined with custody present to ensure safety.


11   The issue is not just whether an appointment is confidential or not. Another issue is
12   whether or not the doctor can physically see the patient or not. At the CCWF crisis bed
13   facility, the psychiatrist walks into the cell so can see the patient and do a neurological
14   exam, but the appointments are not confidential. But at the CHCF crisis bed facility, the
15   appointments are neither confidential nor can the doctor even see the patient, so can’t do
16   a neurological exam, can’t see the patient’s facial expressions, can’t see the patient’s
17   reactions to what the psychiatrist is saying, etc.


18   That the cell door is open at CCWF with appropriate custodial observation is hugely
19   clinically beneficial at CCWF and really seems to help them provide good care, because
20   patients can be briefly examined, their facial expressions can be immediately seen, and
21   patients are interviewed with the team able to clearly hear the patient. But at CHCF, the
22   door is not opened for the psychiatrists to see the patients. So 100% of the follow up visits
23   occur by communicating non confidentially through a slit in a closed cell door, the
24   doctor being unable to see the patient while talking (because to be heard the doctor has


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 1   to communicate through the crack in the door, whereas to see the patient the doctor
 2   needs to look through the window, and it is not possible to do both simultaneously).


 3   This dearth of custodial resources and offices for any follow up appointments has been
4    that way for years and when I myself briefly worked at CHCF nearly five years ago, I
 5   encountered the same situation. Furthermore, the recreation therapists and psychologists
6    compete with the psychiatrists for common office space. Custody said that it allocates the
 7   rooms on a first come first serve basis and that they give priority only to the initial
8    psychiatric visit, and essentially never for follow up appointments. Yet the CDCR QM
9    team designed the electronic system to categorize appointments as confidential by
10   default, and not to record the environment in which the care occurredxi. That information
11   is vital for creating an efficient, well organized system with good patient care.


12   The psychiatrists in the CHCF crisis bed unit do know how to record that a visit was non
13   confidential, and they told us that 100% of their visits are non confidential. Yet instead of
14   showing 0% of follow up routine appointments there as having been non confidential,
15   the QM electronic system nevertheless reported that 31% of them were confidential. This
16   inaccurately high compliance figure of 31% appears to have been caused by error
17   psychiatrists in a hurry failing to take the time to record visits as having been non
18   confidential. (see page 10 of 2018 08 01)


19   That is an example of how, in the CDCR system in several respects, more error creates the
20   false impression of more compliance. The more errors the psychiatrist makes, in not
21   doing the extra work needed to record patients as being seen in non confidential spaces,
22   or in failing to schedule patients to be seen for medication non compliance, the higher
23   the compliance appears to be, contrary to the reality. xii


24   Thus, the numbers reported by Quality Management about whether appointments were
25   timely, whether they occurred as scheduled, whether psychiatric consultations were being
                                                                                           69
 1   made appropriately, or whether appointments were confidential, are inaccurate and can’t
 2   be replied upon.


 3   To find out what was really going on, we HQ psychiatrists had to physically go to the
4    institutions, each of us following a different psychiatrist around for a whole work day to
 5   see what was actually happening on the ground, in addition to talking to others there. We
6    have also tracked individual patients, and done other painstaking work to try to get the
 7   information we need in order to improve the CDCR mental health system.


8    On a practical level, the psychiatrists at CHCF say that even if the office space were
9    plentiful at the crisis bed unit which it is not at all   there would be nowhere near
10   enough custodial staff to physically bring patients to confidential office spaces given all
11   the disciplines competing to see patients at the same time. So CHCF psychiatrists,
12   essentially 100% of the time, have their crisis bed (non initial) appointments with patients
13   in a non confidential space, talking through a slit in the door and not really being able to
14   see the patient. These are not adequate medical appointments. (see 2018 07 17 1722hrs)


15   The Importance of Recording the Environment of Care For Each Appointment


16   If a given patient is using illicit drugs, what is the chance that, when asked by the
17   psychiatrist whether he or she is using illicit drugs, the patient is going to answer
18   truthfully, if custody is present? Currently, unless the physician states in the note the
19   environmental context in which the appointment occurred, those reviewing the chart
20   can’t tell. That means that transmission of such important medical information doesn’t
21   happen.


22   The recording of the environment of care is of critical importance, as we, the HQ
23   psychiatry team, have long argued. Our request that the system be made to require a

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 1   physician to select whether the appointment was behind a cell door, outside in a yard,
 2   confidential, and other key variables, was denied: the psychiatry medical work flow is in
 3   CDCR designed by non medically trained psychologists. So the environment in which
4    care is occurring is very difficult to discern unless one physically goes to the institution
 5   and follows individual psychiatrists, as we did.


6    Psychiatry Medical Opinion Ignored in the Design of EHRS QM


 7   When the EHRS system was being designed, we made many requests that were simply
8    ignored or overridden by those in charge. And now our psychology executive and
9              have added a new committee, called the Change Management Committee
10   (2018 07 12 1000hrs). This committee is yet another obstacle blocking our ability to get
11   needed changes made. (see also 2018 06 18 1359hrs.)


12   Our psychologists and our                      who vigorously supported the psychologists
13   in ignoring our many requests and objections with respect to the psychiatric workflow
14   they were designing, created a system that does not disambiguate names of the various
15   types of medical appointments, and have thereby denied our physicians and the court the
16   vital information needed for us to fix our CDCR mental health system.


17   It used to be that our psychiatric physicians could sometimes appeal to our general
18   medical and nursing colleagues on a committee called CLAC if overruled by the
19   psychology designers of the mental health and therefore psychiatric workflow using the
20   EHRS. (see 2018 07 02 1508hrs and 2017 05 11 1447hrs)xiii But now, with the advent of the
21   Change Management Committee, the psychologist run EHRS team (or those who direct
22   them) has clamped down further on our headquarters psychiatrists’ ability to appeal to
23   our general medical and nursing colleagues in CLAC to try to design appropriate medical
24   workflows for our psychiatrists. Only if this Change Management Committee were to


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 1   approve one of our proposals would we HQ psychiatrists be allowed to speak with our
 2   colleagues at CLAC to even propose it. (see 2018 06 18 1359hrs.)


 3   This new Change Management Committee is ruled by almost the same executive
4    psychology team who run the QM committee, and some of those who are on this
 5   committee report to the executive and Chief QM psychologists (2018 07 12 1000hrs). On
6    this committee there are 22 non medical personnel (including 12 psychologists) but just
 7   two psychiatrists. We are simply out voted. We have no hope that our requests for
8    example, that the EHRS require the recording of information about the environment of
9    care of each appointment will be met in the foreseeable future.


10   To improve care in our system the psychiatric medical team needs to know whether
11   patients are being seen on time, as scheduled, in confidential spaces, and whether they
12   are seen when there are consults, when they miss their medications, and if there is
13   appropriate blood monitoring.


14   CDCR’s reports (as mentioned above) tend to be very inaccurate except (now) the blood
15   monitoring. Our comments and requests about these overall processes have been
16   repeatedly ignored and rejected, and now the                       have given those who
17   designed this bad EHRS QM system even more control, in the form of the Change
18   Management Committee.


19   The psychiatry leadership team needs access to the database in order to determine more
20   efficiently what is actually happening, so that we can know how to target our work in
21   trying to fix the CDCR mental health system. Although the QM psychologists have done a
22   few database searches for us, the                  have denied us even read only access
23   to the database, asserting that psychiatrists “don’t do QM”. A psychiatrist who used to
24   work for the psychiatry leadership team was not allowed access to the databases until he
25   had left our team and was then later hired by the QM psychologists. Now he is sometimes
                                                                                          72
 1   permitted to do a search for us, but only with the permission of the psychologists who
 2   have created the data biases I am mentioning in this report. And that permission is
 3   generally not forthcoming in practice despite their saying that they will do the searches
4    we want.


 5   Our                    say that our leadership psychiatric team doesn’t need to be able to
6    query the database directly to answer medical questions about care. They say we can ask
 7   the psychiatrists working on the psychologist run team. However, the psychiatrists
8    working for the psychologists are either unable to run the queries we have asked for, or
9    they have been told not to run the database queries we have requested, for example to
10   find real information about whether patients are being seen on time, as scheduled, in
11   confidential spaces, whether they are taking their medications as they are supposed to, or
12   anything else of medical significance.


13   Note that none of the discoveries of grossly biased reporting about data, violations of
14   court mandates for timely care, etc., were discovered by the psychiatrists who report to
15   the psychologists. There is a reason for that, and it has to do with who is supervising the
16   medical queries that they are allowed to make.


17   As I’ve said, our medical opinion with respect to what medical data we need to collect and
18   access is simply ignored. (see 2018 08 23 1207hrsxiv, 2017 05 11 1447hrs, 2018 07 02
19   1508hrs) The question is, why don’t they welcome logical and sensible input from
20   experienced expert medical doctors with deep knowledge of how mental health systems
21   should be organized for good patient care, and about what needs to be measured to
22   maximize error correction and efficiency in the system?


23   Although our non medical executives will certainly publicly claim that they are
24   endeavoring to create good psychiatry workflows, their actions tell a different story. I
25   have seen no evidence that our                     have any intention of actually changing
                                                                                              73
 1   the status quo in which psychiatric input is rejected, and non medically trained
 2   psychologists have almost full control over the psychiatric workflows and the design of
 3   the EHRS for psychiatrists (unless they run afoul of nursing or medical or dental
4    workflows), and have the authority to decide what medical information we need.


 5   I have shown that the reports with respect to whether appointments have been seen on
6    time, whether consults are taking place, whether appointments are occurring as
 7   scheduled, etc., can’t be trusted.


8    The same should also be assumed to apply to whether CDCR will allow our psychiatric
9    physicians to create efficiencies for themselves in using the EHRS, or enable the EHRS to
10   capture information that is medically needed. Even if, for example, we want to search the
11   old patient information in the data warehouse to figure out what medications kept a
12   given patient out of the hospital and what did not, we are not permitted to do that, and
13   we can’t get that information at all unless the psychologists decide that we do need the
14   information and prioritize that query.


15   Unfortunately, despite my requests, the psychiatry leadership team has not been
16   permitted to search databases for the five years that I have been with CDCR; nor have we
17   had any significant influence with respect to the input of the information into the EHRS
18   that we need to medically evaluate the environment in which psychiatric care is
19   occurring.


20   The same individuals are creating the data analysis and running the EHRS design and
21   determining their own errors, and the                    have vigorously supported their
22   monopolizing of information, preventing medical analysis and scrutiny of critical
23   information. This has effectively prevented appropriate error correction in the CDCR
24   mental health system.


                                                                                                74
 1   As my colleague, Dr.         , the psychiatrist in CDCR who knows most about how the
 2   electronic health record is designed for psychiatrists, and most about the tactics of those
 3   psychologists who created our workflows, wrote:


4    “We have surveyed the psychiatrists and know how they want to work in the EHRS. It is
 5   not how they work currently. Given the continuing push for control [by psychologists and
6    administrators, MG], it would seem clear the intent is to engage psychiatrists when the
 7   court is looking, but otherwise disregard as has been the case for the last 2 decades. It has
8    been very unsatisfying for psychiatry at all levels.” (see pages 2 3 of 2018 07 02 1508hrs)


9    See also (2018 08 02 1232hrs) Dr.          description of a Change Management
10   Committee meeting in which those who vote about what our medical workflows will be
11   (many administrators) seem not even to know what they are voting about. They have no
12   medical background at all.


13   Visits to Troubled Institutions


14   Please see the reports on SAC and CHCF that our psychiatry team recently visited, and
15   the report from last year from the psychiatrists themselves at SAC, who were interviewed
16   by HQ psychiatrist Dr.            . (See 2018 07 12 1442hrs, middle of the page starting “My
17   visit at SAC was interesting”. Also see previous report about SAC: 2017 12 06 1748hrs; also
18   2017 11 21 1749hrs.)


19   Of interest, also see the report from SVSP where psychiatrists are essentially never able to
20   have confidential one to one (1:1) appointments. (see 2017 11 21 1749hrs). At SVSP,
21   psychiatrists have been allocated confidential office space for only three hours per week in
22   which to see all of their patients combined, for months at a time. Three hours in total, out
23   of a 40 hour work week.

                                                                                                   75
 1   In the schedule presented, the physician, Dr.         , asked for an additional hour and
 2   was given three hours, up one from the previous two. (see page 4 of 2017 11 21 1749hrs)


 3   To repeat, psychiatrists were allowed to see patients in a confidential setting for a total of
4    two to three hours in an entire week, rather than seeing patients for perhaps six to seven
 5   hours per day in a confidential setting, as some other psychiatrists can in CDCR (for
6    example at VSP), and which would be considered more normal.


 7   The                     of the SVSP PIP has more recently told me that psychiatrists may
8    now be able to see their patients in a confidential setting there for perhaps four hours per
9    week. The rest of the appointments have to be seen cell side at the SVSP psychiatric
10   inpatient program or patients need to be seen in treatment teams.


11   We have this information from SVSP despite not being allowed to electronically search
12   the database, create reports, or create EHRS non confidential note types to try to
13   understand these situations at SVSP and statewide. We have this information because we
14   were able to obtain a hard copy of the local patient schedule documenting how much
15   confidential office time the psychiatrist is given per week to see patients.


16   As can be seen on page 4 of 2017 11 21 1749hrs, custody and the schedulers granted
17   recreation therapists ten hours per week out of cell with patients per week, but the
18   psychiatrists were granted just three hours per week.


19   Although our senior executives and quality management psychologists have not allowed
20   us to directly access SAC EHRS information using queries to the database, or allowed us
21   to accurately get this information by designing the note types or workflow that would
22   capture the information, we can make some guesses by visiting the prison, watching what
23   happens, and talking to psychiatrists. Thus, we try to approximate what the data is.

                                                                                                 76
 1   For example, when we were last at SAC, three of 11 patients scheduled for one psychiatrist
 2   came in the morning (in the Ad Seg unit) and four of 16 came for (EOP) appointments for
 3   another psychiatrist and were thus seen in a confidential and almost appropriate space.
4    The space lacked computers so the psychiatrist could not get information about the
 5   patient while talking to him, which would be deemed serious anywhere else, but given
6    how serious the other issues are at SAC, like access to care issues, it is, relatively
 7   speaking, one of the more minor of the difficulties at SAC.


8    The psychiatrist’s account of his day with me is helpful too, as it factually details the
9    various barriers he, Dr.        , encountered (see 2018 07 18 R). If, as we estimate, overall,
10   CCC patients were seen as scheduled by mental health care providers only 22% of the
11   time (see pages 2 and 3 of 2018 08 22 0900hrs), rather than the 87% of the time reported,
12   that does not reflect well on the ability of the SAC MH program to organize care.


13   The psychiatrists at SAC know that custody will not, or will not be able to, bring patients
14   to scheduled appointments, so the psychiatrists request ahead of time that many patients
15   be brought (like 16 for a morning) in the hope that a few arrive. The psychiatrists
16   themselves guess that 75 80% of patients in Administrative Segregation are not initially
17   brought to clinics when the psychiatrists request that they come.


18   The reports from SAC (not SVSP), including what we ourselves saw when we visited,
19   allow us to estimate that custody does not bring more than 25% of patients to see
20   psychiatrists at the SAC EOP program. (Note: some patients do refuse, and custody can’t
21   force them to come, although see my suggestion.) (see page 4 of 2018 07 12 1442hrs)


22   After an unproductive morning in which three quarters of patients are not brought to
23   their appointments, SAC psychiatrists spend the afternoon trying to find their morning
24   patients who did not make it in the morning, with no custodial help for the psychiatrist
25   to find the patient.
                                                                                                 77
 1   The psychiatrist says he is getting better at guessing where on the prison yard he might
 2   find a given patient. It was about 100 degrees while we were out looking. The psychiatrists
 3   run into other patients who surround them on the yard or in the buildings connecting to
4    the yard and try to consult the psychiatrist there, but again, on the yard the doctor has no
 5   access to patients’ information or medical history, and some of the patients are not on the
6    doctor’s schedule for the day (so the doctor can’t be prepared for these events by reading
 7   a given patient’s electronic chart beforehand).


8    It would be easy enough for psychiatrists to pull patients from groups to get a few
9    moments with them in a confidential spacexv, but headquarters administrators and local
10   psychology leaders in general forbid this though we have seen some psychologists
11   willing to disobey HQ by allowing such psychiatric visits. (see 2017 11 21 1749hrs)


12   These doctor patient encounters in the yard were being counted as compliant psychiatric
13   appointments by our psychologists in charge of the QM program, or by those who
14   directed them to do so. Thus, misinformation has been given to psychiatrists at HQ and
15   all others who read these reports, including those who rely on these CDCR reports giving
16   the impression that patients are being appropriately cared for.


17   This type of situation is precisely why brief input of information (for example checkbox
18   input into a pop up window to allow the note to be finished) is critically needed to
19   understand the environmental context of appointments, rather than what happens in the
20   current system, which by default categorizes appointments as confidential and compliant.


21   Had the EHRS QM team met our request that the system record who was seen behind
22   closed and locked cell doors and in what other physical contexts, including appropriately
23   measuring the timing of care, the quality of care could be more objectively evaluated. But,



                                                                                                78
 1     1. by not allowing a distinction in the data reported using appropriate note types and
 2         not designing or allowing the psychiatry team to design specific recording of
 3         information about the environment of care,

4    and

 5     2. by biasing input of data by having non confidential appointments defaulting to
6          being categorized as being confidential,

 7   and

8      3. by eliminating patients who don’t come to scheduled appointments in a
9          calculation of the percentage of patients who come to scheduled appointments

10   and

11     4. by varying the compliance rules for on time appointments when patients transfer
12         institutions to prolong them and by not counting any physician’s scheduled
13         appointments (sooner than Program Guide max timelines) as late when they are
14         late

15   and

16     5. by not allowing easy access to data (biased or not) to distinguish between a
17         confidential and non confidential appointment,

18   and

19     6. by eliminating most of the patients who did not receive medication consultation
20         for medication non compliance from calculations of who received medication
21         consultation for non compliance

22   and

23     7. by not allowing the leadership of our psychiatrist physicians in CDCR to utilize
24         queries of the database to search for this critical medical information ourselves,


                                                                                                79
 1   the quality management and electronic health record psychologists and the senior mental
 2   health executives who have supported their decisions are painting a misleadingly positive
 3   picture of patient care, and deeming what is actually inadequate care and poor
4    organization of care to be good care, and so preventing appropriate remedial action to be
 5   taken to correct significant issues affecting patient care.


6    When I visited SAC recently with the headquarters psychiatrist, Dr.         , many of the
 7   patients in the cell block were standing virtually naked in their towels as the psychiatrist
8    tried to briefly interview patients in and around the administrative segregation unit. I
9    followed a psychiatrist wearing a stab vest out into the yard in 100 degree temperatures to
10   try to locate patients for about an hour, because he had told me he had begun to learn
11   where patients hang out in the yard so he could be able to see them. There were no
12   custodial officers assigned to help the psychiatrists find the patients.


13   Psychiatrists should not be wandering in 100 degree heat in a stab vest to find dangerous
14   patients on the yard, trying to guess where patients might be, to try to prevent psychiatric
15   morbidity, manic episodes, psychosis or often to prevent death in these patients.


16   Dr.       , who quit working there four years ago because patients (some level 4, our most
17   dangerous inmates) could not be seen in clinics, and because potentially dangerous
18   patients surrounded her on the yard, often with no custody in sight, commented,
19   “Nothing has changed in four years.”


20   The female psychiatrist at SAC has been allocated 15 minutes in total in which to see
21   perhaps seven patients cell side (12:45PM to 1:00PM), after which it is shower time and
22   she can’t see her patients anymore, because it is too dangerous for her to be among
23   dangerous inmates outside their cells while they stand around wearing only a towel.
24   Custody does not bring her patients in the morning, and she can’t really see them in the
25   afternoon either: fifteen minutes is not enough time in which to see seven patients. This
                                                                                             80
 1   is incredibly dangerous for the patients since they are getting just seconds to minutes of
 2   psychiatric care.


 3   Needless to say, this is not how other psychiatric clinics operate virtually anywhere in the
4    United States, and certainly the general medical clinics in the prison at SAC do not
 5   operate this way. Only is it deemed appropriate to manage the psychiatric clinics this way
6     appropriate in the sense that CDCR is not measuring conditions that are medically
 7   dangerous. Thus, CDCR is failing to create or report actionable information that would
8    allow us to fix the problem.


9    There was a Quality Management meeting a week after Dr.              and my visit to SAC
10   that illustrates how utterly uninformed the CDCR Mental Health Quality Management
11   group typically is. The 20 or so committee members literally applauded the alleged
12   psychiatry quality improvements at SAC, on the basis that the numbers looked good.
13   Perhaps few of those applauding had any idea that the so called “appointments” that they
14   were implicitly applauding included encounters in which the psychiatrist was having to
15   figure out the name of the patient while standing in a hallway surrounded by inmates.
16   Perhaps they were not aware that the good numbers they were applauding included
17   encounters in which a psychiatrist may have had one to two non confidential minutes to
18   see the patient while roaming the prison and yard trying to find his next patient in 100
19   degree heat. The majority (or all) in that room were probably also unaware that actually
20   only perhaps 22% of mental health patients were being seen as scheduled on the CCC
21   yards, since the Dashboard and those who calculate for them mislead them into thinking
22   that 90% were seen as scheduled.


23   After the round of applause, I tried to explain to those in the meeting that this was not
24   quality care worthy of applause and that the numbers they were applauding did not (to
25   put it kindly) accurately measure what they thought they measured. My strong
26   recommendation      my medical opinion was that no new EOP patients be transferred
                                                                                                  81
 1   there (and many should be transferred away) until basic minimal standards of care are
 2   met. They said they would record my ideas in the QM minutes. (Thursday July 26th, 2018)


 3   As I wrote to the                  : You can’t provide medical care with no little or no
4    information, standing cell side and virtually screaming through a cell door, no matter
 5   how many EOP reviews we are said to pass. If we pass when this is occurring, passing
6    means nothing in terms of medical care.


 7   Unfortunately, given their actions, it seems that our QM psychologists and senior
8    executives regard recording and analyzing where and when these inappropriate forms of
9    treatment occur to be unimportant, though they deny that when asked. Yet there is no
10   careful analysis of these problems at a statewide level. Moreover, their failure to do the
11   analysis themselves, and their denying us access and input into the EHRS that would
12   allow us to do this analysis, is telling. They say that the psychiatric leadership should feel
13   free to state their opinions and that information is provided to them and that their input
14   is welcome, but their actions tell a very different story.


15   This attitude of our psychology and administrative executives, both at HQ and in the
16   field, that psychologists and administrators can determine what is and is not actionable
17   medical information, as described above, and therefore what information psychiatric
18   physicians should be allowed to know and act upon, has direct and sometimes
19   devastating medical consequences. The psychologists’ determination that SAC EOP (Seg
20   yards) were safe and good and improving for psychiatric medical practice, is particularly
21   problematic. It is concerning because conditions there are actually so dangerous.
22   Therefore, reporting that they are good and improving suggests either an inability to
23   evaluate what good care is, or deliberate indifference to woefully inadequate care.




                                                                                                  82
 1   Patient X, Title 22, and the Proper Role of Psychologists


 2   Patient X is a woman who presented psychiatrically relatively well when she entered
 3   prison. But upon entry into the prison system she refused to take medication that she
4    previously had been taking. The psychiatrist did not deem that he could force
 5   medications upon her given how well she presented. The patient was subsequently seen
6    by another psychiatrist who also documented her apparently reasonable mental state off
 7   medications.


8    Arguably, in situations like this, longer transitions for patients at higher levels of care
9    should be insisted upon when medication from the community is discontinued, even if
10   the patient appears to have the legal right to discontinue medication because of
11   presenting in a logical way.


12   The patient was transferred to a CCC level of care where she was to be followed,
13   presumably because she was doing well as she left the reception center (anti psychotic
14   medications take a while to work, but many times when they are, their good effects can
15   sometimes last for a while after stopping taking them).


16   The patient was followed off medication in the prison mental health system at a CCC
17   level of care and did well, per reports, for many weeks. But she did not stay well.


18   Four hours before a sentinel medical event in which the patient removed her eye and ate
19   it, the patient had been evaluated by a psychologist who had found her to be gravely
20   disabled and had written admission orders to the psychiatric crisis bed unit. These
21   admission orders were being followed, except for the order for the patient to go to a crisis
22   bed. At the time of the event, Patient X was in alternative housing in a non licensed TTA
23   (like an urgent medical care center) despite the order for more intensive care.

                                                                                                   83
 1   The                      version of events, many of which I have personally corroborated
 2   by reading the record, are as follows. (see 2017 12 11 1622hrs) I summarized the events
 3   both in an email to the head of medical quality management (see 2017 12 18 1934hrs) and
4    to other senior executives in mental health (see 2017 09 05 1449hrs). The
 5                 version of events, from a medical perspective, was unfortunately not made
6    part of the report about the incident in the root cause analysis:


 7   In the below text, the blue writing is                   Dr.                , and the black
8    text in square brackets is mine:


9    “On 4/20/2017 I/P [Inmate Patient] X……, who was admitted to MHCB [mental health
10   licensed hospital crisis bed], although was housed in the TTA [a non licensed medical
11   acute unit], was involved in a sentinel event. Approximately 4 hours earlier, she had been
12   evaluated and determined to be gravely disabled by the on site psychologist who placed
13   admission, watch, and issue orders [admitted her, ordered how frequently she should be
14   observed, and ordered the clothing she should wear].


15   She was on one to one suicide watch by an LVN [a licensed vocational nurse. This LVN
16   was tasked with constantly observing her. MG] and was to be in a strong gown, however
17   refused to comply with issue orders. It was documented that she was “psychotic” at the
18   time of admission. Documentation from the one to one observer noted “screaming” every
19   fifteen minutes for most of the four hour period. She did not receive medications during
20   the four hour period prior to the event. The psychiatrist on call was not contacted by
21   [either] nursing, the admitting psychologist, or custody. After touching her eye for several
22   seconds, while in the supine position on the floor, the I/P used her left hand to enucleate
23   her left eye [take out her left eye]. The alarm was sounded and two correctional officers
24   entered the cell. The I/P was asked to relinquish the eye, however, she put the eye in her
25   mouth and ingested it…….”


                                                                                                 84
 1   Dr.       was very concerned about several issues and wrote extensively about them. (see
 2   2017 12 11 1622hrs) Her medical opinion was that the patient had given every indication
 3   that the patient needed medications (forced if necessary); but that it was determined by
4    psychologists and nurses including the patient safety committee which had no
 5   psychiatrists on it that there was no reason to mention the acute need for the
6    psychiatric medications (forced or otherwise) as having been a root cause of the
 7   enucleation. It was determined that failure to provide medications was not a root cause of
8    the patient having removed her eye.


9    Multiple subsequent psychiatrists, including headquarters psychiatrists, who heard about
10   this event, agreed that medications and forced medications had been needed, but the
11   psychologist evaluating the patient did not call the psychiatrist. Furthermore, the
12   psychologists at CIW and the HQ psychologist evaluating the psychologist’s action, and
13   the patient safety committee (with no psychiatric input), determined that failure to call
14   the psychiatrist had not been a root cause of the problem. For documentation of the
15   screaming, see 2018 08 10 1116hrs including the close up photo showing that what is
16   highlighted is the word “screaming” (page 3).


17   So failure to give emergency forced psychotropic medications in a newly hospitalized
18   patient was not a root cause of the problem, as determined by psychologists with no
19   medical training, while also ignoring the opinion of the                  . The opinion of
20   the psychiatrist who was on call for this admission in which tragedy occurred was not
21   sought, though he had the most experience and training about the emergency need for
22   medicine in situations like this. The psychologist apparently determined that there was
23   not a medically relevant situation necessitating that the physician be called. And the
24   psychologists and administrators (and I believe nurses) at the institution determined that
25   it was reasonable not to make sure that such a patient got medications in that emergency
26   situation. And the patient safety committee at headquarters, with no psychiatrist
27   representative, agreed. (see 2017 09 05 1449hrs)
                                                                                                 85
 1   Psychiatrists on call in CDCR are called after hours to “reconcile medications” for patients
 2   being admitted. This is not someone (such as a psychologist) who has interviewed the
 3   patient, calling the doctor and giving the doctor information about the patient. What
4    medication “reconciliation” amounts to is merely mechanically copying over medication
 5   orders from the previous unit that a patient was on. Indeed, this is now being done by
6    pharmacists instead of physicians at some locations, and it will soon be done
 7   automatically by the computer system.


8    The point is that reconciling medications is routinely done as a mechanical process, with
9    no knowledge about the patient, so cannot be considered a substitute for hearing about
10   the patient in a conversation with someone who has interviewed the patient.


11   In this case of Patient X, formal medication reconciliation was initiated for the patient,
12   but no relevant information was given to the on call covering psychiatrist after the patient
13   was interviewed by the psychologist (or anyone else), and that was the major problem.


14   Virtually anywhere across the country, for a patient newly admitted to a hospital, if no
15   general medical or psychiatric physician is available to interact on site with the patient,
16   the social worker or nurse initially interviewing the patient will call the doctor and tell
17   him or her about the patient.


18   Medical consultation is necessary even in the absence of a significant crisis, but it is even
19   more necessary when a patient is known to be psychotic and decompensated.xvi This
20   medical discussion with a physician (or sometimes a non physician provider like a nurse
21   practitioner) is needed to determine whether the patient would benefit from medication
22   (or forced medication) and also in order to determine in emergencies the potential
23   medical causes of the agitation, which could involve the need to check further laboratory
24   tests or perform medical evaluations (such as head CT scans, etc.).


                                                                                                   86
 1   But in this case, the psychologist interviewing the patient made the decision not to
 2   consult the psychiatrist. According to Dr.         , the                   , the psychologist
 3   gave as a reason for not having called the doctor, that he thought that the patient would
4    refuse to take medication. So with no medical training, the psychologist took it upon
 5   himself to determine that there was no need for a medical work up, and he apparently
6    didn’t even consider that the psychiatrist might think it necessary to force medications in
 7   this case.


8    According to Dr.          (see page 6 of 2017 12 11 1622hrs), the psychologist did not even
9    have legal admitting privileges for the crisis bed unit. Moreover, despite this horrendous
10   event, licensing was not called, because the patient’s physical location was in an
11   unlicensed TTA, though the orders (that were already being followed), specified that the
12   patient was to be admitted to a licensed facility (Mental Health Crisis Bed).


13   I am not an expert on the law. This patient had not made it to the licensed location in the
14   prison so perhaps licensing did not need to be called? Dr.         , the                    ,
15   thought that part of the reason the patient did not make it to the licensed bed is that the
16   patient would not change her clothes into the appropriate gown for a crisis bed. The
17   order admitted the patient to a licensed bed, but the patient was not at the time in one.


18   Regardless, for a psychologist to make the medical decision not to call the psychiatrist
19   during an admission is apparently the norm at this crisis bed hospital unit. Indeed,
20   according to the former                      , when she took call, she was repeatedly not
21   called by psychologists admitting patients to licensed crisis beds, and was only called
22   when psychologists were going to deny admission to a patient (to share potential liability
23   with the psychiatrist if something bad happened from failing to admit). (see page 6 of
24   2017 12 11 1622hrs)




                                                                                                     87
 1   So at this crisis bed unit that the judgement of the psychologist (about when a patient
 2   would need medical attention during a crisis hospital admission) was deemed to be
 3   adequate, and consultation with a psychiatric physician after a history is taken was
4    deemed not to be needed. And the assumption was that in general, the psychiatrist did
 5   not need to be called when patients were interviewed at the crisis hospital (or in
6    alternative housing) en route to the hospital.


 7   This again follows from the underlying assumption and contention of many of our
8    psychologists that their license gives them the ability to determine when
9    medical/psychiatric consultation or information is needed, even if a patient is being
10   admitted to a crisis hospital, is screaming (even for hours), and is gravely disabled, as
11   determined by the psychologist himself. This is the same attitude which denies the HQ
12   psychiatric leadership team access to medical information about the entire CDCR mental
13   health system.


14   The tragedy is that any competent psychiatric physician or general medical physician
15   would have medicated the patient, and likely the patient’s eye would still be in her head
16   had that happened. It is the standard of care that medical evaluation occur in the case of
17   psychotic patients xvii, which implies that physicians must be contacted in situations in
18   which patients are admitted to hospitals and are psychotic and agitated. Indeed, it is the
19   standard of care that physicians (or physician extenders like nurse practitioners) be
20   involved any time patients are admitted to licensed crisis or hospital facilities (see below,
21   title 22), even if patients do not appear to be psychotic and agitated. But it is clearly not
22   the standard of care at this unit and many others across CDCR.


23   Indeed title 22 and 15 clearly state that in licensed CTCs (which includes mental health
24   crisis bed hospitals)




                                                                                                     88
 1      1. “Psychiatrist means a person who is a licensed physician and surgeon in the state
 2          of California….” (79567)
 3      2. “Psychiatric/psychological services means consultative services to inmate patients
4           (79609) of a correctional treatment center” (79609)
 5      3. Physician Services are services provided by the licensed physician responsible for
6           the care of the inmate patient in the correctional treatment center (79599).
 7          And under 79599 Physician service includes, “determination of the appropriate
8           level of care for each inmate patient.”


9    Psychiatrists are the physicians (licensed physician and surgeon per title 22) taking care
10   of these patients in these mental health CTCs (hospital crisis bed units). Our general
11   medical physicians do not care for these patients, except occasionally as consultants.
12   Psychiatric physicians decide when to consult their general medical colleagues if they
13   deem that a general medical condition (like diabetes or hypertension) needs attention. So
14   it is clear from title 22 that the psychiatric physician is considered the “licensed physician”
15   (79567) and thus has overall medical responsibility to consult the right people and make
16   the right decisions to keep the patient safe, when the system works correctly. The
17   psychiatrist has the same set of responsibilities as any other type of physician would have
18   in caring for a patient in a licensed correctional treatment center, whether its focus is on
19   general medical care or on psychiatric medical care (according to title 22 and 15).


20   Thus, it seems clear from these rules that the psychologist services (79609), per title 22
21   and 15, are consultative to the patient and therefore cannot substitute for the physician’s
22   care. The physician (according to title 22) is not consultative to the patient. Instead, the
23   physician is “responsible for the care of the inmate/patient” (79599).


24   So not only should the psychologist, as a patient consultant, be checking with the
25   physician who is ultimately “responsible for the patient” (and even more so in a crisis
26   admission to a hospital) the psychologist must do so, whether psychologists think they
                                                                                                  89
 1   can determine what is a medical issue or not. And this is relevant for a broader discussion
 2   about this patient and many other issues throughout CDCR.


 3   Perhaps even worse than this tragedy, the decisions of our local psychologists are made in
4    the context of a headquarters culture that precisely encourages these types of
 5   irresponsible decisions to continue. An HQ representative of the statewide patient safety
6    committee (a psychologist) was assigned to help with the root cause analysis that was
 7   being done at the institution, and was said to “make suggestions”.


8    The                    at the institution, and I, the Statewide Chief, insisted that one of
9    the key root causes of the disaster was the decision of the psychologist not to call the
10   psychiatrist, resulting in medications not being promptly administered. HQ psychiatrists
11   who reviewed the case also do not understand why the psychologists would not be calling
12   the psychiatrists for admission routinely, but especially in a case like this. And of course,
13   the                    at CIW also could not understand why the psychologist would not
14   call the psychiatric physician.


15   Further, though it was the psychologist who interviewed the patient and therefore should
16   have called the psychiatrist, HQ psychiatry was surprised, too, that nursing staff did not
17   call the psychiatrist. The                   discovered that custody thought the
18   psychologist was the physician, and the psychologist is even listed as the physician to call
19   by nursing staff in certain documentation. (see page 3 of 2017 12 04 1043hrs)


20   Two HQ psychologists (one of whom visited the institution for patient X) sit on the HQ
21   patient safety committee. We have asked that a psychiatrist sit on the committee, given
22   events like this, but our request was denied. Had psychiatric physicians been represented
23   on the safety committee, that might have allowed relevant psychiatric medical
24   information, and then our vote, to make a difference. But it was clearly determined, not
25   just in the institution, but at headquarters as well, that the psychologist’s opinion about
                                                                                                90
 1   what was a medical issue in this case was valid (for example, that the failure to call the
 2   physician was not a root cause of the disaster when a patient was admitted to a
 3   psychiatric hospital and also happened to be decompensated, psychotic, and screaming).


4    Such problems are likely to continue happening at this institution and more widely in
 5   CDCR wherever this thinking occurs. It occurs because psychologists, supported by HQ
6    administrators and non medical senior executives, continue to allow psychologists to
 7   determine what is or is not a medical issue. That is particularly dangerous in emergencies,
8    for example during admissions to psychiatric hospitals.


9    The                     , who advocated that it be recognized that the patient should have
10   been given medications, wrote about her experience working there in an email message
11   to me (for original see xviii). (see 2018 04 30 1244hrs) [The text in black in square brackets
12   is my own]:


13   “It had come to a point where the Supervising Psychologists in each program were by
14   proxy supervising the staff psychiatrist in that program. This was not a ‘team based’
15   approach in providing care. The therapist was [deemed] the ‘primary clinician’ (formally
16   so, as the “PC” in the electronic medical record) and made all the important decisions,
17   without needing agreement from the psychiatrist. This was even the case during IDTTs
18   [treatment teams in which major clinical decisions are made]       the ‘primary clinician’ was
19   the person who presented the case, spoke to the patient, and the psychiatrist was asked
20   only to speak when it was about medications. I can attest to at least a hundred IDTT’s I’ve
21   been a part of as the psychiatrist. And this was the only role I was expected to play    the
22   prescription writer.”




                                                                                                    91
 1   The                    continues:


 2   “At CIW, in the one year period that preceded my becoming the                              , no
 3   psychiatrist had attended the pharmacy and therapeutics committee meeting. [A
4    psychologist                  attended in the place of the                        ]. No
 5   psychiatrist had attended Licensed Inpatient Committee meetings, Utilization
6    Management Committee, Quality Management Committee, and perhaps most
 7   importantly, the Mental Health Subcommittee. This can all be confirmed via meeting
8    minutes, [although these committees all explicitly review the medical aspects of mental
9    health care]. Psychiatrists had not been involved, at all, in policy review for any of the
10   programs outside of the PIP [Psychiatric Inpatient Program], even in the MHCB [Mental
11   Health Crisis (hospital) Bed]. In fact, nobody knew who the Clinical Director of the
12   MHCB was when I became             . I asked the         the       [                           ,a
13   non psychiatric physician],        [                            ] and the         [Psychologist
14   Executive,                             ]. The      thought it was the previous
15            of the PIP,             , PsyD [psychologist] (it was not). Or perhaps it was the
16   new acting                     I had appointed for the PIP,                      , MD (it was not).
17   The       thought it was the                                      it was not, he was the
18           . Multiple policies in the MHCB refer to a “Clinical Director”, yet lo and behold,
19   nobody knew who that person was.


20   Finally, the designated “                           ”,                 piped in and said that it
21   was the previous Supervising Psychologist,                     , but unofficially. And currently, I
22   asked? Radio silence. Why is this problematic? Here was a licensed inpatient psychiatric
23   hospital, being solely run by psychologists, and had been for at least three years.”




                                                                                                        92
 1   Dr.        continues, commenting on the local MHCB policy:


 2   “One example is the enucleation [eye removal] case. A psychologist admitted the patient
 3   to the MHCB, did not contact the psychiatrist on call, and for four hours, this severely
4    psychotic patient paced and was noted to be ‘screaming’, she refused to change into a
 5   strong gown, and refused movement from the [unlicensed] TCU to the [licensed] MHCB.
6    She was not offered a single dose of an antipsychotic before enucleating her eye and
 7   ingesting it. She only received a dose after the enucleation   which was when the
8    psychiatrist on call was notified.


9    To my shock and dismay, the                             did not [note] that the policy
10   indicated that the psychologist must contact the psychiatrist when admitting. And that
11   notion [that nothing needed to be said to the psychiatrists] had been passed down to all
12   the staff, including the admitting psychologists who were told that the policy was to only
13   contact the psychiatrist when sending a patient back to their housing (that is not actually
14   in the policy). See local CIW Policy [see page 10 of 2017 12 11 1622hrs].


15   The        also wasn’t aware that the admitting psychologist did not in fact have
16   admitting privileges at the MHCB, as none of the psychologists did. They only had
17   credentials to treat patients with therapy, not admit. That application process was
18   initiated by me after two years of psychologists admitting patients in a licensed
19   psychiatric hospital.


20   As a physician, I am well aware of what credentials and privileges are required for
21   admitting and treating and would not place a physician in a role without those being in
22   place. I know this because I have spent years training in hospitals. I am positive that the
23   psychologist who is the                           has never worked in a free standing
24   hospital, psychiatric or otherwise. Nor has the other                       . This matters. As


                                                                                                   93
 1   physicians, we are trained largely in hospitals we admit and discharge thousands of
 2   times and we learn UM [utilization management] and QM via that process.


 3   Yet this valuable skill set is completely disregarded at CDCR. Instead, there is a fiefdom of
4    power held together by a group who has been given more responsibility than their scope
 5   would designate. The psychiatrists who encompass the broadest scope         all the
6    therapeutic modalities and the medical aspects of care     are relegated to being
 7   prescription writers.


8    This is of course, related to CDCR’s difficulty in maintaining psychiatrists none of us
9    went to medical school and completed four to five years of residency to be a prescription
10   writer. Yet, perhaps more importantly, it affects the care provided to patients, as
11   evidenced by the one case illustrated in this letter (there are many more examples). All
12   patients, in particular inmates who are mentally ill, deserve the community standard of
13   care, which is a physician psychiatrist overseeing a department that provides psychiatric
14   care (which includes behavioral health). That standard is based on years of training and
15   licensure scope, not on hoarding of power.” (see 2018 04 30 1244hrs)


16   In this CDCR culture that relegates psychiatric medical doctors to mere prescription
17   writing, perhaps it is not surprising that it was deemed unnecessary to get a medical
18   opinion in a case in which a psychotic patient was screaming for four hours. And it is not
19   surprising that a headquarters culture that allows psychologists to vote to allow
20   themselves to override physicians’ orders (for when a patient should be seen next) and
21   has QM committee meetings applauding excellent quality care at SAC (without
22   recognizing that it was disastrous care) would also send a psychologist down to review
23   the process, and he and the committee (with no psychiatrists), would find it perfectly
24   acceptable for a psychologist to decide that failure to call the psychiatrist was not a root
25   cause of the problem, despite the opinion of the local                    , the Statewide
26   Chief Psychiatrist and the entire HQ psychiatry team.
                                                                                                 94
 1   The case of Patient X is tragic because the enucleation was likely preventable. This case
 2   should be reopened and reviewed by the Coleman Special Master team or their designees,
 3   as CDCR has not as yet developed the cultural knowledge (in many of its institutions or at
4    headquarters) needed to understand that medical decisions about acutely hospitalized
 5   patients should be made by psychiatrists rather than non medically trained personnel,
6    and that clinicians should call the psychiatrist on call in such cases rather than failing to
 7   consult the psychiatrist. It is important to learn from these tragedies and we will not do
8    so given the dangerous, medically inappropriate constraints CDCR imposes on
9    psychiatrists’ access to information and analysis of psychiatric medical contexts in CDCR.


10   Psychiatry Undermined and Sidelined


11   For comparison with the case above, it is helpful to read the comments of a line staff
12   psychiatrist at a different institution (CHCF). Dr.            comments are relevant to the
13   previous case (see 2018 07 17 1703hrs):


14   “It seems that certain types of decisions, including level of care changes, are made by the
15   supervising psychologist in consult with the clinician (psychologist or social worker). In a
16   setting like this, you must choose your battles, so I don’t say anything. On a few occasions
17   I did get frustrated because I felt strongly about certain cases and spoke up, expecting
18   people to respect my view, but certain staff just argued against me. If I really felt I wasn’t
19   being heard, I could have just contacted the other facility involved to say that I disagreed
20   with the team, but I would never do that. Even weirder is when they ask questions for
21   custody regarding whether mental illness played a role in some infraction when going in
22   front of a disciplinary board. This question almost always seems to involve a deep
23   understanding of the role of medications in relation to their illness, and I am trained in
24   forensics and have been involved in answering questions like these for courts in several
25   locations and internationally.”


                                                                                                  95
 1   He continues:


 2   “I’ve just gotten very good at biting my tongue for 90% of our meetings that are
 3   dominated by psychologists. It helps keep me humble, because in reality I’m trained in
4    Johns Hopkins and Yale and have often had high level experiences or been directly
 5   involved in research related to the matter at hand. So if a social worker with no real
6    mental health training is asked their opinion over mine, it just tells me that the system is
 7   more interested in other things than truth. Hope that’s not too cynical or going to get me
8    into trouble. I’m always interested in big picture and systems level thinking, so please let
9    me know if I can be of service or if there are any unique opportunities in the future.”


10   Dr.             ,                  at SATF, similarly describes how the psychologist who
11   supervised him (a former Chief of Mental Health) made an apparently incorrect clinical
12   determination and used her disagreement with his good judgement as part of her
13   argument to get him removed as a Probationary                        . (see 2018 04 26
14   1257hrs)


15   Dr.        , the excellent                   at CIW when the enucleation case above
16   happened, stepped down from her position as probationary                         before her
17   reputation could be tarnished as her preliminary probationary report did not reflect her
18   excellent skills, hard work and commitment to excellent patient care. Neither the
19   Statewide Chief Psychiatrist nor any other psychiatrist has any input into decisions about
20   whether chief psychiatrists are deemed to be doing a good job. Dr.           did not want to
21   have to report to subsequent employers that she had failed probation so she quit before
22   that happened. Please see my letter to our                     (see 2017 10 25 1156hrs) and
23   Dr.          note to me (see page 2+ of 2017 10 25 1156hrs).


24   But                     at SATF, Dr.    , stayed and was failed on probation and forced out
25   of his position. He was demoted. But he fought the charges against him in court, and
                                                                                                   96
 1   won, and was then reinstated as the                      , with no need to report any failures
 2   to future employers, because he had been exonerated in court.


 3   He says in a message to me about evaluations of his clinical care:


4    “….I had another patient in crisis bed that I saw at the request of the staff who making a
 5   gesture of putting something around his neck and trying to pull the ends with his hands
6    without completely encircling the neck. He wanted custody to go in. He had a law suit
 7   going on charging excessive force and had a detached retina because of that. He was
8    hoping for custody to go in and get physical so that he could get the injury aggravated
9    and have a further case against CDCR. I told the custody and staff that there was no acute
10   danger to the patient and for custody not to go in but for staff to just keep a visual 1:1 on
11   him. The patient calmed down after custody did not go in and was ok and an aggravation
12   of his detached retina was avoided. An additional lawsuit on CDCR was also avoided. This
13   was the case you [Dr. Golding] were consulted on and you sided with me but these guys
14   nevertheless used it against me.


15   I was written up by the        […] and told that I had not followed the rules. She also did
16   not like some of the views I had expressed earlier that a psychiatrist should weigh in
17   before a patient is discharged. She failed me on probation because of this and other
18   trumped up lies and fabrications. I sought a Skully hearing and won the case and retained
19   my                     position.” (see 2018 04 26 1257hrs)


20   Psychologists Shouldn’t Be Making Medical Decisions


21   Note also Dr.       mention of discharges from (presumably) crisis beds. Crisis beds are
22   licensed mental health facilities which are designed to be short term crisis psychiatric
23   hospitals (stays are often less than ten days). In virtually every hospital across the country

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 1   and throughout California, patients do not leave hospitals without a medical doctor (such
 2   as a psychiatric physician) determining that from a medical perspective, the patient is
 3   safe to leave.


4    For example, a patient might have diabetes or hypertension as well as mental illness and
 5   it is the psychiatric physician’s job to either determine that these medical conditions are
6    stable prior to the patient leaving, or to get them stable, for example by consulting a
 7   general medical physician. Moreover, psychiatric medications are frequently being
8    adjusted, medication levels need to be checked, and physical and certain predictable
9    mental side effects may need to be evaluated before a patient leaves hospital. Patients
10   should not leave a hospital unless some kind of medical clearance is given.


11   In California, unlike in most states, psychologists are apparently allowed by law to
12   discharge patients from hospitals. Our                    has affirmed that, and is working
13   to extend the CDCR system of psychologists admitting and discharging to the
14   Department of State Hospital Programs inpatient programs for inmate patients that
15   CDCR recently took over. Psychiatrists currently admit and discharge patients from these
16   formerly DSH hospitals. It is particularly crucial that physicians (including psychiatric
17   physicians) at least medically determine that it is safe for a patient to leave the acute and
18   long term psychiatric hospital, as psychologists have no medical training at all and will
19   soon be making discharge decisions in formerly state psychiatric facilities about our
20   sickest psychiatrically ill patients who are also often medically sick. Getting
21   medical/psychiatric clearance before patients leave hospitals or some type of medical risk
22   benefit analysis is the standard of care in every hospital across the country. That is why it
23   is particularly poignant when Dr.      was attacked for saying, “a psychiatrist should
24   weigh in before a patient is discharged”.


25   Given these issues, the HQ psychiatry team has argued that custody and transportation
26   should not be contacted (and the patient prepared to leave the hospital) unless the
                                                                                                 98
 1   psychiatric physician (at a minimum) has affirmatively medically/psychiatrically cleared
 2   the patient.


 3   Our                              denied that request. The                    did not allow it
4    in practice, arguing at one point that it was a local institutional issue.


 5   In reviewing 32 records (see 2017 08 32R), the HQ psychiatry team found that in about
6    50% of cases, there was neither an order in the chart for discharge by a psychiatrist nor an
 7   explanation for why the patient should leave. This would be unheard of anywhere in the
8    country, where physicians (including psychiatric physicians) are involved with decisions
9    to discharge patients from psychiatric hospitals. They discharge and write notes. But in
10   these 50% of cases, neither was occurring.


11   In reviewing some of these discharges, we found that a psychologist had discharged the
12   patient without any documented agreement by a psychiatrist or any other medical doctor.
13   The lack of any medical explanation for why a patient should leave a crisis hospital occurs
14   in no other hospital outside CDCR that any of our HQ psychiatrists have ever heard of.
15   (see 2018 07 06 1016hrs)


16   Although not documented in the above list, at CCWF, a psychiatrist clearly states in a
17   note on the day of a patient’s discharge (see page 15 and the last page of 2018 08 14
18   1100hrs) that the patient should not be discharged. But the unlicensed psychology intern
19   discharged the patient anyway (after documenting that she spoke with her supervisor,
20   another psychologist).


21   The psychiatrist involved explained in an interview with me that it is considered
22   imperative to get patients out of crisis beds in ten days given directives (I tried to change
23   his mind and asked that he fight that perception, though he feels the pressure can be

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 1   intense from headquartersxix). The psychiatrist told me that to properly plan to send a
 2   patient for long term hospital care at a psychiatric inpatient unit hospital (rather than the
 3   current crisis hospital), a plan has to be started perhaps on day three of the crisis hospital
4    stay, at the first treatment team. So a decision has to made to get the patient to long term
 5   care then, before virtually any treatment has occurred. If the team guesses wrongly about
6    the need for long term care early on in the crisis hospital admission, as the psychiatrist
 7   says happened in this case, day ten approaches and something must be done. His
8    preference was to wait and send the patient nonetheless to long term care, but the
9    psychology intern overruled his decision. The issue of not being late for transfer seemed
10   absolutely imperative.


11   The psychiatrist said that the team might be accused of mismanaging the patient if the
12   patient stays beyond the strongly suggested maximum amount of time the patient should
13   be there (ten days) to wait for a long term bed. The argument is that, had the referral
14   been made earlier, for example, at day three, it would have been easier to get the patient
15   to the long term bed by day ten, not after day ten. If one can’t get the patient to the long
16   term bed by day ten, the reasoning goes in this crisis bed unit, the only alternative is to
17   discharge the patient to no hospital at all, which is what the psychiatrist says occurred in
18   this situation.


19   He reports that many psychologists seem to be intensely focused and pressured to get
20   patients out of the crisis bed by day ten, even if good discharge plans have not been
21   made. Finally, there is additional pressure to discharge the patient to the lowest level of
22   care possible, the CCC level of care, not the EOP level of care.


23   So the psychiatrist wrote in his note that the patient should not leave a protected hospital
24   setting (see pages 8 and 15 of 2018 08 14 1100hrs), but the unlicensed psychology intern
25   discharged the patient to the lowest level of care mental health care (CCC) possible, not
26   even the EOP level of care in which the patient would have got enhanced services.xx
                                                                                                100
 1   Of interest, about a week before the hospital admission described above, the patient had
 2   also been discharged from a crisis bed and was similarly sent to a CCC level of care.
 3   Consistent with the policy that when patients transfer levels of care (and institutions) the
4    psychologist (or social worker) writes orders for the psychiatrist to see the patient back at
 5   the latest court allowable date, the non medical clinician scheduled the patient to see the
6    psychiatrist 90 days later this was a patient just discharged from the hospital    with the
 7   lowest level of supportive care possible.


8    Put simply, a patient was just discharged from a psychiatric hospital and put at the lowest
9    level of follow up care, and orders were written on 7/13/18 by a psychiatric social worker,
10   for the patient to be seen 90 days after just being released from a psychiatric hospital (the
11   community standard is one week).


12   The social worker determined when the next medical intervention was needed and
13   determined that the psychiatric visit should occur 90 days later. There was no physician
14   involved because the social worker or psychologist determines when the patient should
15   be seen next, hospitalization or not, medication adjustment or not, and the maximum
16   time is chosen.


17   And then the patient bounced back almost immediately into the hospital from CCC and
18   then was discharged by the psychology intern who met the patient once. This was against
19   the will of the psychiatrist who had seen the patient essentially every day for a week. The
20   psychology intern who saw the patient once and overruled the physician sent the patient
21   to the CCC level of care again with the rationale for lower level of care
22   (“MHLowerRationale”) being, “Patient is assign(e [sic] to CCCMS.”


23   After the second hospitalization and discharge to a CCC level of care a second time, the
24   patient was finally sent to EOP on 8/9. (see 2018 08 15 1333hrs)


                                                                                                101
 1   One wonders how a psychology intern could really understand that when one rapidly
 2   lowers a very powerful medication like olanzapine (which occurred), then starts an
 3   antidepressant, that could be profoundly destabilizing in terms of increasing short term
4    risk of suicide, which is no doubt why the psychiatrist Dr.         wanted to make sure the
 5   patient did not become agitated then suicidal in making those changes. So it is hard to
6    fathom how the psychology intern could make the medical decision that Dr.
 7   knowledge and information just wasn’t relevant or at least not relevant enough, and that
8    it was fine to overrule the physician and his judgement.


9    The psychiatrist saw the patient 7/23/18, 7/24, 7/25, 7/26, 7/27, 7/29, 7/30, 7/31, 8/1 and the
10   psychology post doc intern saw the patient once on 8/1/18 and discharged the patient,
11   against the explicit and documented advice of the psychiatric physician.


12   The psychiatrist wrote:


13   “As per team IP [inmate patient, MG] will be discharged back today to his yard. This
14   psychiatrist is recommending additional observation in view of his long Hx, long
15   sentence, residual depressive Sxs [symptoms] and the recent initiation of AD
16   [antidepressant] medication however this opinion was felt to be unnecessary [emphasis
17   mine, MG] by the other team members….” (see page 2 of 2018 08 14 1100hrs)


18   In contrast, the post doc psychology intern wrote:


19   “Met with patient for IDTT [the patient’s treatment team, MG]. Introduced myself as
20   covering for his primary PC [PC= “Primary Clinician” which is almost always defined to be
21   the psychologist or social worker in CDCR]. Informed patient that after reviewing his
22   chart notes, emailing yard PC and speaking today with primary PC, there does not appear



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 1   to be a reason to continue to keep him after 1 days [sic].” (see page 2 of 2018 08 14
 2   1100hrs)xxi


 3   To summarize, (see 2018 08 14 1100hrs), the patient was admitted to the mental health
4    crisis bed (a licensed correctional treatment center) for suicidal thinking with plan. He
 5   was clinically discharged on 8/1/18, despite the psychiatrist’s strong objections.


6    Dr.            says:


 7   “Two significant issues to note: 1) The psychiatrist saw the patient every day of his
8    admission, with the exception of 7/28/18, whereas the patient was seen by 7 different
9    psychologists or social workers during his stay. The psychiatrist was the staff member
10   with the most knowledge and familiarity with the patient, but he was overruled regarding
11   the discharge; 2) The patient was discharged by a post doc psychology intern, on the day
12   she met the patient. The psychiatrist strongly disagreed with discharging the patient, but
13   the patient was still discharged. This clearly demonstrates that the unlicensed psychology
14   intern, and not the psychiatric physician, was the primary clinical decision maker.” (see
15   page 1 of 2018 08 14 1100hrs)


16   Please now see 2018 07 26 0948hrs, which relates to a different case. In this situation, the
17   psychiatric physician finds out that her non hospitalized patient was not taking
18   medications and writes that the patient should be admitted to a crisis bed for evaluation
19   for 2602 (forced) medications, as she thought forced medications may well be
20   appropriate.


21   “I informed her (the psychologist) that this pt needed to be sent immediately to the Crisis
22   Bed for safety, stabilization and consideration for an emergent PC 2602, which cannot be



                                                                                                 103
 1   accomplished in ASU [administrative segregation unit].” (see page 4 of 2018 07 26
 2   0948hrs)


 3   The above quote means that the psychiatrist told the psychologist that the patient needed
4    to be sent from an outpatient prison housing unit to an inpatient unit for consideration of
 5   emergency forced medications (“emergent PC2602”). The psychiatrist also says that this
6    emergency forced medications cannot be safely done in the patient’s current outpatient
 7   housing arrangement (an administrative segregation unit) and indeed forced medications
8    are essentially never done in CDCR in outpatient units.


9    But the psychology supervisor of the ASU deemed that this evaluation for forced
10   medications in a crisis bed was unnecessary. Thus, this psychologist supervisor made the
11   medical determination that forced medications were not needed and should not occur,
12   though a psychology supervisor has no medical training whatsoever to be making these
13   medical decisions about whether consideration of forced medication is relevant or the
14   consequences of not forcing medication. This decision by the psychologist is eerily similar
15   to the case of patient X, described earlier, in which the psychologist determined that
16   calling the psychiatrist for a possible forced medication order was not needed but that
17   time, failure to call the psychiatrist had disastrous consequences. So the above is a case
18   where a psychiatrist clearly documents the need for immediate hospitalization for
19   medication related reasons, and the non medical psychologist overrules her, making the
20   medical decision that medication evaluation in a crisis bed is not needed.


21   In theory, level of care changes are always made by the IDTT, the patient’s treatment
22   team, which should include the psychiatrist. Yet Dr.        and Dr.          and Dr.
23              (at CHCF) directly told Dr.       and me during our recent visit in July 2018
24   and we hear the same from many psychiatrists across the state      that they are frequently
25   only told that the patient is being discharged (or that the level of care is being changed)
26   when the psychologist tells the patient in treatment teams. So the physician psychiatrist
                                                                                             104
 1   is finding out that a discharge is going to occur when the patient is being told. Clearly no
 2   consultation is seen as necessary with the psychiatric physician, except if the psychologist
 3   determines that a psychiatric medical opinion is needed (and often that happens). But it
4    is the psychologist who determines whether there is a relevant medical situation present
 5   which necessitates calling a psychiatric physician. As our psychiatric physicians
6    repeatedly say, CDCR seems to want to use them only for prescription writing.


 7   At headquarters, while our psychologists and administrators have asked our psychiatrists
8    to interpret certain sorts of data, we are typically denied any kind of comprehensive
9    system level information about the quality of care that we are providing.


10   So strong is the culture of psychologists ignoring and even overruling psychiatric/medical
11   decision making in the California system that, as illustrated above in the case of the
12   patient who removed her eye and swallowed it, and in the discharge and admission
13   decisions illustrated, psychologists are willing to put in writing their decisions to overrule
14   the medical decisions of the psychiatric physician. As our head of Quality Management
15   puts it, “We have a referral based system to psychiatry.”


16   This can now be clearly seen to be interpreted to mean that psychologists determine
17   when there are medical scenarios in which psychiatric physicians are needed.


18   This means that psychologists ask for the opinion of psychiatrists only if they deem it
19   necessary. Dr.       , overruled by the psychology intern, phrases it this way in his
20   discharge note:


21   “This psychiatrist is recommending additional observation in view of his long Hx, long
22   sentence, residual depressive Sxs [symptoms] and the recent initiation of AD



                                                                                                105
 1   [antidepressant] medication; however, this opinion was felt to be unnecessary [emphasis
 2   mine, MG] by the other team members….” (see page 2 of 2018 08 14 1100hrs)


 3   But the physician’s medical opinion can only be unnecessary if the psychologist (or
4    psychology intern) determines which medical opinions are necessary. Which is to say, the
 5   CDCR culture allows psychologists to determine what is a medical issue or not and to
6    consult a psychiatrist only when they deem a psychiatrist’s medical opinion necessary. A
 7   referral based system means that psychiatrists in CDCR are considered mere consultants
8    to psychologists. This occurs at HQ in which psychologists and our
9    determine that it is

10      1. fine to overrule the medical opinion of the psychiatrist about when a patient
11          should be seen next when patients transfer institutions, as a matter of policy

12   and

13      2. fine to determine that it is unnecessary to allow physicians to have access to
14          needed medical information for patient care from databases or fine to fail to
15          provide the information if they determine the physician does not need it to care
16          for the patients

17   and

18      3. fine to determine the psychiatric medical workflow in the EHRS and what will be
19          needed information by psychiatrists to make good decisions (for example,
20          reasonably detailed information about the environment of care is not deemed
21          relevant based on what they have allowed to be designed)

22      And in the field it is

23      1. fine for the psychologist in the crisis bed unit to determine that medical
24          consultation is not needed with newly admitted and screaming and psychotic
25          patients

                                                                                               106
 1   and

 2      2. fine for the psychologist (even just a psychology intern) to determine that
 3          changing medications are not relevant in assessing risk for suicidality while
4           discharging the patient, while the psychiatrist disagrees

 5   and

6       3. fine for the psychologist to determine that there is no need for consideration of
 7          forced medication in the crisis bed in a medication non compliant outpatient
8           though the psychiatrist insists on it

9    and

10      4. fine to make a decision that in a licensed hospital it is fine for a psychologist to
11          order an aspirating patient into restraints, rather than calling a psychiatrist who
12          might give forced medication instead, and that it’s fine for the psychologist to
13          write a restraints order without getting agreement from anyone with medical
14          knowledge beforehand (discussed later).

15   When I (a psychiatric medical doctor) worked very briefly at CHCF in the crisis bed unit
16   nearly five years ago, a psychologist (the patient’s “primary clinician”) said to me: “I am
17   discharging patient X. I need you to write his medicines.”


18   But when I asked about the condition of the patient, whom I had actually never seen
19   before as I had just arrived at the institution, the psychologist could not or would not tell
20   me why the patient was there, or how long he had been there, or what his diagnosis was,
21   or what medical conditions he had, or what medications he was on, etc.


22   The psychologist told me merely that the patient seemed better and was not suicidal.




                                                                                                   107
 1   Needless to say, I could not agree to write the patient’s discharge medications, because
 2   neither the psychologist insisting that I do so, nor I, knew enough about the patient to
 3   make such a decision at that time.


4    Having just moved to CDCR from a more standard correctional system elsewhere, in
 5   which medical decision making mattered in situations like discharging medically and
6    psychiatrically ill patients from hospitals and in which it was not deemed to be the
 7   psychologist’s decision when a medical opinion is or is not necessary before discharging a
8    medically and psychiatrically sick patient from a hospital, I was surprised.


9    I was fully prepared to disobey the psychology supervisors who were telling me what to
10   do and to accept whatever consequences there would be. But they had so few
11   psychiatrists that they had to let me stay.


12   CDCR says that psychiatrists report to psychologists only administratively, not clinically.
13   However, in situations like I experienced above, in which your supervisor may be telling
14   you that a patient is going to discharged, it is very clear that the supervision is definitely
15   not just administrative. It is clinical.


16   The psychologists in many of our institutions are the de facto clinical supervisors of the
17   psychiatrists despite having no medical training to be supervising what a physician does
18   medically. But as illustrated in the above examples, they do it anyway. The conversation
19   detailed above, about me writing medications for a patient the psychologist was
20   discharging, was witnessed by fellow HQ psychiatrist Dr.                    .


21   When patients leave an inpatient/crisis hospital setting in environments in which
22   psychologists are ordering the discharges, I have argued that psychiatrists should
23   complete an order medically/psychiatrically clearing the patient, which then becomes the

                                                                                                 108
 1   precipitant to transportation being called to move the patient. Thus, the psychologist
 2   could make the decision to discharge the patient hopefully in consultation with the
 3   treatment team     but no order for transport should occur unless and until the
4    psychiatric/medical clearance precipitates it. Then a discharge (usually written by the
 5   psychologist) and the psychiatrist’s medical clearance would enable the patient to leave. I
6    also believe that in definitively establishing this very important medical/psychiatric
 7   clearance policy, it would help our non medical colleagues understand that they need to
8    include the psychiatric physician not just in these discharge decisions but also in other
9    decisions on a day to day basis.


10   Our psychologist                              has blocked this mandatory consideration of
11   medical issues by physicians when patients leave hospitals and her boss opined that it was
12   a local decision if institutions want to do this. She has in practice prevented this from
13   occurring, thus implicitly leaving many of our psychologists to be medically in charge of
14   many aspects of patients’ care, though they have no training to do that.


15   To repeat:


16   Title 22 and 15 clearly state that in licensed CTC’s (which includes mental health crisis
17   bed hospitals)


18      1. “Psychiatrist means a person who is a licensed physician and surgeon in the state of
19          California….” (79567)
20      2. “Psychiatric/psychological services means consultative services to inmate patients
21          (79609) of a correctional treatment center” (79609)xxii
22      3. Physician Services are services provided by the licensed physician responsible for
23          the care of the inmate patient in the correctional treatment center (79599).
24          And under 79599 Physician service includes, “determination of the appropriate level
25          of care for each inmate patient.”
                                                                                                 109
 1   As stated previously, it is clear from title 22 that the psychiatric physician is considered
 2   the “licensed physician” (79567) and as the licensed physician is said to have overall
 3   medical responsibility to consult the right people and make the right decisions to keep
4    the patient safe, when the system works correctly.


 5   Thus, it should be clear from these rules that since psychologist services (79609), per title
6    22, are consultative to the patient but the physician is “responsible” for the care of the
 7   patient, psychologists cannot substitute their judgement for the physician’s, because the
8    decision making capacity of the physician (according to title 22) enables him or her to be
9    “responsible for the care of the inmate/patient” (79599).


10   The appropriate “level of care”, the determination of which is assigned to the physician,
11   includes whether patients should leave licensed crisis hospital beds, and go to the EOP
12   level of care or the CCC level of care. Title 22 is thus explicit that the physician must be
13   responsible for the patient to make sure he or she is at the right level of care.


14   Not only should the psychologist, as a patient consultant, be consulting the physician, the
15   psychologist must do so, whether psychologists think they can determine what is a
16   medical issue or not. Indeed, when a physician affirmatively denies that clearance and
17   argues that the patient must say, it would seem to be legally problematic for the
18   psychologist to overrule the physician’s decisions in licensed hospitals, given title 22, yet
19   this happens frequently in CDCR.


20   Mandatory physician involvement with each discharge decision from a hospital would
21   seem not only to be straightforward and commonsense (and occurs in just about every
22   hospital any physician has ever been a part of), it also seems to be mandated by law. So it
23   is hard to figure out why our psychology executive directors and senior mental health
24   executives (all non medical) at HQ will simply not allow a medical/psychiatric clearance


                                                                                                    110
 1   order prior to transportation being called to enable the patient to leave the hospital and
 2   be consistent with the law.


 3   It strikes our psychiatry team as indifferent to patient medical care to not have a system
4    in place in which a physician (for example a psychiatric physician) makes sure the patient
 5   is physically/medically/psychiatrically safe when a patient first enters and before the
6    patient leaves a licensed crisis hospital, when patients are frequently both medically and
 7   psychologically sick in hospitals. And during discharge, mandatory orders for
8    medical/psychiatric clearance should be tied to transport orders, to prevent the patient
9    from physically leaving when the psychologist writes the discharge order as happened in
10   the example given above. The psychiatrist said no. The psychology intern said yes. And
11   the patient left.


12   When one of our senior administrative mental health executives asked me what I hoped
13   to accomplish by insisting that physicians provide medical/psychiatric clearance before
14   patients leave hospitals, I responded as follows:


15       “When a patient is leaving the hospital to go to somewhere other than another
16       hospital, someone medically qualified (a psychiatrist or other Medical Doctor) is
17       taking a view about and legally and ethically signing off on a number of issues: that
18       the medical situation including medical meds, psych meds, psychological condition,
19       physical condition, housing and social situation, are such that the patient can safely
20       leave hospital.


21       In CDCR mental health hospitals, discharge orders are currently typically being
22       written only by psychologists, not psychiatrists or other medical doctors.




                                                                                                  111
 1       Psychologists are not medically qualified to address all the relevant issues that must
 2       be considered.


 3       Therefore, if psychologists can discharge patients from hospitals, then the physician
4        giving “medical clearance” in our system must therefore be taking on the
 5       responsibility for signing off on all the relevant issues mentioned above.


6        Either the phrase “medical clearance” must take into account all the relevant issues,
 7       or the word “discharge” must. If in our CDCR system neither does, we are neither
8        following the law, nor behaving ethically.


9        By requiring psychiatric or other MD involvement in discharge decisions, I am hoping
10       to achieve legal and ethical discharges rather than illegal and unethical ones with all
11       their associated consequences.”


12   Our non medical                    wrote:


13   “I am going to change the duties of the psychologists in the PIPS [psychiatric inpatient
14   programs] to allow them, with the IDTT, to make admissions and discharge
15   decisions….There is considerable concern from the psychiatry team at the new PIPs that
16   they will be exposed to liability when a psychologist makes a poor decision”. (see 2017 11
17   15 1143hrs)


18   She ignored the need for medical clearance in this message when medically sick patients
19   leave the hospital (seemingly required by title 22 since level of care changes are supposed
20   to be made by the physician, not the psychologist), and ignored that physicians might
21   need input into these “decisions” to make them safe, both in terms of writing policy about
22   them and in terms of trying to protect our patients. Indeed, what if a patient’s diabetes

                                                                                                 112
 1   were not under control when psychologists make these “decisions” (79599) that it is
 2   important for her that psychologists make.


 3   Until recently, it was a mantra that discharges are “treatment team decisions” by the
4    “IDTT”; that is, that decisions about discharge were in theory made by the psychologist
 5   and psychiatrist and other members of the treatment team, together.


6    In addition, if it is really always a joint decision, then no one should have any objection to
 7   a physician psychiatrist merely psychiatrically/medically clearing the patient (as an order
8    in the treatment team meeting just prior to discharge) before transportation is called to
9    enable the patient to leave the hospital. No one should have any objection to a mandatory
10   physician’s clearance order, because surely the treatment team leading and primary
11   clinician psychologist already obtained agreement from the psychiatric physician during
12   treatment team prior to discharge of the patient, if it really were a joint “treatment team
13   decision”, as our executive psychology leadership asserts with the                    .


14   If the psychiatric physician agreed (in a treatment team meeting) to a discharge, as
15   claimed, why can it be wrong for transport to only be enabled to come if a psychiatrist
16   takes one minute to write a medical/psychiatric clearance allowing transportation to
17   come, in that same treatment team meeting in which that psychiatrist’s agreement
18   allegedly occurred?


19   This is logically true and thus our executive psychologists and non medical
20             should have no trouble at all with psychiatric physicians
21   medically/psychiatrically clearing patients to leave hospitals, unless having a physician do
22   that is actually not what is wanted by the psychologists doing the discharges and unless
23   that is not what is wanted by our                    and those executive psychologists who
24   support the current process and thus will not allow mandatory medical clearances.


                                                                                                 113
 1   Please see my e mail to our                   2018 07 06 1016hrs.


 2   Recently, our Senior                  ,                    , released a memo saying the
 3   following (see page 2, section c of 2018 09 18 memo):


4    “c. When patients are clinically discharged from crisis beds or inpatient beds, they shall
 5   be moved from the bed to their assigned institution in an expeditious manner to ensure
6    bed availability for patients awaiting MHCB placement…….”


 7   Under “c”, discharge is defined: “Clinical discharge means the primary clinician or
8    treatment team has determined that a patient requires a different level of care and
9    discharge orders are placed and the inmate/patient can be moved.”


10   The primary clinician is deemed to be the psychologist in a short term (crisis bed)
11   hospital or an acute or intermediate hospital in CDCR.xxiii Moreover, the psychologist and
12   the psychiatrist are members of the treatment team as are others. Therefore, the language
13   that in hospitals and crisis beds discharges are authorized if the “primary clinician or the
14   treatment team has determined that a patient requires a different level of care and
15   discharge orders are placed and the inmate/patient can be moved” means:


16   1. The Psychologist (the primary clinician)

17   or

18   2. The psychologist and psychiatrist and others on the “treatment team”

19   determine

20   3. That a patient requires a different level of care and discharge orders are placed and the
21   inmate patient can be moved.


                                                                                               114
 1   If the psychologist and psychiatrist disagree about discharge, it follows that the treatment
 2   team haven’t reached agreement so can’t make the decision. Given that decision is to be
 3   made by the treatment team or the psychologist, it follows that in the event that the
4    psychologist and the psychiatrist disagree, the person authorized to make the decision is
 5   the psychologist rather than the psychiatrist. The psychiatrist is not authorized to make
6    the decision alone, whereas the psychologist is authorized to make the decision
 7   independently of the treatment team.


8    Thus, logically, our                   has determined that in the event that the
9    psychologist and psychiatrist disagree about, for example, whether it is safe to discharge a
10   patient, it is the psychologist, not the psychiatrist, who is authorized to determine
11   whether or not a discharge should occur.


12   Thus, as a matter of logic and policy (by memo), our                    codified that non
13   medically trained clinicians in hospitals are permitted to overrule the medical decisions
14   of physicians.


15   This memo came out after more than a year of discussions with this
16   about the importance of physicians being able to medically clear patients when they leave
17   hospitals (and also after a year of discussion about the importance of accepting physicians
18   making sure the unit is safe medically for a patient). Psychologists don’t have the training
19   to understand when a mental status change may be due to lithium toxicity or even
20   recognize it, let alone when the patient has begun to aspirate so a further work up is
21   needed. Nor do they understand the medical and mental status effects of infections and
22   the myriad complex medical issues that plague our patients and change their mentation.


23   Yet in one bold stroke, she has determined that the non medical psychologist, not the
24   physician with years of medical training, is to determine whether a medical opinion is
25   needed before discharging a patient.
                                                                                                 115
 1   No doubt if asked about this, she will be say    and indeed has said (see 2018 09 18
 2   1619hrs) that it does not mean what has been said above. And that “the language in the
 3   … memo is not a change of the policy.”


4    If it is indeed not a change of policy, that explains why psychologists in our system so
 5   often override medical orders and appear to see no problem with discharging patients
6    from hospital beds against medical doctors’ judgement.


 7   Creating Policy Obstacles to Clinical Decision-Making Has Consequences


8    Increasingly, patients are committing suicide or attempting suicide as soon as they leave
9    CDCR mental health crisis beds.


10   This increase has occurred because there is increasing pressure to get patients out of
11   crisis beds to lower levels of care or to the inpatient hospital within ten days. If clinicians
12   have not filled out the requisite documentation for a prolonged higher level hospital stay
13   by day three of ten of the crisis bed stay, they fail to make the ten day limit for acceptance
14   and transfer into the higher level of hospital care, and thus have to discharge the patient
15   to a lower level of care prematurely, even if the patient is not ready. Dr.          case
16   earlier in this report is an example of this. (see pages 92 95 of this report)


17   In point of fact, a stay is allowed to go beyond ten days, but time consuming conferences
18   and paperwork must be completed to get approval, and time is short, so this policy is an
19   obstacle to good patient care, clinicians taking increased risks with patients and on day
20   nine or ten discharging them to a lower level of care because they did not correctly
21   anticipate a patient’s needs on day three and get the necessary approval.




                                                                                                  116
 1   Furthermore, if the patient came from the lowest level of outpatient mental health care
 2   (CCC), these patients are being returned to CCC, even after the hospitalization, rather
 3   than the EOP level of care, to decrease the number of more expensive to care for EOP
4    patients. For example, the number of psychiatrists required per patient is higher at the
 5   EOP level of care, so the mandatory number of psychiatrists is lower if the system can get
6    more patients discharged to the lowest levels of care.


 7   The increasing suicidality could be corrected in the current system by:

8    1. encouraging more frequent referrals to higher levels of care at day three of crisis bed
9    admittance

10   2. insisting on psychiatric clearance of patients for discharge to lower levels care before
11   transport is contacted

12   3. making the paperwork far easier to fill out with less consultation needed to be allowed
13   to keep patients beyond day 10 in the crisis bed.

14   4. Detailed analysis needs to be done about suicidality coming out of crisis beds and
15   inpatient hospitals (attempts and completions) and data compiled. I have discussed crisis
16   beds. But since CDCR took over DSH, the DSH units are no longer full. They have
17   become more like segregation units because patients cannot get out of their cell.
18   Continuing analysis of 30 day readmission rates from these hospitals and from the crisis
19   beds, as well as rates of attempted suicide need to be done by unbiased reviewers, as the
20   current purveyors of this information have been demonstrated to give false reports.



21   Conclusion

22   CDCR has a broken system of care because information is not accurately reported upon,
23   and reliable commonsensical action has not been taken. I have documented that patients
24   are not getting to appointments on schedule and in confidential spaces, that appropriate
                                                                                            117
 1   consultation is not occurring, and worse, appropriate medical decision making by
 2   psychiatric physicians has been overridden. I have documented that CDCR has prevented
 3   errors from being fixed, and worse, CDCR has not allowed anyone to know that there has
4    been inaccurate reporting to the courts and to our leadership. Such knowledge would
 5   allow problems to be identified so they can be fixed.


6    A prison mental health system needs to ensure that patients see their psychiatrists and
 7   other mental health providers on schedule, on time and confidentially, in an office. CDCR
8    is not doing that, as has been demonstrated in this report.


9    If a mentally competent patient refuses to go to his or her appointment with the
10   psychiatrist, then, as happens with medical and dental appointment refusals in CDCR, the
11   patient should be ordered to walk to the psychiatrist and tell the doctor that he or she
12   doesn’t want the appointment.


13   Failing that, a custodial representative should be required to carefully and to the best of
14   his or her ability document the patient’s reason for refusing to go to the appointment,
15   and any other possible reasons that might be behind the refusal. The custodial
16   representative should also document the condition of the cell. The custodial
17   representative should then immediately go to talk to the physician him or herself, and
18   have a personal conversation with the psychiatrist, in which together they create an
19   individual plan of action to make sure the patient does get to subsequent appointments.
20   It should be required that all of this be documented.


21   Cell side encounters should not be counted as appointments. They are at best wellness
22   checks. For proper medical care, patients need proper confidential medical appointments
23   in offices, when they need them, on time relative to doctors’ medical scheduling orders.
24   Outcomes will continue to be poor (high numbers of suicides, suicide attempts,
25   rehospitalizations, patients’ symptoms failing to improve, etc.) unless we have a mental
                                                                                                118
 1   health system in which patients are actually seen, and unless we have a mental health
 2   system in which there is accountability for actually getting patients seen properly.


 3   If patients were being seen as scheduled, on time, in offices, and for an appropriate
4    amount of time, that would be evidence of adequacy of staffing, but only if the data is not
 5   being distorted.


6    If a seriously mentally ill patient cannot or will not come out of his cell for an
 7   appointment, the team responsible for that patient (see below), with a custodial officer,
8    should visit these very difficult patients together, like Assertive Community Treatment
9    (ACT) Teams do. The custodial officer is critical so that the door to the cell can be opened
10   safely if needed.


11   QM should focus on basic, straightforward measurements that are accurately and
12   straightforwardly calculated. The approach should be that we measure those things that
13   actually determine good care, and the QM system should be transparent and open to
14   ideas for improvement, both in terms of what is measured, and in terms of how to
15   improve the system of mental health care itself. A good QM system is one that facilitates
16   error correction rather than hiding errors. Our approach should be more like that of
17   airline and air traffic control systems, which focus on actively identifying and learning
18   from mistakes without blaming or shaming anyone.


19   The EHRS needs to be programmed so that the psychiatrist and other clinicians can enter
20   into the chart the environment of care in which the appointment took place. A combined
21   measure of both whether appointments occurred on time, in an office, and for an
22   appropriate amount of time, should qualify an appointment as occurring in a compliant
23   way.



                                                                                                 119
 1   Low 30 day readmission rates and suicide rates in a population are in fact legitimate hard
 2   outcome measurements demonstrating good quality care. Those institutions that do this
 3   better (for a given mental health level and custodial level) should be studied and
4    emulated.


 5   Rates of cancellation and refusal should be recorded as a simple percentage (for example,
6    number of cancelled appointments per patient per time). When a patient is scheduled to
 7   be seen within a certain number of days and that appointment does not happen, that
8    appointment is late, and should be recorded as such. Labs and blood levels either
9    occurred when they were supposed to or they didn’t, and need to be recorded that way.


10   The number of consultations requested, and the number of consults that occur as
11   scheduled, should be recorded straightforwardly. A simple triage system needs to be
12   established to deal with situations in which there are more consultations scheduled than
13   can occur at that time. For example, a nurse and a Supervising Psychiatrist could spend
14   one hour twice a week going through the list of medication non compliant patients
15   together, determining which patients should be seen first and which can wait (or in
16   which cases it would be appropriate for a nurse or psychologist to provide education,
17   rather than the psychiatrist).


18   None of the above QM measurements should be obscured from those who wish to
19   understand them. Thus, many people within and outside the mental health system within
20   CDCR should be able to run simple read only queries to assess the accuracy of what is
21   being reported. All queries being made should document both the query and the purpose
22   of that query: what question does the person running the query think the query might
23   help the person answer? The results of the query including an explanation of what was or
24   was not found should also be recorded. To facilitate error correction in the system, it
25   should be mandated that all this information about every query be easily available for
26   anyone in CDCR to read.
                                                                                               120
 1   Continuity of care is key. Mentally ill patients more reliably get better when they are
 2   under the care of the same reliable, caring doctor and treatment team over time, for the
 3   following reasons. Doctors improve their care by learning how to treat patients. The first
4    choice of medicine is often suboptimal. Psychiatrists iteratively figure out which medicine
 5   or combination of medications to give, by judging responses to preceding medications. A
6    single treatment team should take care of a given patient wherever the patient is in a
 7   given institution, and transfers between institutions should be minimized.


8    Making a single team responsible for a given inmate would eliminate the patient
9    dumping that tends to happen in any system in which patient dumping can happen.
10   Systems in which it is possible to reduce one’s workload or legal risk by transferring a
11   difficult patient from one’s own care to someone else’s thereby encourage a lot of
12   transferring (patient dumping). Such systems also tend to result in those looking after
13   patients at higher levels of care holding on to easy patients who don’t really need to be
14   there, to avoid having to care for the new and potentially tougher patient that will replace
15   that easy patient. Systems having this flaw (like CDCR) tend to be very expensive both
16   financially and in terms of the care provided.


17   Both patient dumping and inappropriately keeping easy patients in higher levels of care
18   would be solved by a given inmate being assigned to a given treatment team, that
19   treatment team being responsible for the inmate’s care irrespective of level of care
20   needed, or even if the inmate doesn’t need treatment for mental health problems. That
21   would very quickly result in a reduction of the number of prisoners inappropriately
22   diagnosed as needing treatment, and it would very quickly result in those who do really
23   need treatment actually getting effective treatment. That is, it would do so if clinical staff
24   numbers in the institution were not cut as patients improve.


25   When you are responsible, and dumping is not an option, you get your patients better.
26   The way CDCR is currently set up, more and more inmates will be deemed to have mental
                                                                                       121
 1   health issues, because staff naturally err on the side of referring inmates for mental health
 2   diagnosis, not wanting to be blamed for failing to refer when it was needed. This is why,
 3   no matter how hard we try to do better in the current system, the number of patients
4    needing higher levels of care never seems to diminish. Take away the incentives to refer
 5   unnecessarily, to dump difficult patients, to hold on to easy patients, and make a given
6    team responsible for and accountable for a given set of inmates, and that will solve many
 7   of the problems of the current system. Mental health teams will learn to treat patients
8    effectively, as happens outside CDCR, and the whole system will be vastly cheaper to run.


9    The other thing this would do would be to create real teams, with real teamwork. It
10   would create camaraderie. People work much more effectively and efficiently when they
11   feel valued and appreciated as they would in such teams.


12   In CDCR, I’m told we need armies of expensive therapists (do take a look at the ratio of
13   the number of psychologists to the number of patients in the CDCR system it is
14   remarkably high). But in the real world outside CDCR, excellent patient care can be
15   achieved with fewer resources. Less expensive but still professional individuals like
16   vocational nurses, social workers and “qualified professionals”, for example, can make
17   regular checks on patients (and report to psychiatrists regularly who are covering a panel
18   of patients throughout a prison). With regular reports about the health of patients by
19   professionals who are checking on them, the frequency and need for psychiatric visits can
20   be diminished as well.


21   Treatment and therapy should be practical (facilitating work, education, exercise, etc.) in
22   most settings, and only when patients have acquired the basic ability to function, should
23   therapy move on to exploring psychological issues like past relationships with parents,
24   etc. Excellent patient care is not necessarily expensive.




                                                                                                122
 1   Large numbers of responsible adults from outside prison should (after having been
 2   carefully oriented to prison rules and to boundaries and the strict limits of relationships
 3   with prisoners) be able to visit and check on mentally ill patients. Senior citizens or
4    students of social work and psychology are excellent for this. Such a program could be
 5   either on a voluntary basis or very inexpensive. The individuals checking on prisoners
6    should be given clear instructions with respect to what they should do (informing the
 7   right person on staff) in the event that they think a given prisoner needs help. Such a
8    program would ease stretched resources.


9    Suicidal patients should not be isolated and should usually be able to stay in the same
10   institution and transported to the institution’s own crisis bed unit, the same team taking
11   care of them at the outpatient level of care and when hospitalized.


12   Until we have a culture of excellence in which all or most psychiatrists in our system are
13   comfortable prescribing clozapine when it is indicated, for example, for patients with
14   dangerous life threatening suicidality/self mutilation/self injury associated with
15   personality compensation into psychosis, consultative pharmacologists (for example from
16   the Department of State Hospitals, called “PRN” psychiatrists) should be utilized for
17   consideration of the anti suicidal drug clozapine, with mandatory blood draws, to save
18   such patients’ lives. There must be a statewide focus on getting our sickest patients on
19   clozapine with its demonstrated, proven ability to stop hospitalization rates (with proof
20   from Dr.                 team even in CDCR). Clozapine is well known to decrease
21   suicidality in even the sickest mentally ill patients. Aggressive support for clozapine
22   clinics should be mandatory throughout CDCR to support those psychiatrists who
23   prescribe this often life saving medication for our sickest patients.


24   It is reported that in CDCR more than 100,000 inmates move more than 1,000,000 times
25   in a year. Mental health patients can’t get better if they keep moving. Moving mentally ill
26   patients from one institution to another, or from one provider or treatment team to
                                                                                                123
 1   another, is unsettling for them. All such moves mean the loss of their familiar
 2   environment of care. It’s a bit like moving a child to a different set of foster parents every
 3   month. No matter how great each home and set of foster parents is, there is likely to be
4    trouble. Moving is stressful enough when it is voluntary and the person is mentally
 5   healthy and not in the prison system, let alone when there are mental health problems
6    and it’s involuntary and the person is in prison.


 7   All this moving of mentally ill patients has been disastrous in CDCR, because, unlike in
8    the world outside CDCR, in CDCR information about the patient is in effect lost when a
9    patient is transferred from one institution to another. Outside CDCR, the patient’s
10   existing doctor and the doctor at the hospital to which the patient is being transferred
11   talk to each other about the patient, so that the receiving psychiatrist knows about the
12   patient and can take into account what the previous psychiatrist has tried in terms of
13   treating the patient. Such conversations should be mandatory whenever there is a
14   transfer, whether from one institution to another, or from one psychiatrist and treatment
15   team to another.


16   Admissions should be done by psychiatric physicians and mental hospital units should be
17   cleared medically by psychiatrists as happens outside the CDCR system, and the
18   psychiatrist or treatment team sending the patient should call the psychiatrist who will be
19   admitting the patient to tell the receiving psychiatrist about the patient before sending the
20   patient. The psychiatrist poten tially admitting the patient needs to be sure that it would
21   be an appropriate admission before the patient is sent. When a nurse, psychologist or
22   social worker has interviewed an incoming patient, he or she should tell the psychiatrist
23   about the patient as happens outside CDCR.


24   Discharges from psychiatric hospitals should be done by psychiatrists, or at least should
25   never occur without a psychiatrist or other medical doctor having first medically cleared
26   the patient for discharge. The CDCR system would be medically much safer for patients if
                                                                                         124
 1   transportation were not called unless and until the patient has been medically cleared for
 2   discharge or transfer. And the psychiatrist must order the follow up care, for example
 3   with a psychiatrist in a certain number of days, for a blood draw to occur in a certain
4    number of days, and with a therapist and nurse in a certain number of days.


 5   Before a mentally ill patient leaves prison, there should be a video call connecting the
6    inmate patient and the clinicians from the prison with the clinicians the patient will be
 7   being cared for in the community after leaving prison, so that the patient will feel
8    comfortable with his or her new providers.


9    Psychiatrists should be reporting to psychiatrists. Just as is the case for Medical, Dental
10   and Nursing reporting structures in CDCR, psychiatrists in the field should be reporting
11   to regional psychiatrists, who themselves should be reporting to the headquarters
12   psychiatry team.


13   Psychiatrists should play a significant role in the leadership of the mental health
14   department, given their greater knowledge and broader expertise. The current situation
15   with psychologists being in charge has clearly been a disaster. CDCR mental health must
16   have psychiatry executives. Currently there are zero, and none are considered eligible.
17   This is perverse and harmful.


18   Psychiatrists in the system should be hired by psychiatrists rather than by psychologists
19   who, in CDCR, appear to literally choose the candidates who will defer to them rather
20   than those who are the best. In CDCR (though not in other systems I have worked),
21   psychiatrists and other medical doctors are more likely to pick the best candidate than
22   psychologists are.




                                                                                                   125
 1   Psychiatrists should be clinically in charge of patient care individually and globally in
 2   accordance with their legal obligations and greater clinical knowledge.


 3   Psychiatry is a medical field and should be treated as such.


4    Hospitals should be run by doctors and those who listen to doctors’ clinical opinions
 5   about how things should be run. Reinventing the wheel with spokes missing and strange
6    additions, as CDCR has done, hasn’t proved successful.


 7   Basics before frills. Without the basics, frills are the icing on a mud pie. First get the
8    basics of safe patient care in place. Nothing works without that. Patients need to see their
9    doctor when the doctor says he or she needs to see them. Medical orders must be
10   followed. Medications, etc., must be administered as ordered. There must be handoffs.
11   There must be communication. Medical orders must not be given by psychologists.
12   Medical orders must not be overridden by custody or anyone else other than another
13   medical doctor. More vocational nurses, social workers and custody officers, fewer
14   psychologists.


15   The EHRS needs to be a lot easier and less time consuming to use. This won’t happen
16   unless psychiatric physicians are involved in designing the workflow they use. There need
17   to be clinics where general medical physicians, psychiatric physicians, doctors, nurses,
18   and therapists c0mingle when they see patients. If that cannot exist given the current
19   physical structure of our institutions, at the very least psychiatric physicians should have
20   assigned offices in which they can see their patients, like other physicians do in CDCR.


21   The CDCR Department of Mental Health should offer regular psychiatric continuing
22   medical education and be staffed to do that, so that psychiatric continuing medical



                                                                                                  126
 1   education is offered at least monthly. These conferences should be for psychiatrists, but
 2   they could be open for all too.


 3   Telepsychiatry is a useful method of care. The telepsychiatrist must have the authority to
4    insist that care be provided by an onsite psychiatrist if in the telepsychiatrist’s medical
 5   judgement a given patient needs onsite care. For example, some patients need regular
6    physical exams to judge a neurological condition, and unless someone onsite is reliably
 7   available to do those exams for the telepsychiatrist, the case may not be a good candidate
8    for telepsychiatry. Telepsychiatrists’ medical judgement about whether or not particular
9    cases are appropriate for telepsychiatry must not be overruled. Telepsychiatrists should
10   operate from regional hubs in California so that appropriate supervision and training can
11   occur. Psychiatrists from, for example, Pensacola, Florida or somewhere in the United
12   States, have no idea the conditions in our prisons and it would have been disastrous for
13   that to have been allowed to proceed, as was attempted with even advertisements placed.


14   Enough telepsychiatry staff psychiatrists should work at night to fully cover all of our
15   institutions every night throughout the year. This cannot be done with the ten proposed
16   to the court. At least 25 are required.


17   When, following a doctor’s medical judgement, a judge orders that a patient needs forced
18   medications, that should happen without delay. The current situation in CDCR in which
19   custodial officers sometimes refuse to facilitate the judge ordered forcing of the
20   medications on the grounds that to them the patient seems calm, is absolutely
21   unacceptable, medically dangerous, and should never happen. Medication forcing isn’t
22   necessarily anything to do with a patient’s visible level of agitation. Custody should be
23   mandated to facilitate such orders without delay.


24   We need to work to create a collaborative culture in which the different disciplines work
25   together rather than in opposition. When there is good collaboration between clinicians
                                                                                           127
 1   and custody for example, patients get to their appointments, and thus get treated, and
 2   thus get better, which makes life better not just for the patients themselves but for
 3   clinicians and custody. Inmate patients left suffering, untreated, are much more likely to
4    act out than when they are being treated and stable. Having custodial officers individually
 5   speak with the psychiatric physician when a patient won’t come to an appointment is a
6    good way of beginning to create collaboration between those ultimately working together
 7   to keep the public safe.


8    To combat illicit drug use in our system, instead of spending a fortune on medications
9    aimed at combatting such drug use, CDCR should take much more care to prevent illicit
10   drugs entering the prison system, and to prevent medication diversion. Careful drug
11   interdiction programs are needed and more of them. When patients are leaving prison,
12   there is an increased risk of narcotic overdose. Only at those times (and when patients in
13   prison frequently overdose), injectable (and very expensive) medications should be used
14   to decrease the risk of overdose. Moreover, self help drug recovery programs such as NA
15   and AA, and non religiously based programs such as SMART recovery, are virtually free,
16   are effective, and should be far more aggressively encouraged than they are in CDCR
17   currently. The absence of several varieties of self help groups for drug and alcohol abuse
18   in a prison is nearly an emergency.


19   None of CDCR’s challenges are insurmountable.


20   I close with Dr.            comments about his experiences working for CDCR. He is the
21                              of the Salinas Valley Psychiatric Inpatient Program formerly the
22   Department of State Hospital program that has now been taken over by the Department
23   of Corrections in the “Lift and Shift”:




                                                                                              128
 1   “Dear Dr. Golding,

 2   I am writing to you in order to consolidate my thoughts about the
 3   psychiatry/psychology problem in CDCR and to communicate them to you so that
4    you can best be informed in your position of great responsibility. In my experience
 5   you have always been strongly supportive of a civilized, dignified and respectful
6    relationship with psychology. In writing this problem and even speaking of it, I find
 7   myself not feeling completely comfortable doing so. Having worked with
8    psychologists for the 30 years since graduating from medical school in multiple
9    settings has given me quite an appreciation for the specialty as well as most of the
10   people in it.


11   However the culture I have discovered and experienced since the “Lift and Shift” has
12   rattled me and given me pause when I consider my future career if such an
13   environment is allowed to continue. I have always valued my collegial relationships
14   with psychologists over the years and continue to in the PIP. What causes me
15   significant dysphoria is the apparent attempt to have psychology be in a position of,
16   frankly, medical equality with psychiatrists as well as clinical authority over
17   psychiatry. This is anathema to me.


18   While psychologists receive a wide variety of training they fail to meet the standard of
19   medical training by a long shot of what physicians and psychiatrists receive. In fact,
20   psychiatrists have received far more widespread and in depth training overall than
21   psychologists particularly when you consider that very few if any of them would even
22   have the necessary prerequisites to take the MCAT, much less to go to medical
23   school. Despite this I have experienced and continue to experience them as valuable
24   members of the treatment teams as well as leadership. In the “real world” outside of
25   CDCR you will barely find one psychologist on staff of inpatient psychiatric programs
26   which is a reflection of their ability to perform in the setting.

                                                                                            129
 1   Since the “Lift and Shift” was announced I have been apprehensive as a result of
 2   knowing from both a personal as well as professional level that “things are different in
 3   CDCR. Psychologists are in charge and using psychiatrists as mere consultants.
4    Psychologists run the teams, make the diagnoses and determine the direction of care
 5   for the patients.” These are things I have heard repeatedly from psychiatrists
6    numbered in the double digits over the years many of whom had previously worked
 7   in CDCR and left for that very reason. Since the “Lift and Shift” we in SVSP PIP have
8    lost a total of 9 psychiatrists and each and every one of them has listed this
9    eventuality as one of the reasons for their departure from CDCR. I personally
10   experienced this 4 years ago when I applied, interviewed and was offered the position
11   of                   for SVSP CDCR. I accepted but prior to a walk though tour I was
12   baited and switched.


13   Initially I was told during the interview that I would report to the CEO. Later an
14   administrative psychologist told me that I would report to the Chief Psychologist,
15   that psychiatrists were consultants, psychologists ran the teams, made the diagnosis
16   of the patients and we were expected to follow that. I was also told that psychiatrists
17   would have to get over the “sibling rivalry” with psychology in order to work in that
18   model. I was shocked but maintained my composure and began to query how that
19   might work as well as wondering out loud how they had managed to subvert the
20   community standard medical model as well as the rationale for it. Instead of being
21   given a professional answer to a reasonable question, the psychologist with whom I
22   was speaking became angry and told me I would just have to decide if I could do it or
23   not. I said okay and planned to take the tour the next day. The next morning I went
24   to my front door after the bell had rung and was handed a certified letter stating that
25   the offer had been rescinded because I had said that I could never work under a
26   psychologist. I had never said that or even implied it. I then tried to contact the
27   administrative psychologist and the        but was unprofessionally treated with no


                                                                                           130
 1   response whatsoever. I then proceeded to apply here in SVSP DSH and remain here 4
 2   years and 2 months until now.


 3   I chose to stay here once the Lift and Shift occurred despite my apprehension
4    ignoring the advice of all of my psychiatrist colleagues because I love the work, the
 5   challenge, the patients and the employees. However recent events have proven me
6    wrong as the further and constant creep of micromanagement particularly from
 7   psychologists via policy meetings, CCATs for no good reason as well as important
8    meetings that occur that make and create important changes in the system not only
9    without my presence but also without the presence of any psychiatrist. I even had the
10   displeasure to have to participate in 3 CCATs over a 2 week period on one of our
11   patients who was in dire straits medically before I could get the proper physicians on
12   the phone in order to give direction about the proper LOC as well as care. Once that
13   happened we followed their direction and the patient suffered a perforated bowel
14   that very day. He could have easily died had that happened in the PIP while he was
15   sleeping.


16   My biggest fear is that this will/has become the new normal. A system of mental
17   health dominated by unqualified persons who do not know what they don’t know,
18   cannot be told that as they perceive it as insulting and continue to make critical
19   decisions in that state of ignorance. I fear a disaster coming if this is allowed to come
20   to fruition. One wonders if psychologists in administration question whether this
21   structure and culture might be one huge part of why CDCR has not been able to get
22   out from under the Special Master. Frankly, since the Lift and Shift I believe that is
23   the exactly the reason why it has not occurred. Irrational, misinformed and ignorant
24   decisions are made one after another in rapid succession in a bullying manner.


25   Most recently there has arisen the issue of psychologists “scope of practice” including
26   admission, discharge, seclusion and even restraints, which it turns out is completely
                                                                                         131
 1   de novo.xxiv It does not exist in their training or licensure requirements. There is no
 2   basis for it in law, precedent or the wishes of stakeholders other than psychology.
 3   This is all made up out of nothing by psychology to assist them in their economic
4    survival and hoped for ongoing dominance in CDCR. This has nothing to do with
 5   what is best for patient care. Society and the law have over millennia decided that 3
6    classes of persons are allowed to take control over another human being’s body under
 7   certain circumstances. Those are law enforcement, nurses and physicians. That does
8    not included psychologists.


9    I had an occasion to talk with an administrative psychologist recently and informed
10   her of my thoughts and feelings about all of this. I told her that I would never take
11   clinical direction from a psychologist ever because they are not qualified to do so. She
12   became visibly angry and told me that basically I was wrong, psychologists and
13   psychiatrists are the same. In addition she said that psychiatrists should be beneath
14   psychologists because we are lazy, don’t work as hard as psychologists, are not willing
15   to do the dirty work that psychologists are willing to do, behave poorly and are not
16   willing to discipline ourselves.


17   Stunned, I thought “this is prejudice…bigotry.” I couldn’t believe it and decided in the
18   moment that I would leave CDCR. Since then I have cooled and received sage advice
19   from multiple corners and have struggled to stay. This is important. It is a huge
20   problem. This culture is wrong and to run away is to flee doing the right thing. I
21   realize that staying and fighting involves risk for me. I was told by this same
22   psychologist that I should not think this way or express it otherwise I would not rise
23   in the system and people would not like me.


24   What she didn’t know is that this is not important to me. What is important is the
25   right thing. I do not believe that psychologists have taken the Hippocratic Oath or
26   anything like it. This is very important to me and I take it very seriously. Above all, do
                                                                                             132
 1   no harm. Allowing psychologists to succeed in this purely selfish and unnecessary
2    endeavor is to do real harm to the system and patients. It is highly likely that the
3    catastrophic patient outcomes will make the Coleman Commission stay longer not
4    leave sooner. There will be more conflict between the disciplines, not less. CDCR will
5    continue to have a psychiatrist retention problem, even worse than we do now.


6    I sincerely appreciate and support your efforts to improve the system for the benefit
7    of the patients we serve.


8                    , M.D.
9                      ,
10   Psychiatric Inpatient Program
11   Salinas Valley State Prison
12   California Department of Corrections & Rehabilitation”




                                                                                            133
1   Appendix 1

2   See 2018 08 15 1352hrs (screenshots of the Dashboard, with explanation of the errors).




                                                                                             134
 1   Appendix 2

 2   (For this report including screenshots and other evidence, see 2018 09 04 1600hrs)


 3   Psychiatry Indicators and Biases


4    Timely Psychiatry Contacts


 5      1. Biases due to measurement:
6              a. Measured in weeks, rather than on time versus late. This causes significant
 7                bias towards inflating compliance.
8                     i. E.g. an Enhanced Outpatient Program (EOP) patient had a
9                        psychiatry appointment on Monday, 8/13/18, and their next
10                       appointment wasn’t until Friday, 9/21/18. They were due to be seen
11                       by 9/12/18 (per Program Guide rules), so are 9 days late, but due to
12                       compliance being measured by weeks, there are four weeks of
13                       compliance and one week of non compliance, which is then reported
14                       as 80% compliant. If you have 100 patients, 50 of whom are seen on
15                       time, and 50 of whom are seen late by one week, the reported Timely
16                       Psychiatry Contacts compliance rate will be 90%. It would be very
17                       easy to think that the 90% compliance rate meant that 90% of the
18                       patients were seen on time, when in actuality only 50% were.
19             b. The clock resets when patients transfer.
20                    i. E.g. a Correctional Clinical Case Management System (CCCMS)
21                       patient had a psychiatry appointment on 3/5/18, and was due to been
22                       seen again by 6/3/18 (90 days later). However, the patient transferred
23                       to a different CCCMS institution on 5/25/18. Instead of requiring that
24                       the patient still be seen by 6/3/18 (to comply with the Program Guide

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 1             rules), and reporting it as late if it occurs after 6/3/18, this indicator
 2             resets the clock to the date of transfer, and only reports the
 3             appointment as late if it occurs more than 90 days after transfer. In
4              this example, the patient could go 172 days (from 3/5/18 to 8/23/18)
 5             without seeing a psychiatrist, and still be counted as compliant.
6    c. Physician orders for follow ups prior to maximum time per Program Guide
 7      are ignored by this indicator.
8           i. E.g. a CCCMS patient has a psychiatry appointment on 3/5/18, and
9              the psychiatrist is concerned about him, so orders a follow up
10             appointment for three weeks later. This appointment was scheduled
11             but cancelled due to custody, or was refused, or did not occur for any
12             number of reasons, and the patient was not seen again until 6/2/18.
13             This indicator counts that appointment as compliant, because it
14             occurred within 90 days, despite the appointment being 68 days late
15             based on the psychiatrist’s clinical judgment, and order, that the
16             patient needed follow up within three weeks.
17   d. Sixty percent of psychiatry supervisors see patients (per our polling data),
18      due to staffing shortages. The compliance numbers in this indicator are
19      presented as having been obtained by line staff alone, and are used to
20      determine psychiatry staffing needs. This both results in an underestimate
21      of staffing needs, and in supervisors being unable to do necessary
22      supervisory work due to having to compensate for the line staff shortage.
23   e. In December 2016 the indicator was inexplicably changed to count EOP
24      appointments as timely if they occurred within 45 days of the prior
25      appointment, despite the Program Guide rule that EOP psychiatry
26      appointments must occur at least monthly. This significantly inflated the
27      compliance percentages statewide, and allowed for an inaccurately
28      favorable report to the court in March 2017. The indicator was not fixed
29      until this change was discovered by the psychiatry team in March 2017.
                                                                                       136
 1   Appointments seen as scheduled


 2     1. Biases due to measurement:
 3           a. The definition of this indicator states that it measures “All scheduled
4               appointments”, but in actuality it only includes appointments that are
 5              coded as Seen, Cancelled due to ProviderUnavailable, Cancelled due to
6               ModifiedProgram, or Cancelled due to TechnicalDifficulties (see snip titled
 7              Appointments seen as scheduled). It excludes Refusals, No Shows, and all
8               other cancelled appointments, which account for approximately half of all
9               scheduled appointments.
10                  i. E.g. the Appointments seen as scheduled indicator reports that 95%
11                     of mainline CCCMS appointments in CDCR in February 2018 were
12                     seen as scheduled. (see attachment CDCR CCCMS appointments
13                     seen as scheduled) However, per the Appointments report, in
14                     February 2018 in mainline CCCMS, there were 84,120 mental health
15                     appointments, 35,642 of which were seen (see Excel spreadsheets
16                     titled CDCR CCCMS all appointments in February 2018 and CDCR
17                     CCCMS completed appointments in February 2018). Thus the
18                     percentage of appointments that were seen as scheduled was 42%,
19                     not 95%.


20   Timely MH Referrals


21     1. Biases due to measurement:
22           a. Only measures the referrals that were ordered, not all of the referrals that
23              occurred, or should have occurred. Ordered referrals are much more likely
24              to be completed and done on time than are referrals that should have been
25              ordered but weren’t.


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 1   i. E.g. on 8/3/18 at CHCF, 225 patients were flagged as non compliant
 2      with their psychiatric medication (meaning they refused 50% or
 3      more of their psychiatric medication in a week, or refused three
4       consecutive days of psychiatric medication, or refused one dose of a
 5      critical psychiatric medication). Each of these patients is supposed to
6       be seen by a psychiatrist to discuss their medication non compliance
 7      within seven days, or within one day for refusal of a critical
8       medication. However, during the entire month of August, there were
9       only 17 medication non compliance appointments scheduled at
10      CHCF 10 were seen, 7 were cancelled. The cancelled appointments
11      were excluded from the Timely MH Referrals measurement, with the
12      exception of one cancelled appointment that was counted as
13      completed, despite never having occurred. Additionally, two refused
14      appointments were counted as completed, and one seen
15      appointment was counted twice, so the compliance was recorded as
16      12/12, or 100% for the month of August (see CHCF August Timely
17      MH referrals screenshot). In actuality, 225 patients required follow
18      up for medication non compliance on a single day in August, and
19      only 8 patients (12 minus the appointment that was counted twice,
20      minus the cancelled appointment that was counted as completed,
21      and minus the two refused appointments) in the whole month of
22      August had a completed medication non compliance consult. If we
23      use these numbers (8 out of 225), the compliance percentage is 3.6%.
24      However, if the entire month of August is included     not just a single
25      day   this compliance percentage would be much lower.
26   ii. E.g. for the month of July at CSP Sacramento, there was one urgent
27      MHMD consult, two emergent MHMD consults, and three routine
28      MHMD consults (see snip titled SAC Timely MH referrals). It is
29      unlikely that there were truly only three routine MHMD consults in
                                                                             138
 1                    a month at an institution with such a large mental health
 2                    population. The far more likely scenario is that most routine MHMD
 3                    consults were “ordered” by psychologists or social workers via
4                     stopping by the psychiatrist’s desk, calling them on the phone, or
 5                    emailing them, rather than placing an official order (see email from
6                     Dr. Golding titled “FW: MHMD emergent consults”). This prevents
 7                    an institution from having a low compliance rate despite insufficient
8                     psychiatry staffing to complete these consults, because these
9                     consults will not be measured by the indicator. Compare this to an
10                    institution with sufficient psychiatry staffing   at San Quentin during
11                    the same month there were 32 routine, 11 urgent, and one emergent
12                    MHMD consults (see snip titled SQ Timely MH Referrals).
13         b. Excludes most cancelled appointments, and counts refusals as “completed”.
14             As described in “Appointments seen as scheduled 1 a” above, all cancelled
15             appointments, except those coded as ProviderUnavailable,
16             TechnicalDifficulties, and ModifiedProgram are also excluded from this
17             indicator’s calculations.
18   2. Biases due to lack of knowledge:
19         a. Many psychiatrists appear to not know about the medication non
20             compliance appointment order in EHRS, or are not aware of the
21             requirement to see patients who have been flagged for medication non
22             compliance. If all psychiatrists had this knowledge, and placed a medication
23             non compliance appointment order for every patient flagged as non
24             compliant, there would be thousands of medication non compliance
25             appointments statewide per month. Psychiatry staffing is not sufficient to
26             complete all, or even most, of these appointments, so the percentage of MH
27             referrals completed on time would significantly decrease.




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 1      3. Biases due to random error:
 2             a. Medication non compliance appointments may be ordered erroneously as a
 3                 psychiatry follow up appointment, and thus not captured by this indicator.
4                  Also, as mentioned above, mental health referrals may be communicated to
 5                 the requested provider verbally and an order never placed in EHRS, despite
6                  knowledge of the process and intention to place an order. In both of these
 7                 examples the appointment is less likely to occur when there is no official
8                  order, due to a number of factors, including the increased likelihood of the
9                  provider forgetting, the provider having limited time and triaging some of
10                 these appointments as less important, and there being less pressure from
11                 supervisors on the provider to complete the appointment in a timely
12                 manner to improve the indicator results.


13   Appointment confidentiality


14   There is an indicator for “Group treatment in a confidential setting”, but not for
15   psychiatry appointment in a confidential setting. However, this is an important indicator
16   of quality care, and should be one of the measured indicators. Currently, there is no easy
17   way to determine the percentage of psychiatry appointments at a given institution or
18   level of care that were confidential, but it is possible to use the Appointments report to
19   check on whether individual appointments were recorded as confidential or non
20   confidential, count all of the confidential appointments in the population of interest, then
21   divide by the total number of appointments in order to get a percentage. This is time
22   consuming, but more importantly it is inaccurate, due to the following biases.


23      1. Biases due to measurement: In the Electronic Health Record System (EHRS),
24          confidentiality is recorded in a drop down menu on the appointment check out
25          screen. The default value is “Confidential”, thus if the provider does not change
26          this selection, all appointments are recorded as confidential. If an accurate
                                                                                                  140
 1        measure of confidentiality was desired, this drop down menu would default to
 2        NULL (no selection), and it would require the provider to change the selection to
 3        either confidential or non confidential.
4      2. Biases due to lack of knowledge: If a provider does not know how to record an
 5        appointment as non confidential, it is recorded as confidential (due to #1 above).
6            a. E.g. in the MHCB at CCWF, the psychiatrists reported that all routine
 7               psychiatry appointments are conducted in the patient’s cell, not in a
8                confidential treatment room, thus 100% of the routine appointments are
9                non confidential. All of the psychiatrists stated they did not know how to
10               record an appointment as non confidential. Per the Appointments report,
11               there were 96 completed psychiatry appointments in CCWF MHCB in May
12               2018, 100% of which were recorded as confidential.
13     3. Biases due to random error: Even if a provider knows how to record an
14        appointment as non confidential, if they forget, or are in too much of a hurry, to
15        change the drop down menu to non confidential, it is recorded as confidential.
16           a. E.g. in the MHCB at CHCF, the psychiatrists reported that all routine
17               psychiatry appointments are conducted cell front, not in a confidential
18               treatment room, so 100% of the routine appointments are non confidential.
19               All of the psychiatrists stated they knew how to record an appointment as
20               non confidential. Per the Appointments report, there were 289 completed
21               routine psychiatry appointments in CHCF MHCB in May 2018, 31% of which
22               were recorded as confidential.


23   Diagnostic Monitoring (Medication Administration Process Improvement
24   Program)


25     1. Biases due to measurement:
26           a. Until June 2018, this indicator ONLY measured whether annual labs and
27               tests were done. MAPIP guidelines mandate obtaining baseline, 3 month,
                                                                                               141
 1      and annual labs for antipsychotics (except Clozapine) and mood stabilizers,
 2      obtaining labs within 14 days of increasing the dose of mood stabilizers, and
 3      obtaining baseline, 3 month, and annual weight/height and blood pressure
4       for antipsychotics and Clozapine. However, until June 2018, the indicator
 5      monitoring compliance with these guidelines did not even measure
6       whether baseline, 3 month, or dose increase labs and tests were done. It
 7      only checked to see if annual labs and tests were done, and reported 100%
8       compliance if the annual lab draw and tests occurred (see Memorandum
9       dated 7/3/2018).
10          i. E.g. A patient is prescribed an antipsychotic, and has labs, a blood
11             pressure measurement, and his weight obtained 8 months after
12             starting the medication, but had no tests or labs done at baseline or
13             3 months. This indicator reports that this patient is 100% compliant
14             with MAPIP, despite being only 33% compliant. This is very
15             misleading, but more importantly it is dangerous and poor care. If
16             his blood pressure is elevated, he is morbidly obese, and his fasting
17             lipid levels are critically high at 8 months, we have no idea whether
18             those problems were all present prior to starting the antipsychotic
19             in which case we likely would not have started the medication        or
20             occurred within the first few months after starting the medication
21             in which case we would likely have stopped it after obtaining the 3
22             month test results. Failing to obtain these labs and tests can lead to
23             permanent organ damage or death.
24   b. Until June 2018, it counted annual labs and tests as completed if the patient
25      had the relevant labs and tests done at any point within a year of starting
26      the medication. Since June 2018, it still counts annual labs and tests as
27      completed if the patient had the relevant labs and tests done between 91
28      and 365 days after starting the medication. The baseline, 3 month, annual,
29      and after dose increase criteria for obtaining labs and tests is not arbitrary.
                                                                                      142
 1      It was created by physicians, per their clinical judgment of the minimum
2       monitoring necessary to maximize patient safety. Therefore, measuring
3       whether the required tests were done at any point within a year or at any
4       point from 91 to 365 days after starting the medication not within limited
5       periods around the baseline, 3 month, annual, and dose increase time
6       points is inappropriate, and leads to falsely elevated compliance.
7    c. Until June 2018, it excluded patients who were not on the same medication
8       class for the whole year. This inflated MAPIP compliance, because these
9       patients were less likely to have had the required labs and tests, due to the
10      provider not having had an entire year during which to have ordered labs
11      and tests.




                                                                                    143
 1   Appendix 3

 2   Summary of Performance Report Errors


 3   Please see the CDCR Mental Health Performance Report from 5/1/18 to 5/31/18. (2018 08
4    15 1352hrs)


 5   Timely MH Referrals “92%” (see page 1 of 2018 08 15 1352hrs)


6    This report is biased and reports over compliance. It only measures those referrals that
 7   are ordered and skips all referrals that are not ordered, but occurred, or should have
8    occurred within a timeframe. “Timely Mental Health referrals” is a composite measure
9    that includes multiple referral types, including referrals for consultations with
10   psychiatrists when patients were non compliant with a certain percentage of their
11   medications. At large institutions like CHCF there are hundreds of medication referrals
12   that don’t get seen in a month (see page 2 of 2018 09 04 1500hrs), though meet the policy
13   criteria for needing to be seen (see Appendix 2 and also 2018 09 04 1600hrs).


14   If the referrals that were supposed to be seen as mandated by policy, and not just those
15   referrals that were turned into orders were counted, the compliance percentages recorded
16   would be dramatically lower for the composite measure of timely mental health referrals.
17   Extremely conservatively estimating at CHCF, the timely MH referrals would be 55% (see
18   page 2 of 2018 09 04 1500hrs), not 100% as reported. At other institutions, the overall
19   performance percentage would also be significantly reduced and so would be nowhere
20   near the markedly exaggerated 92% figure reported above. It’s just an incorrect figure
21   (with all of these, the psychiatry leadership team is not allowed to search the databases to
22   report precisely, so we do what we can to determine whether our patients are getting the
23   care they need). Psychiatrists are not seeing the consults they are supposed to see in the
                                                                                               144
 1   timeframe they are supposed to see them, though it is falsely reported that they are (“92%
 2   compliance”). It is very likely less than 50%. This report is grossly biased.


 3   Appointment Cancelled Due to Custody “2%” (see page 1 of 2018 08 15 1352hrs)


4    In general, providers don’t know why patients don’t come to appointments and figuring
 5   out whether custody was busy doing other important activities, rather than bringing
6    patients, is not something that is known by the provider when the patient does not come.
 7   Arguably, many of the patients that did not make it to Dr.            (see 2018 07 18 R) at
8    SAC were cancelled due to custody, but recorded as patient refusals or no shows. The
9    patients were brought in batches and when patients missed what is called the “train”
10   (custody bringing a group over), the patient missed his appointment. Most appointments
11   are listed as “CancelledUnspecified”, because the provider does not know or does not
12   select an outcome, which likely means this report very much underestimates the
13   appointments that did not come due to custodial reasons.


14   In fairness, it would be tough to design a measure which captures this, which is why it
15   does not make sense to have it on the Performance Report. It is not easily or accurately
16   measured, except that the default (not selecting it because of no knowledge of it) leads to
17   low reports of appointments being cancelled by custody, but the measurement actually
18   doesn’t mean much unless there is a way to figure out the far higher percentage of
19   patients who were not brought because of custodial competing obligations. Our
20   scheduling system in the CDCR mental health system is so broken (only 40% 45% of
21   appointments occurring as scheduled see the section beginning on page 35 about this),
22   that it is very inefficient for custody to devote large numbers of resources to get patients
23   to appointments, because often they can’t determine which patients will be coming or not
24   or at which time (because patients are not seen as scheduled).




                                                                                                   145
 1   Diagnostic Monitoring “95%” (see page 1 of 2018 08 15 1352hrs)


 2   That is not accurate, as explained in the section on drug monitoring. The MAPIP
 3   methodology changed in July 2018, after this 95% was recorded in May 2018. The new
4    measure more accurately captures current MAPIP results for compliance in the 70% to
 5   85% range, but doesn’t measure whether psychiatrists are checking blood levels when
6    they change the dose of medications, which is the most difficult of the measurements to
 7   get. Consequently, the figures being reported now are still likely reporting overly high
8    values. These values were wrong for years and falsely reported to the court in 2017.


9    Timely PC contacts “97%” (see page 1 of 2018 08 15 1352hrs)


10   This is too high because the clock resets when patients transfer institutions. It also is
11   potentially misleading for those who don’t understand this calculation, if it is thought to
12   be a measure of whether patients are seen on time (zero percent of patients could be seen
13   on time for a 97% patient weeks compliant report). 97% is a “percent patient weeks
14   compliant” measure, which overestimates whether patients are seen on time. See 2018 09
15   04 1600hrs for a description of why that is so.


16   Timely Psychiatry Contacts “93%” (see page 1 of 2018 08 15 1352hrs)


17   This is incorrect for many reasons:

18   A. The clock resets when patients transfer institutions, so up to six months between
19   patient visits could be a compliant time frame in CCC (rather than three months) and up
20   to two months becomes a compliant time frame in EOP, rather than one month. If a
21   patient transferred institutions more than once, appointments up to nine months later
22   could be considered compliant. This bias led to false reports to the court in 2017 and 2018
23   in the staffing plan.

                                                                                                 146
 1   B. It measures percent patient weeks compliant (see above) which is an overestimate of
 2   whether patients are seen on time.
 3   C. It conflates business rules with patient need for timely care. If the patient needs to be
4    seen (say at the CCC level of care) and the physician orders the patient to return back
 5   urgently in one week because the Program Guide and professional ethics require that
6    patients be seen when they need to be seen      yet that patient is then seen eleven weeks
 7   late, the QM report will not count this appointment as even one day late. If the patient is
8    seen more frequently than a mathematical minimum frequency, any patients who need to
9    be seen more frequently than that to get at least adequate care will not be thought to
10   have any late appointments, even if the needed appointment is critical. So this measure
11   reports on whether patients are being seen on time, except if they urgently/more
12   frequently need to be seen. Since all of these late appointments aren’t counted for our
13   thousands of patients, this measure is biased and falsely elevated. (This bias also inflated
14   the numbers sent to the court in 2017 and 2018 in the staffing report.)


15   Note that both the measure of whether psychiatrists are seeing patients in consultation
16   (“Timely Referrals” from others) and when they are supposed to medically (Timely
17   Psychiatry Contacts) within a minimal Program Guide determined frequency are
18   reported in a potentially significantly biased way. To the extent that there is inadequate
19   psychiatry staffing (or inadequate ability to get patients to psychiatric clinics) these
20   measures will be low and we don’t know how low they are. The psychiatry team is not
21   authorized to calculate these measures, so we can’t precisely know where and when
22   patients are getting inadequate care because they are not being seen when they need to
23   be. To the extent that patients being seen when they need is a determinant of adequate
24   psychiatric staffing and program organization, at the very best whether this is occurring is
25   not known.




                                                                                                147
 1   Appointments Seen as Scheduled “92%” (see page 2 of 2018 08 15 1352hrs)


 2   Quoting Dr.           :


 3   “The denominator is defined as ‘All scheduled appointments”, however QM excludes all
4    cancelled appointments, except those cancelled due to ProviderUnavailable,
 5   TechnicalDifficulties, or ModifiedProgram. Approximately half of all scheduled
6    appointments are cancelled due to a reason that is not included by this indicator (see
 7   section on Appointments Seen as Scheduled in the body of this), which makes the true
8    Appointments Seen as scheduled percentage closer to 50%, not 90+%”


9    So to make this indicator right, approximately cut it in half or a bit more. So the indicator
10   is also grossly wrong. These values falsely report to our Coleman monitors about 2x the
11   actual value. We could actually fix institutions if knew that at SAC for example 22% of
12   patients were being seen as scheduled. We could focus on the problem, rather than doing
13   nothing because of the high reports.


14   Group Treatment (see page 3 of 2018 08 15 1352hrs)


15   This is an indicator for group treatment being conducted in a confidential setting, but not
16   for psychiatry appointments. Had they reported on that, the report would be biased. The
17   system defaults to counting appointments as confidential and thus when psychiatrists
18   don’t know how to record the appointment as confidential (and even when they do and
19   are hurried) we have documented repeated biases and elevations. For example, in the
20   CCWF crisis bed, 100% of appointments are reported as being seen confidentially, but
21   actually none (0%) are.




                                                                                               148
 1   Treatment Cancelled (page 3 of 2018 08 15 1352hrs)


 2   Dr.           says: “Instead of giving a straightforward percentage of the treatment that is
 3   cancelled (e.g. if there are 100 appointments and 30 were cancelled, this indicator would
4    show 30%.) The numerator is defined as “Number of patient weeks included in the
 5   denominator during which the following number of hours of treatment were cancelled.
6    More than 3 for ASU EOP Hub. PSU EOP, and ML EOP. More than 1.5 for RC EOP and
 7   ASU EOP non Hub. More than 1.0 for SRH/LRH CCCMS.”


8    With a sufficient number of convolutions in one’s calculations one can make any number
9    become any other. As an absolute value, the number 19% in this context is absolutely
10   meaningless. The reason is that arbitrary numbers like “3”, “1.5”, and “1”, with arbitrary
11   assignments to levels of care, could be changed to cause the “Number of Patient weeks
12   included during the denominator” to cause any overall percentage that is desired.
13   Measurements that are arbitrary are meaningless because the definition can be changed
14   to create any value at all. We know from the scheduled appointments that an extremely
15   high percentage of appointments are cancelled and refused. That answer (what number of
16   100 appointments were cancelled or refused or both) needs to be in the Treatment
17   Cancelled part of the Mental Health Performance Report.


18   Treatment Refused (page 3 of 2018 08 15 1352hrs)


19   If there are 100 appointments and 40 are refused, then 40% are refused. Instead, we get a
20   whole new set of arbitrary numbers (relative to the cancellation report above) to get the
21   value recorded to be “24%”. There is more “Number of patient weeks” verbiage included,
22   but unlike the cancelled appointments, we get the new words, “50% of all offered
23   treatment was refused AND less than the following hours of treatment were attended. “5”
24   for ASU EOP Hub, PSU EOP, and ML EOP, less than “2.5” for RC EOP and ASU EOP non
25   hub, and “less than 1” for STRH CCCMS and LTRH CCCMS.” With access to the
                                                                                                  149
1   databases, our psychiatry team could make these percentages be anything by slightly
2   varying numbers like “50%”, “2.5”, “less than 1”. We know that huge percentages of the
3   patients refuse. It would be good to know where that happens more and where less, etc.
4   But all of this is utterly obscured by a creative measurement system that allows any
5   number to be created as the so called measured result.


6   Our QM psychologists are creating the semblance of scientific measurement, but doing
7   nothing of the kind, with false, misleading, and arbitrary reports of numbers that
8   allegedly mean something in these reports.




    i
        Note that the court has never been given a report as to whether our patients are seen on
    time. The court may be told about “patient percent weeks timeliness”, but never the
    percent of patients who are seen on time. There is a reason for that which will be
    explained later in the report.


    Suffice for now to say that our psychiatrists have developed an algorithm on a different
    platform for determining whether our patients are being seen on time. Were we
    permitted access to the database we could easily determine whether our patients are
    being seen for their appointments on time, etc., but unless an external reviewer with
    considerable power mandates that we be given that access, this information will continue
    to be denied us. We think the results would be quite helpful. But our psychologists and
                        determine what we are allowed to know. Underlying that problem is the
    fact that in CDCR psychologists with no medical training determine what is or is not
    medically relevant. This is a theme mentioned throughout this report.




                                                                                               150
ii
      Physicians determine what is a medial issue or not (and so do judges, after hearing
relevant testimony from medical experts). Psychologists can’t determine whether a set of
labs or physical findings creates a relevant medical issue that requires attention, as they
have no medical training.


iii
      There is a brief 15 minute “treatment team meeting” 14 days after a patient arrives at a
new institution (which would nonetheless be late in the hypothetical situation in the
body of this report, even if the treatment team visit counted as a psychiatric visit, which it
doesn’t). A group meets and a psychiatrist should be present, a psychologist or social
worker is present, representatives who understand the custodial issues are present, and
others come. This occurs so that the team (including the psychologist and other
participants) can help to make plans for the patient. At this time the psychologist will
have done a psychological assessment of the patient, but the patient will not have been
seen by a psychiatrist.


The reason a psychiatrist should do an assessment before the day 14 treatment team or at
least when the last physician who saw the patient ordered the patient to be seen, is
precisely to figure out what the patient needs medically. During the physician ordered
subsequent assessment (say because a lab is rising), the psychiatric physician should be
reviewing the labs and medications, interviewing the patient, physically/neurologically
examining the patient when necessary, and figuring out medically what the patient needs.
None of that occurs in a 15 minute treatment team.


When a patient is transferred from one institution to another, the physician at the
receiving institution doesn’t know the patient. The point of a psychiatric intake
assessment is not to get the kind of non specific, non medical assessment that a
psychologist does when presenting the patient to a treatment team for a few minutes,
                                                                                              151
otherwise psychological assessment and psychiatric medical assessment would be
identical.
No general medical physician would consider a psychologist’s assessment in a treatment
team meeting to be relevant in determining whether there are medical issues. Nor does a
psychiatrist, because psychologists cannot evaluate medical parameters like increasing
liver function tests. But it is even harder for a psychiatric physician than it is for other
medical doctors. The psychiatrist has to understand how changing medical parameters
can affect psychological states. For example, initiation of lithium can damage the kidney,
which can cause the lithium level to rise higher and higher because the lithium isn’t being
excreted by the kidney, which can damage the kidney even more. The ever higher lithium
level can then cause mental status changes which may prevent a patient from hydrating
properly and seeking medical attention to deal with the lithium toxicity. But to
understand any of this, the psychiatrist needs to check the lab value and interview the
patient. That’s what a psychiatric assessment is.


The reason physicians should do assessments before treatment teams is so that they can
know enough about the patient’s medical condition to participate in the team to guide
future treatment. A physician is not going to glean from a psychologist’s psychosocial
assessment (with the patient not even necessarily present at the treatment team) when a
patient might need to be seen, which is why it is dangerous for psychologists to overrule
medical doctors’ orders with respect to when patients should net be assessed by a
psychiatric physician.


Finally, as just mentioned, quite frequently patients don’t even come to treatment teams.
So the psychiatrist won’t see the patient at all and thus no assessment could possibly be
made.


If treatment teams substituted for psychiatric assessments, then we wouldn’t need the
psychiatric assessments, which the physician specifically ordered to occur at the time he
                                                                                        152
or she ordered it to occur.
iv
      This same                       told me that psychiatric physicians are not qualified (“in
CDCR”) to say that a psychiatric patient is medically OK for discharge from a crisis bed or
acute psychiatric hospital. (Then who is?) Often a general medical physician will not see a
patient for months in a long term hospital. If not the psychiatric physician, which
physician is saying the patient is medically and psychiatrically safe to leave when he or
she does? No one? In a sense the                           appeared to be saying that neither
psychiatric physicians nor psychologists can determine when a patient is medically
appropriate for discharge, except that psychiatrists are physicians and make that decision
every day in hospitals across the country.


v
     And we need this data to determine where institutions are having trouble getting
patients seen on time so we can move, or advocate moving, additional organizational or
staff resources to solve the medical problems of getting patients seen when they need to
be.


vi
      The EOP extra bias in which they increased the compliance timeframe from one
month to 45 days is no longer present in any calculations because the psychiatry team
was able to get that change reversed.


vii
       In some institutions the psychiatrist always “closes” his or her appointments. But in
institutions in which patient care is particularly difficult (see later report about my team’s
visit there), an OT or MA administratively helps to close out an appointment. Dr.
              is referring to that.


viii
       No doubt those defending this would claim that there is no problem. All that is being
reported is shown in how the calculation is done. For example, they could say that they
implicitly stated (in how the number was calculated) that refused appointments would 153
not be counted in the measurement of those who miss appointments, because it was not
included in the items said to be included in the calculation (in the screenshot, see 2018
07 30 2057hrs). But how many observers who have seen this Dashboard would think that
a calculation that is said to report about whether “ALL” scheduled appointments occur,
does not include multiple types of appointment that are in fact scheduled but don’t
occur. Using this reasoning, somehow, the refused but scheduled appointments are not
the right type of “ALL scheduled appointments” to be counted.


The very best interpretation is that the report is very misleading. Whatever the
explanation, one can be sure that virtually no one seeing a Dashboard report claiming
that 95% of patients scheduled for appointments come to their appointments, would
know that actually about 40 45% do. Since the purpose of measurement is to help people
gain understanding of reality, the measurement reported fails in that domain, because it
causes people to draw mistaken conclusions about what is occurring.


ix
     CDCR has never allowed psychiatric physicians to analyze the data to be sure, but I am
confident that this is the case, because CDCR has never counted an appointment as late if
it is ordered by a psychiatric physician to occur at a certain time and occurs late, but
within the maximum CDCR court defined interval. Thus, in the situation of reporting
“overdue” days to the court, CDCR would also very likely not allow such a physician
ordered appointment to be considered to have occurred a certain number of days late,
even when it was.


x
     Saying that on average an EOP patient needs to be seen five times in four months may
seem arbitrary. But we could, given access to the database, make a better estimate by
noting the interval that psychiatric physicians order for certain patients to be seen, when
they are writing for patients to be seen more frequently than minimum Program Guide
intervals. For example, patients who may have suicidal thinking, but with no intent or
                                                                                            154
plan, are often scheduled by psychiatrists to be seen once or twice a week for several
weeks at the EOP level of care. Psychiatrists may be checking in on their patients while
adjusting a medication or waiting for a medication to work, for example.


There is arbitrariness in my guess that an EOP patient may on average need to been 5
times over 4 months. But the CDCR assumption that patients require appointments only
once a month at the EOP level of care is clearly mistaken given that some patients do
need to be seen more frequently.


xi
      We, the psychiatry leadership team, wanted psychiatrists in the field to have to enter
information about the context of a given appointment in a pop up note, but we were
overruled by the psychology designers of the psychiatry workflows. Psychologists control
both QM for psychiatrists and the design of the EHRS psychiatric workflow, and have not
in general allowed psychiatric participation.


xii
      There are a few exceptions to this. When nurses schedule emergency consults at night,
the psychiatrist may actually complete the work in the evening, but do not have access to
the EHRS to document it. Also, routine appointments with psychiatrists need to be
“opened” and “closed” which can be tedious. So more recurrent appointments occur than
are said to have occurred. QM’s assessment of psychiatric productivity has suggested,
inaccurately, that psychiatrists were seeing only about 3.2 patients per day. (see 2018 09
24 productivity) The productivity measurement was thus biased and under reported
psychiatric productivity. When counting treatment teams, our manual calculations show
a very different number (around nine per day for our telepsychiatrists).


Overall the effect of the QM biases is such that it appears that psychiatrists are getting
more work done than they are (better MAPIP compliance with monitoring meds, more
confidential appointments, higher percentage of routine contacts seen timely, etc.) but
                                                                                        155
are seeing very few patients per day, like 3.2 according to the Dashboard (see 2018 09 24
productivity). This creates the false impression that the system has more psychiatrists
than are needed, as psychiatrists appear to see very few patients per day, and also appear
to be fully compliant, especially with “timely” appointments. But as I have pointed out in
a previous section, many actually late appointments are just not counted as late. For a
discussion of late appointments due to prioritizing recreation therapy groups over
psychiatry appointments, see 2017 11 21 1749hrs.


xiii
       Our psychology colleagues have insisted for years that psychiatrists use powerplans.
Powerplans schedule recurring psychiatry appointments at a preset interval
(approximately the maximum time allowed by the court). They thus discourage
physicians from making appointments with patients any time sooner than the maximum
court mandated intervals: see our                                   comment disparaging
medical scheduling orders sooner than the maximum intervals as “workarounds”. Our
                               responded that the Prisoner Law Office might not approve of
“OTs [the schedulers] deciding when to schedule the patients.” Our psychiatrists think
these powerplans make them less likely to see patients on time because instead of
scheduling an appointment after each visit, the psychiatrist has to remember when the
powerplan is expiring on each individual patient (or find that information, which takes
time). Also, appointments often need to occur sooner than the maximum Program Guide
intervals. Powerplans are also very time consuming to use, requiring many more clicks.
Our psychiatrists in fact use them less than 1% of the time for follow up appointments.
We have sent surveys to our psychiatrists, and they very much dislike them because of
their inefficiency.


Very recently, it was decided that CDCR will utilize a unified scheduling system for all
disciplines, which caused our                      to finally call a halt to our psychologists’
insistence that we use a scheduling tool that essentially is supposed to cause inflexible
scheduling of our patients, usually at maximum Program Guide intervals for months in
advance. Insisting on this seems most consistent with trying to force psychiatrists to        156

follow business rules rather than the clinical needs of the patient, as our psychiatrists
think it makes them less likely to see patients on time, because one can’t tell when the
powerplan scheduling has expired, unless by checking through orders.


xiv
       Our team notes that only very recently, as court hearings about staffing are about to
happen, have there been some moves to change procedures in line with some of the many
requests we have made that have been denied or ignored in some cases for years. All of
our leadership team worries, however, that after the staffing decision (when there is less
need to worry about vocal psychiatrists), things will return to normal (for example, lack of
access of psychiatrists to quality management tools or electronic health record tools).


xv
      Patients get credits off their prison sentence by attending groups, but just a fraction off
for attending psychiatry appointments, so they attend groups. Our team tried to prevent
that asymmetry, but failed.


xvi
       See for example How to stabilize an acutely psychotic patient, Current Psychiatry, 2012
December; 11(12):10 16 Hannah E. Brown, MD


xvii
       Current Psychiatry, 2012 December; 11(12):10 16 Hannah E. Brown, MD


xviii xviii
              “It had come to a point where the Supervising Psychologists in each program were
by proxy supervising the staff psychiatrist in that program. There was not a ‘team based’
approach in providing care. The therapist was donned the ‘primary clinician’ (formally so,
as the “PC” in the EMR) and made all the important decisions, without needing
agreement from the psychiatrist. This was even the case during IDTTs the ‘primary
clinician’ was the person who presented the case, spoke to the patient, and the
psychiatrist was asked only to speak when it was about medications. I can attest to at
least a hundred IDTTS I’ve been a part of as the psychiatrist and this was the only role I
                                                                                          157
was expected to play the prescription writer.
At CIW, in the one year period that preceded by becoming becoming                                 , no
psychiatrist had attended the pharmacy and therapeutics committee (a psychologist
                attended in the place of the                      ), no psychiatrist had attended
Licensed Inpatient committee, UM, QM, and perhaps most importantly, the Mental
Health Subcommittee. This can all be confirmed via meeting minutes. Psychiatrists had
not been involved, at all, in policy review for any of the programs outside of the PIP
(psychiatric inpatient program), even in the MHCB. In fact, nobody knew who the
Clinical Director of the MHCB was when I became                 . I asked the     , the
(                            , a non [psychiatric physician),        (                            )
and the           (Psychologist Executive [                           ]). The      thought it was
the previous                       , of the PIP,             , PsyD [psychologist] (it was not)
or perhaps the new acting                          I had appointed for the PIP,                    ,
MD (it was not). The           thought it was the                  it was not, he was the
            . Multiple policies in the MHCB refer to a “Clinical Director”, yet lo and behold,
nobody knew who that person was.


Finally, the designated “                             ”,              piped in and said that it
was the previous Supervising Psychologist,                      , but unofficially. And currently, I
asked? Radio silence. Why is this problematic? Here was a licensed inpatient psychiatric
hospital, being solely run by psychologists, and has been for at least three years.”


xix
      HQ psychologists adamantly deny that they have insisted that patients leave after ten
days or that the patients must go to particular levels of care.


xx
      Although the local psychiatrists and clinicians seem convinced that HQ psychologist
reviewers are pressuring them, those HQ reviewers who would be responsible for such
pressure deny it. Nonetheless as we tour the institutions, for whatever reason, the
                                                                                         158
psychiatrists, psychologists and social workers feel intense pressure to discharge patients
to the lowest levels of care at or before ten days.
xxi
       Psychiatric physicians can make mistakes, just as psychologists and others can, and
they can make rational decisions that nonetheless lead to bad outcomes. If psychologists
disagree with the psychiatric physician, they need to approach a psychiatrist’s medical
supervisor. This psychiatrist can then make the decision, write the medical/psychiatric
clearance and document in the chart why the decision was made, if the supervisor
disagrees. Though psychologists (no medical training) should be able to discharge
patients apparently, given California law, a physician must clear the patient
medically/psychiatrically for there to be appropriate discharges that take into account all
of the relevant medical issues that patients have (Appropriate drug levels? Is the diabetes
under control?, etc.)


xxii
        Title 22: 79609: “Psychiatrist/psychologist services means consultative services to
inmate patients of a correctional treatment center including diagnostic psychological
assessment and treatment. Primary services may also be provided to inmates not
requiring admission to a licensed bed.”


xxiii
        Some psychologists will claim that the psychiatric physician can be the “primary
clinician” in CDCR. But the primary clinician has case management responsibilities and
there are far more psychologists (and social workers) who take on this role in CDCR. The
ratios of psychiatrist to patient would have to be radically adjusted to be equivalent to the
high ratios of psychologists plus social workers to patients for psychiatrists to be able to
take on the case management responsibilities of the “primary clinician”. In the vast
majority of cases in CDCR (and maybe all cases), it is the psychologist or social worker
who is deemed the “primary clinician” and essentially never the psychiatrist.


xxiv
        Dr.         is referring to the push by our psychologists to be able to place patients in
restraints without needing medical clearance prior to doing so, though the patient is in a
                                                                                        159
licensed facility with 24 hour nursing coverage. Psychologists currently are allowed to do
this in CDCR crisis beds, but not the former state psychiatric hospitals. Normally if no
physician is available, the nurse (who certainly has some medical training) can initiate the
restraints and then call the physician, usually the psychiatric physician. Patients die
frequently because of restraints. A person who has a tendency to aspirate (bring stomach
contents into his lungs, for example) can die in restraints from this, and so there needs to
be some type of medical assessment, even briefly by a nurse, that restraints would be
better and safer than (for example) medication or forced medication.


But these are medical decisions. Currently in CDCR, as our policy works, psychologists
with no medical training are allowed to overrule nurses who object to patients being
placed in restraints. Dr.         is pointing out that psychologists have no training in this
at all, or even any medical understanding of the implications of doing so in hospital
settings with medically sick and vulnerable patients. Yet many are fighting to be able to
do so without a physician determining that it is medically safe for them to order it. Dr.
        appropriately finds this dangerous and absurd.


A final issue is that if psychologists can initiate restraints, the policy calls for the written
order of the psychiatric physician (or psychiatric nurse practitioner) to cosign the
emergency order of the psychologist. But if the physician disagrees with the emergency
order of the psychologist, then he or she can’t sign it, which thus violates the policy.
Nurses, on the other hand can make a quick decision whether forced medications might
be more appropriate in a patient who is aspirating (high risk of death in restraints
because of bringing stomach contents into the lung), whereas psychologists have no
training at all even to notice when patients are aspirating to take that into account.
Making a quick decision whether shots or restraints is a better option is a medical
decision. Restraints are a physical procedure that frequently kills patients and so requires
utmost care in assessing medical risks and benefits. Psychologists have no training for
that, yet in CDCR they have the authority to order restraints right now and the leadership
is fighting to continue to allow psychologists to order patients to be put in restraints in160
the licensed crisis beds prior to medical clearance, and to extend that into the licensed
inpatient facilities that CDCR recently took over.


A particular problem is that physicians don’t want to be forced to sign a restraint order
initiated by a psychologist, whether in an “emergency” or not. If CDCR deems that
psychologists in hospital settings are medically qualified to decide that sometimes
desperately medically ill patients should be in restraints, then physicians should not be
forced to legitimize these decisions. Their orders should be unsigned by physicians. (see
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